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                                                                     2024 Feb-15 PM 01:56
                                                                     U.S. DISTRICT COURT
                                                                         N.D. OF ALABAMA




                 Exhibit 6
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                         In The Matter Of:

  Drummond Company, Inc. v. Terrence P. Collingsworth, et al.

__________________________________________________________

                           Bradley J. Smith

                         November 21, 2023

__________________________________________________________



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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                   Bradley J. Smith
                                                                                                                    11/21/2023
 1         IN THE UNITED STATES DISTRICT COURT                      1                    A P P E A R A N C E S
 2        FOR THE NORTHERN DISTRICT OF ALABAMA                      2
 3                   SOUTHERN DIVISION                              3 FOR DRUMMOND COMPANY AND DRUMMOND LIMITED:
 4                                                                  4             BENJAMIN T. PRESLEY
 5 DRUMMOND COMPANY, INC.,)                                         5             WILLIAM ANTHONY DAVIS
 6          Plaintiff,         )                                    6             H. THOMAS WELLS, III
 7                             )                                    7             Attorneys at Law
 8 VS.                         )    CASE NO:                        8             Starnes Davis Florie, LLP
 9 TERRENCE P.                 )2:11-CV-3695-RDP                    9             100 Brookwood Place
10 COLLINGSWORTH, et al.       )   (Defamation)                   10              7th Floor
11          Defendants.        )                                  11              Birmingham, Alabama    35209
12                             )                                  12              (205) 868-8000
13 DRUMMOND COMPANY,           )                                  13              bpresley@starneslaw.com
14 INC., et al.                )                                  14              Tdavis@starneslaw.com
15          Plaintiff,         )                                  15              twells@starneslaw.com
16                             )                                  16
17 VS.                         )    CASE NO.:                     17 FOR CONRAD & SCHERER AND BILL SCHERER:
18 TERRENCE P.                 )2:15-CV-0506-RDP                  18              WILLIAM T. PAULK
19 COLLINGSWORTH, et al.       )     (RICO)                       19              Attorney at Law
20          Defendants.        )                                  20              Spotswood Sansom & Sansbury, LLC
21                                                                21              Financial Center
22                S T I P U L A T I O N S                         22              505 20th Street North
23                                                                23              Birmingham, Alabama    35203
24                IT IS STIPULATED AND AGREED, by and             24              (205) 986-3620
25 between the parties through their respective      25                           wpaulk@spotswoodllc.com
                                              Page 1                                                                    Page 3
 1 counsel, that the deposition of:                                 1 FOR FRANCISCO RAMERIZ:
 2                   BRADLEY J. SMITH,                              2             ANIL MUJUMDAR
 3 may be taken before Merit Gilley, Commissioner                   3             Attorney at Law
 4 and Notary Public, State at Large, at the Law                    4             Dagney Law
 5 Offices of Starnes Davis Florie, LLP, 100                        5             2120 1st Avenue North
 6 Brookwood Place, 7th Floor, Birmingham, Alabama                  6             Birmingham, Alabama    35203
 7 35209, on the 21st day of November, 2023,                        7             (205) 974-4860
 8 commencing at approximately 9:12 a.m.                            8             anil@dagneylaw.com
 9                                                                  9
10                IT IS FURTHER STIPULATED AND AGREED             10 ALSO PRESENT:
11 that the signature to and reading of the                       11              Paige Byrd, Videographer
12 deposition by the witness is waived, the                       12
13 deposition to have the same force and effect as                13
14 if full compliance had been had with all laws                  14
15 and rules of Court relating to the taking of                   15
16 depositions.                                                   16
17                                                                17
18                IT IS FURTHER STIPULATED AND AGREED             18
19 that it shall not be necessary for any                         19
20 objections to be made by counsel to any                        20
21 questions, except as to form or leading                        21
22 questions, and that counsel for the parties may                22
23 make objections and assign grounds at the time                 23
24 of the trial, or at the time said deposition is                24
25 offered in evidence, or prior thereto.                         25
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16          Production                                            16 39         Tab 65 - 4-25-14 Email Regarding         145
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18          Agreement Attached                                    18 40         Tab 66 - 4-26-14 Email Regarding         148
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22          et al.                                                22 42         Tab 72 - 4-30-14 Email Regarding         151
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23 18       Tab 99 - Attorney-Client Agreement             85     23
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            Drummond Company, Inc. V.                                           Various CS Bates Docs to be Produced
25          Collingsworth, et al. (29164)                         25
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                                                                                                                      11/21/2023
 1 44       Tab 77 - 6-24-14 Email Regarding              162       1 Birmingham, Alabama.          Will all attorneys present
            Drummond and Wichmann
 2                                                                  2 please state their names and whom they
 3 45       Tab 78 - 6-25-14 Email Regarding              172       3 represent.
            Drummond and Wichmann
 4                                                                  4                   MR. PRESLEY:    Ben Presley for
 5 46       Tab 82 - 7-7-14 Email Regarding               174       5 Drummond Company and Drummond Limited.
            Crime Fraud
 6                                                                  6                   MR. WELLS:    Trey Wells for Drummond.
 7 47       Tab 87 - 7-9-14 Email Regarding               178       7                   MR. DAVIS:    Tony Davis for Drummond.
            Drummond and Wichmann
 8                                                                  8                   MR. MUJUMDAR:    Anil Mujumdar for
 9 48       Tab 103 - 7-9-14 Email Regarding    181                 9 Francisco Rameriz.
            Drummond V. Terrence Collingsworth,
10          et al DOA: 09/20/2011 CHS# 9500-31                    10                    MR. PAULK:    William Paulk for Conrad
11 49       Tab 71 - Bank Statements                      168     11 & Scherer and Bill Scherer.
12 50       Tab 89 - 8-27-14 Email Regarding              183     12                         BRADLEY J. SMITH
            Attached Image
13                                                                13 being first duly sworn, was examined and
14 51       Tab 96 - 11-6-14 Email Regarding              187     14 testified as follows:
            Drummond and Wichmann
15                                                                15                    THE COURT REPORTER:     All right.
16                                                                16 Usual stipulations?
17 Defendant's Exhibit                                            17                    MR. PAULK:    Fine.
18 1        Defense Tab 7 - 3-14-14 Email                 225     18                    MR. PRESLEY:    Yes.
            Regarding Attached Image
19                                                                19                           EXAMINATION
20 2        Defense Tab 10 - 6-25-14 Email                228     20 BY MR. PRESLEY:
            Regarding Drummond and Wichmann
21                                                                21 Q                  Mr. Smith, can you please state your
22                                                                22 full name for the record.
23                                                                23 A                  Bradley John Smith.
24                                                                24 Q                  And you're a licensed attorney;
25                                                                25 correct?
                                                         Page 9                                                           Page 11
 1                I, Merit Gilley, a Court Reporter of              1 A                 I am.
 2 Birmingham, Alabama, and a Notary Public for the                 2 Q                 Okay.    And we'll dispense with all
 3 State of Alabama at Large, acting as                             3 the normal predeposition rules and whatnot.
 4 Commissioner, certify that on this date, as                      4 Just let me know if you want to take a break.
 5 provided by the Federal Rules of Civil Procedure                 5 Be happy to do that.
 6 and the foregoing stipulation of counsel, there                  6 A                 Okay.
 7 came before me on the 21st day of November,                      7 Q                 How long have you been a licensed
 8 2023, at the law offices of Starnes Davis                        8 attorney in Alabama?
 9 Florie, LLP, 100 Brookwood Place, 7th Floor,                     9 A                 Almost 24 years -- 23 years.
10 Birmingham, Alabama 35209, commencing at                       10 Q                  Okay.    And are you licensed in any
11 approximately 9:12 a.m., BRADLEY J. SMITH,                     11 other states?
12 witness in the above cause, for oral                           12 A                  I am not.
13 examination, whereupon the following proceedings               13 Q                  And where did you go to law school?
14 were had:                                                      14 A                  Alabama.
15                THE VIDEOGRAPHER:     We now commence           15 Q                  And just walk me through very
16 the videotaped deposition in the United States                 16 briefly if you would where you've worked since
17 District Court for the Northern District of                    17 you graduated law school from Alabama.
18 Alabama Southern Division in the matter of                     18 A                  I was hired by Clark & Scott out of
19 Drummond Company, Incorporated versus Terrence                 19 law school.         I left in 2001, 2002 with Jay
20 P. Collingsworth, et al.       Case Number                     20 Clark, and we started what's now Clark, Hair &
21 2:11-CV-3695-RDP.                                              21 Smith.
22                Our witness today is Bradley                    22 Q                  Okay.    And, generally, what type of
23 J. Smith.    Today's date is Tuesday, November                 23 work do you do?
24 21st, 2023.     The time is 9:12 a.m. Central time.            24 A                  100 percent litigation; primarily
25 We are located at Starnes Davis Florie in                      25 defending civil lawsuits.
                                                       Page 10                                                            Page 12

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                     Bradley J. Smith
                                                                                                                      11/21/2023
 1 Q              Okay.    And you understand since you             1 good point.        There's two cases here.
 2 are a licensed lawyer that there are certain                     2                   There's the defamation case; right?
 3 ethical rules that lawyers have to abide by;                     3 A                 Right.
 4 correct?                                                         4 Q                 And you were counsel of record in
 5 A              I do.                                             5 the defamation case; correct?
 6 Q              Okay.    For example, a lawyer has a              6 A                 That is correct.
 7 duty to zealously represent their client; right?                 7 Q                 Okay.    And is it your understanding
 8 A              Yes.                                              8 there's also a civil RICO case that Drummond has
 9 Q              And you also have ethical                         9 filed?
10 responsibilities that you owe to a Court; right?               10 A                  It's my understanding, but I know
11 A              Yes.                                            11 nothing about it.           It was filed long after -- or
12 Q              And as part of those ethical                    12 after I was no longer involved in the case.
13 responsibilities, you are required to tell the                 13 Q                  Okay.    So did you have any
14 truth to the Court; right?                                     14 involvement at all in the defense of the RICO
15 A              Yes.                                            15 case?
16 Q              And to opposing counsel?                        16 A                  I did not.
17 A              Yes.                                            17 Q                  Okay.    And is it your understanding
18 Q              And even if your client's case may              18 that Drummond sent a subpoena to your law firm
19 be helped by lying, you cannot lie to a Court or               19 for your file in the defamation case?
20 to opposing counsel; correct?                                  20 A                  I don't recall.     I know that we did
21 A              Correct.                                        21 secure it 10 or 11 years ago and put it on some
22 Q              Okay.    Did you meet with anybody to           22 of electronic media and -- and provided it.             And
23 prepare for this deposition today?                             23 I think the paper copy is still at my office.
24 A              I did not.                                      24 Q                  Okay.    Did you have any involvement
25 Q              Okay.    Did you review any documents        25 in the review of that file to determine whether
                                                       Page 13                                              Page 15
 1 in preparation for this deposition?                              1 certain documents were privileged or not?
 2 A              I did.                                            2 A                 It's my understanding it was our
 3 Q              Okay.    And what documents did you               3 entire file, that nothing was removed for
 4 review?                                                          4 privilege.
 5 A              I was provided a copy of what I                   5 Q                 Okay.
 6 understood to be my file.       I don't know how it              6 A                 And it was provided maybe to the
 7 got to that point.       I briefly reviewed it; you              7 special master.
 8 know, tried to get through it as quick as I                      8 Q                 Okay.
 9 could.                                                           9 A                 Yeah.    No.   Nothing from our point
10 Q              Okay.    And who provided you that              10 of view was taken out.
11 copy?                                                          11 Q                  Okay.
12 A              Mr. Paulk.                                      12 A                  It was the complete file.
13 Q              Okay.    Did you -- I think my earlier          13 Q                  All right.     And I noticed in
14 question was limited to meeting with anybody to                14 reviewing the materials that we did get that it
15 prepare for your deposition.                                   15 appeared to be the -- the materials we got
16                Did you have any conference calls or            16 appeared to be mostly printed hard copies of
17 any Zoom calls with anyone to prepare?                         17 emails; is that right?
18 A              I did not.                                      18 A                  I think so.
19 Q              So you referenced a second ago that             19 Q                  Okay.    And let me show you --
20 you reviewed briefly your file; is that right?                 20                    MR. PRESLEY:     This is tab 36 for the
21 A              That's correct.                                 21 exhibit coordinator.
22 Q              And your file for what case?                    22 Q                  -- Plaintiff's Exhibit 1.
23 A              Drummond versus Collingsworth.          The     23                         (Plaintiff's Exhibit 1 was
24 defamation case.       How about that?                         24                         marked for identification)
25 Q              Yes.    So that's a good -- that's a            25 Q                  So you can see in the bottom
                                                       Page 14                                                            Page 16

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                    Bradley J. Smith
                                                                                                                     11/21/2023
 1 right-hand corner this has a Bates label that                    1 payments?
 2 would -- I assume was affixed by -- or do you                    2 A                 No.
 3 know who was that was affixed by?                                3 Q                 Are you going to be offering any
 4 A              I don't.                                          4 opinion in this case on the ethical
 5 Q              Okay.                                             5 considerations of witness payments?
 6 A              I don't.                                          6 A                 No.
 7 Q              Do you recognize this email as a                  7 Q                 When were you retained in the
 8 document from your file?                                         8 defamation case?
 9 A              It's got my email address on it.                  9 A                 I don't recall.
10 Q              Okay.   There were several emails               10 Q                  Okay.   How were you retained in the
11 like this that appeared to have an attachment on               11 defamation case?
12 them, but the copies we got did not have                       12 A                  I don't recall that either.
13 attachments produced with the emails.                          13 Q                  Were you retained through an
14                Do you know why that is?                        14 insurance company?
15 A              I don't.                                        15 A                  Yes.
16 Q              Okay.                                           16 Q                  Okay.   Was your first contact with
17 A              I don't.                                        17 the insurance company about the defamation case?
18 Q              In your practice, do you typically              18 A                  Probably.
19 print emails and instruct an assistant to save                 19 Q                  Okay.   And what insurance company
20 them to the file?                                              20 was that?
21 A              A little bit of both.      I think my           21 A                  Firemans Fund.
22 assistant probably save -- I would probably                    22 Q                  Okay.   And is that an insurance
23 forward her the email and have her save it to                  23 company that your firm had regularly done work
24 the file.                                                      24 for?
25 Q              Okay.   And is that practice                    25 A                  Yes.
                                                       Page 17                                                            Page 19
 1 consistent today with what it was at the time                    1 Q                 And is that still true today?
 2 these emails were sent in 2014?                                  2 A                 Yes.
 3 A              Probably not.                                     3 Q                 And who were your clients in the
 4 Q              Okay.   How -- how is -- how did it               4 defamation case?
 5 change?                                                          5 A                 Mr. Collingsworth and the law firm.
 6 A              Well, I would just say that we're a               6 Q                 Okay.   And during the course of the
 7 little bit -- I guess probably have a better                     7 defamation case, who were you reporting to?
 8 computer system than 10 or 11 years ago, and I'm                 8 A                 What do you mean report?
 9 probably a little bit better at saving some of                   9 Q                 Sure.
10 these things than I was --                                     10                    So, for example, when there were
11 Q              Okay.                                           11 filings in the case and you would send them to
12 A              -- 10 or 11 years ago.      Other than          12 the client and/or the insurance company; who at
13 that, I don't know.                                            13 Conrad & Scherer and who at the insurance
14 Q              When you would send emails to your              14 company were you reporting to?
15 assistant and ask her to print them or you would               15 A                  Primarily Terry.
16 print them to the file, did you typically print                16 Q                  Okay.
17 them with attachments or without attachments?                  17 A                  I guess my other contact at the firm
18 A              I just don't recall.     I -- I don't           18 would have been Billy Scherer.
19 know what this was.       I -- you know, it would              19 Q                  Okay.   Outside of Billy Scherer and
20 just depend on what it was.                                    20 Terry Collingsworth, were you regularly
21 Q              Okay.   We talked a little bit                  21 reporting to anyone else at Conrad & Scherer?
22 earlier about the fact you're a licensed                       22 A                  I don't think so at all.    No.
23 attorney.                                                      23 Q                  And were the reports that you were
24                Are you going to be offering any                24 making; were they written, oral, both?
25 opinion in this case on the legality of witness   25 A                               I don't recall.    Probably written
                                             Page 18                                                                      Page 20

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                    Bradley J. Smith
                                                                                                                     11/21/2023
 1 primarily, but a lot of oral conversations.                      1 difference between IRA and -- yes.          Probably so.
 2 Q              Okay.    And would you keep both Billy            2 Q                 Okay.    And now would be a good time.
 3 Scherer and Terry Collingsworth up to speed on                   3                   So IRAdvocates, what is your
 4 developments, filings in the case.                               4 understanding of what IRAdvocates was?
 5 A              I -- probably Terry much more.          I         5 A                 It was a nonprofit organization that
 6 mean, we were talking daily on this during                       6 Terry ran that -- prior to joining Conrad &
 7 certain times of it; maybe a couple of times a                   7 Scherer.
 8 day.                                                             8 Q                 And did you have an understanding of
 9 Q              And were those talks usually via                  9 what type of work IRAdvocates performed?
10 telephone?                                                     10 A                  Human rights work.
11 A              Probably.    Yes.                               11 Q                  Litigation?
12 Q              Okay.    Let me show you --                     12 A                  Yes.    Well, both I guess.   They did
13                MR. PRESLEY:    This is tab number 7            13 a lot of things I think.
14 for the exhibit coordinator.        Thank you.                 14 Q                  Other than litigation, what was your
15                MR. WELLS:    Identify the exhibit.             15 understanding?
16 Q              (By Mr. Presley)     This is                    16 A                  Well, I remember there were maybe
17 Plaintiff's Exhibit 2.                                         17 some documentaries they were involved in.            But I
18                       (Plaintiff's Exhibit 2 was               18 don't know, you know, how much that was involved
19                       marked for identification)               19 in IRA.
20 Q              And this is -- the bottom email is              20 Q                  Did you ever see any of those
21 an email dated July 10, 2013, from Terry                       21 documentaries?
22 Collingsworth to you; correct?                                 22 A                  Seems like I did see one of them.
23 A              I'm sorry.    Say that again.                   23 Q                  Do you remember what the subject
24 Q              Sure.                                           24 matter of that documentary was?
25                The -- the bottom email is an email             25 A                  Coca-Cola.
                                                       Page 21                                                           Page 23
 1 dated July 10, 2013 --                                           1 Q                 Okay.
 2 A              Yes.                                              2 A                 And I believe y'all were asking
 3 Q              -- from Terry to you?                             3 about it in discovery is maybe what piqued my
 4 A              Yes.                                              4 interest.
 5 Q              And he's copying Christian Levesque,              5 Q                 Okay.    So is it your understanding
 6 Susana Tellez, and William R. Scherer, the                       6 that IRAdvocates pursued not only litigation but
 7 third?                                                           7 also what I would call extra-judicial --
 8 A              Yes.                                              8 A                 I don't know enough about it --
 9 Q              And he's reporting on a motion to                 9 Q                 Okay.
10 compel that Drummond's filed?                                  10 A                  -- to answer that.
11 A              Looks like it.                                  11 Q                  All right.    And William R. Scherer,
12 Q              Okay.    Is it your understanding that          12 the third; is that Billy Scherer?
13 Christian Levesque was a Conrad & Scherer                      13 A                  I believe so.
14 attorney?                                                      14 Q                  Okay.    And then on the -- the top
15 A              Either that or an IRA attorney.          I      15 email in this chain, Billy Scherer's responding
16 don't remember which one, but yeah.                            16 to you; correct?
17 Q              She could have had positions at both            17 A                  Yes.
18 as far as you know?                                            18 Q                  And you see he has now copied in
19 A              As far as I know.                               19 William R. Scherer.
20 Q              Okay.    And do you know who Susana             20                    Do you see that?
21 Tellez was?                                                    21 A                  I do see that.
22 A              I believe that was Terry's                      22 Q                  And is it your understanding that
23 paralegal.                                                     23 William R. Scherer is Bill Scherer?
24 Q              At Conrad & Scherer?                            24 A                  I guess so.    Yeah.
25 A              Again, I don't know what the                    25 Q                  Okay.    Did you ever have any
                                                       Page 22                                                           Page 24

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                    Bradley J. Smith
                                                                                                                     11/21/2023
 1 conversations with Bill Scherer during the                       1 payments and case financing.
 2 course of your representation in the defamation                  2                   Do you recall that?
 3 case?                                                            3 A                 I recall there were several motions
 4 A              I don't believe so.      If I did, it             4 to compel.
 5 was at the end.                                                  5 Q                 Right.
 6 Q              Did you have any understanding as to              6                   And is it consistent with your
 7 whether Billy Scherer was keeping Bill Scherer                   7 recollection that Drummond was specifically and
 8 apprised of developments in the defamation case?                 8 very much interested in witness payments and
 9 A              I -- I don't know.                                9 case financing documents in those motions?
10 Q              Okay.   Let's look --                           10 A                  Yes.
11                MR. PRESLEY:    This is tab 8 for the           11 Q                  Okay.    And it would -- this email
12 exhibit coordinator.                                           12 here, we can go through additional examples.
13 Q              This will be Plaintiff's Exhibit 3.             13 But typically as these filings would come in
14                     (Plaintiff's Exhibit 3 was                 14 from Drummond in the defamation case, was it
15                     marked for identification)                 15 your pattern and practice that you would then
16 Q              And recognizing you're not on this              16 forward them on to the client and report to the
17 email, Mr. Smith; but does this appear to be an                17 client as to this is what's been filed by
18 email on July 10th, same date that we just                     18 Drummond?
19 looked at on Plaintiff's Exhibit 2, from Billy                 19 A                  Yes.
20 Scherer to Bill Scherer?                                       20 Q                  And that would be true in any case?
21 A              That's what it says.                            21                    That's not unusual.    That's what you
22 Q              Okay.   And there's a man named                 22 would do as an attorney; right?
23 Richard Drath copied on that.                                  23 A                  Right.
24                Do you know who Richard Drath is?               24 Q                  Keep the client informed?
25 A              If I recall -- and really from                  25 A                  Yes.
                                                       Page 25                                                           Page 27
 1 looking at some of my file yesterday, maybe he                   1 Q                 Okay.    Now, you had said earlier
 2 was a firm administrator.                                        2 that Terry Collingsworth was your primary point
 3 Q              Okay.   A firm administrator for                  3 of contact in the defamation case?
 4 Conrad & Scherer?                                                4 A                 Correct.
 5 A              Correct.                                          5 Q                 Okay.    And is that true throughout
 6 Q              Did you have any communications with              6 your representation and work in that case?
 7 Mr. Drath during the course of your                              7 A                 Yes.
 8 representation --                                                8 Q                 Okay.    Did you ever have any
 9 A              Not that I recall.                                9 dealings with Al Frevola?
10 Q              -- in the defamation case?                      10 A                  No.
11 A              Not that I recall.                              11 Q                  Eric Hager?
12 Q              Okay.   All right.     Let's look at tab        12 A                  His name came up because I think he
13 number 9 for the exhibit coordinator.           This will      13 was included in maybe some discovery requests.
14 be Plaintiff's Exhibit 4.                                      14 Q                  Okay.    But as far as dealing with
15                     (Plaintiff's Exhibit 4 was                 15 him directly?
16                     marked for identification)                 16 A                  No.
17 Q              And so this is, again, an email from            17 Q                  Okay.    What about a person named
18 July 10th.                                                     18 Lorraine Leete?
19                And you are sending Billy Scherer a             19 A                  The name fam -- sounds familiar, but
20 copy of Drummond's motion to compel; correct?                  20 I never met her.           May have spoke to her.   I
21 A              That's correct.                                 21 don't know.         I don't recall.
22 Q              Okay.   And at this time, Drummond              22 Q                  Do you have any understanding of
23 was moving to compel the defendants, Conrad &                  23 what her responsibilities were as a member of
24 Scherer and Collingsworth, to produce certain                  24 Collingsworth's litigation team?
25 documents particularly related to witness                      25 A                  I'd be guessing.
                                                       Page 26                                                           Page 28

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                     Bradley J. Smith
                                                                                                                      11/21/2023
 1 Q              Okay.    How was it decided that Terry            1 A                 No.    No.   It was after Ken McNeil
 2 Collingsworth would be your primary point of                     2 and Chris Niewoehner.           Well, they were both
 3 contact in the defamation case?                                  3 involved.       We were involved together for a
 4 A              Initial conversation with Billy                   4 little while; and then, yeah, it was -- I guess
 5 Scherer.                                                         5 I filed a motion to withdraw at some point.
 6 Q              Okay.    And so it was -- well, you               6 They could probably direct you to it.
 7 tell me.                                                         7 Q                 Okay.
 8                Did Billy Scherer instruct you to                 8 A                 But I was out of it before then
 9 coordinate with Mr. Collingsworth in the defense                 9 though I would say.
10 of the defamation case?                                        10 Q                  Okay.    And I'm going to show you
11 A              Yes.    In an initial telephone                 11 what's been marked as Plaintiff's Exhibit 5.
12 conversation.                                                  12                    MR. PRESLEY:     This is tab 97 for the
13 Q              Okay.    And did Billy Scherer tell             13 exhibit coordinator.
14 you that Mr. Collingsworth had been given the                  14 Q                  And it is your motion to withdraw.
15 authority by the firm to be the point person --                15 A                  Yeah.
16 A              No.                                             16                           (Plaintiff's Exhibit 5 was
17 Q              -- in the defamation case?                      17                           marked for identification)
18 A              No.    There was no -- those direct             18 Q                  And this is filed on September 25th,
19 words were not used.       It was probably more along          19 2015; correct?
20 the lines he knows the most about this case.                   20 A                  Yeah.    I would have been -- I would
21 Q              Okay.    But you were instructed by             21 not have any involvement well before this.
22 Billy Scherer to coordinate with                               22 Q                  Okay.    Give me your best
23 Mr. Collingsworth?                                             23 recollection as to when your involvement in the
24 A              I guess.    If you -- I don't know if           24 defense of the defamation case ceased.
25 "instructed" is the correct word.         But I was            25 A                  Well, there was -- I think there was
                                                       Page 29                                                            Page 31
 1 told he was the person most knowledgeable, and                   1 a big hearing on y'all's motion of the crime
 2 he's who I would be dealing with and                             2 fraud hearing.          I was out of it well before
 3 coordinating with in the case.                                   3 that.
 4 Q              Okay.    In the course of your work in            4 Q                 Okay.
 5 the defamation case, did you ever talk to any                    5 A                 I didn't have any involvement in
 6 Colombian paramilitary witnesses?                                6 that.
 7 A              No.                                               7 Q                 So the crime fraud hearing, I'll
 8 Q              Did you ever talk with any witnesses              8 represent to you, was on September 1st through
 9 in Colombia?                                                     9 3rd, of 2015.
10 A              No.                                             10 A                  So that was before this motion was
11 Q              Did you ever speak with anyone                  11 filed.
12 during the course of your work in the defamation               12 Q                  Correct.
13 case who claimed to have firsthand knowledge of                13 A                  Yeah.
14 Drummond being complicit with the AUC?                         14 Q                  And I think you just said that you
15 A              Repeat that.                                    15 had no involvement in that hearing?
16 Q              Sure.                                           16 A                  I did not.
17                During the course of your                       17 Q                  Did you have any involvement in
18 representation in the defamation case, did you                 18 preparation for that hearing?
19 ever talk with anyone who claimed they had                     19 A                  Other than trying to, you know, keep
20 firsthand knowledge of Drummond being complicit                20 the -- the new firm, Susman Godfrey, and, I
21 with the AUC in Colombia?                                      21 guess, Steptoe Johnson, up to speed on kind of
22 A              I don't recall.                                 22 what we had done; but not -- no involvement.
23 Q              Do you recall the date on which your            23 No.     No strategic or -- no.         No involvement
24 representation in the defamation case of Terry                 24 other than that.
25 Collingsworth and Conrad & Scherer ended?                      25 Q                  In preparation for the crime fraud
                                                       Page 30                                                            Page 32

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                      Bradley J. Smith
                                                                                                                       11/21/2023
 1 hearing, did anyone ask you about what you had                    1 A                 I remember that vaguely.    Yes.    Yes.
 2 been told by Mr. Collingsworth about the scope,                   2 Q                 Okay.   Did Mr. Collingsworth ever
 3 nature, and extent of witness payments?                           3 tell you why he told you there were only three
 4 A              Probably.                                          4 witnesses when, in fact, there were more than
 5 Q              Do you recall who that would have                  5 three?
 6 been?                                                             6 A                 He did not.    We never had that
 7 A              Probably Chris Niewoehner maybe.                   7 conversation.
 8 Q              Anybody else ask you that question?                8 Q                 When did you first become aware that
 9 A              I'd be guessing.                                   9 there were more than three witnesses?
10 Q              And what did you tell                            10 A                  I think it would have been on the
11 Mr. Niewoehner?                                                 11 eve or around the time of -- of that hearing.
12 A              What -- ask the question again.                  12 Q                  Was there a time period prior to the
13 Q              Sure.                                            13 crime fraud hearing in which you were not
14                I understand that -- from your                   14 involved at all in the defense of the defamation
15 answer that Mr. Niewoehner asked you what Terry                 15 case?
16 had told you about the scope, nature, and extent                16                    In other words, your involvement
17 of witness payments; correct?                                   17 ended -- active involvement ended; and then for
18                Did he ask you what Terry told you               18 an extended period of time you had no
19 about that?                                                     19 involvement until preparation for the crime
20 A              Yeah.   And I would say -- and -- and            20 fraud hearing?
21 let me just -- let me say this:         I'm not sure            21 A                  That's probably fair.
22 what the parameters are as far as the                           22 Q                  Okay.   Do you have any judgment as
23 attorney-client privileges and work product of                  23 to how long a period of time that was?
24 what, you know, is -- is -- what I need to be                   24 A                  I don't.
25 testifying to.                                                  25 Q                  Did you ever ask anybody else at
                                                        Page 33                                                             Page 35
 1                THE WITNESS:    I would assume that                1 Conrad & Scherer about -- strike that.
 2 you would object if that's not a question I need                  2                   Did you ever have a conversation
 3 to answer.                                                        3 with anybody else at Conrad & Scherer about the
 4                MR. PAULK:    That's correct.                      4 fact that more than three witnesses had been
 5                THE WITNESS:    And -- and what about              5 paid?
 6 Terry?    Who -- who would be objecting for him?                  6 A                 I don't recall.    It's possible, but
 7                MR. PAULK:    He's -- he's -- he was               7 I don't recall.
 8 invited to the deposition.                                        8 Q                 When was the last time that you
 9                THE WITNESS:    And did not come?                  9 spoke with Terry Collingsworth?
10                MR. PAULK:    Correct.                           10 A                  I don't recall.
11                MR. PRESLEY:    Right.                           11 Q                  Has it been within the last five
12                THE WITNESS:    Okay.    And it's your           12 years?
13 understanding I should answer that question?                    13 A                  No.   No.   I haven't spoken to him --
14                MR. PAULK:    I will instruct you not            14 it would have been before that crime fraud --
15 to answer if you shouldn't.                                     15 Q                  Okay.
16                THE WITNESS:    Okay.                            16 A                  -- hearing.
17 A              I would say that what he had told me             17 Q                  What about anyone at the firm of
18 would be what was in discovery responses and                    18 Conrad & Scherer?
19 what he got up and told Judge Proctor at one of                 19                    When is the last time you spoke with
20 the hearings, that there were only three that                   20 anyone at Conrad & Scherer?
21 had been paid.                                                  21 A                  I don't think I've spoken to anyone.
22 Q              (By Mr. Presley)     Okay.     Now, by           22 Mr. Paulk's the only one I've spoken to, and
23 that point in preparation for the crime fraud                   23 that's been one or two times over the last ten
24 hearing; obviously, it had come out that there                  24 years I guess.
25 had been more than three; correct?                              25                    MR. PAULK:    For the record, I'm
                                                        Page 34                                                             Page 36

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                     Bradley J. Smith
                                                                                                                      11/21/2023
 1 counsel for Conrad & Scherer --                                   1 Q                 What about lawyers -- any lawyer at
 2                MR. PRESLEY:    Right.    Yeah.                    2 Susman Godfrey; when was the last time you spoke
 3                MR. PAULK:    -- not Conrad & Scherer.             3 to a lawyer at Susman Godfrey?
 4                MR. PRESLEY:    Yes.                               4 A                 Would have been around the same
 5 Q              (By Mr. Presley)     But, I mean, at               5 time, last time I talked with Terry probably or
 6 some point we took -- went through this earlier.                  6 the -- I guess around the crime fraud.
 7                You were speaking with Billy                       7 Q                 And Ken McNeil was the lead lawyer
 8 Scherer, reporting to him on developments?                        8 from Susman Godfrey?
 9 A              Oh, I hadn't spoken to him in a --                 9 A                 Yeah.    He's the only one I remember.
10                MR. PAULK: Object to the form.                   10 Q                  And then Steptoe & Johnson lead
11                THE WITNESS:    I'm sorry.      Go ahead.        11 lawyer Was Chris Niewoehner?
12                Are you good?    Are you good?                   12 A                  Correct.
13                MR. PAULK:    Uh-huh.                            13 Q                  And when was the last time you spoke
14 A              Okay.   I think Billy may have left              14 with anyone from Steptoe & Johnson?
15 the firm at some point.       So, yeah, I -- I -- you           15 A                  Same.
16 know, I -- I have not -- it would have been a                   16 Q                  Okay.    Have you talked with anybody
17 while before even the crime fraud --                            17 outside of counsel for Conrad & Scherer about
18 Q              (By Mr. Presley)     Okay.                       18 the defamation case or the RICO case since the
19 A              -- that I had spoken to Billy                    19 crime fraud hearing?
20 Scherer.                                                        20 A                  Not that I recall.
21 Q              So let's just do it this way:          Since     21 Q                  Has any defendant in this case put
22 the crime fraud hearing, you have not spoken                    22 you on notice of any potential claim?
23 with Terry Collingsworth?                                       23 A                  No.
24 A              No.                                              24 Q                  Do you have any written or oral
25 Q              You have not spoken with anyone at            25 agreements with any other -- with any of the
                                                        Page 37                                              Page 39
 1 Conrad & Scherer?                                                 1 defendants in this case?
 2 A              No.                                                2 A                 No.
 3 Q              Have you spoken with anyone at                     3 Q                 When was the last time -- well, let
 4 IRAdvocates?                                                      4 -- let me lay a foundation first.
 5 A              No.                                                5                   You recall that the defendants
 6 Q              Now, what about -- and this is an                  6 retained an expert, Professor Hobbs from the
 7 ever question, and we can narrow it if we need                    7 University of Alabama?
 8 to.                                                               8 A                 Yes.
 9                Have you ever spoken with Ivan                     9 Q                 Okay.    And his work included
10 Otero?                                                          10 providing a declaration that spoke to ethics of
11 A              No.                                              11 witness payments?
12 Q              Have you ever spoken with Francisco              12 A                  Correct.
13 Rameriz?                                                        13 Q                  When was the last time you spoke
14 A              No.                                              14 with Professor Hobbs?
15 Q              Have you ever spoken with Albert Van             15 A                  A long time ago.
16 Bilderbeek?                                                     16 Q                  Before the crime fraud hearing?
17 A              No.                                              17 A                  Yes.    Yes.
18 Q              Did you ever ask to speak to any of              18 Q                  Okay.
19 those people?                                                   19 A                  Yes.
20 A              I don't recall.     There was always a           20 Q                  Do you know if he's aware of Judge
21 chance we were going to go to Colombia at some                  21 Proctor's crime fraud opinion?
22 point.                                                          22 A                  I don't.
23 Q              To do what?                                      23 Q                  Okay.
24 A              Take depositions probably that were              24 A                  I don't.
25 noticed by Drummond.                                            25 Q                  Are you aware of Judge Proctor's
                                                        Page 38                                                           Page 40

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                      Bradley J. Smith
                                                                                                                       11/21/2023
 1 crime fraud opinion?                                              1 Q                 Okay.     Well, let's just look so that
 2 A              Generally.    I don't know that I've               2 we can establish a foundation here.           Let's look,
 3 read it, but I am aware of it.                                    3 if you would, Mr. Smith, on page ten, please.
 4 Q              Okay.    Let me -- let me give you a               4 A                 (Witness complies.)     Okay.
 5 copy of that.                                                     5 Q                 And in the middle of that page,
 6                MR. PRESLEY:    Is this Exhibit 6?                 6 there's a quote that says, "The False
 7                MR. WELLS:    Yeah.                                7 Representation."
 8 Q              (By Mr. Presley)       This is                     8 A                 Yeah.
 9 Plaintiff's Exhibit 6.                                            9 Q                 "On July 1, 2013, Drummond filed a
10                       (Plaintiff's Exhibit 6 was                10 motion to compel responses in its First and
11                       marked for identification)                11 Second written discovery requests, setting forth
12 Q              This is a copy of Judge Proctor's                12 documentary evidence of Defendants' payments to
13 crime fraud opinion in the defamation case.                     13 three witnesses - Halcon, Charris, and Duarte."
14                Does that appear to be correct?                  14                    Do you see that?
15 A              Yep.                                             15 A                  I do.
16 Q              Okay.    Now, are you generally                  16 Q                  And then he says, "On July 18, 2013
17 familiar with this document?                                    17 Defendants filed a response to the motion to
18 A              No.                                              18 compel.       That response states:       'First, all of
19 Q              Are you familiar at all with what                19 the "evidence" Drummond has' -- has 'produced by
20 Judge Proctor found in this document?                           20 Plaintiffs in the Balcero case,' -- I'm sorry.
21 A              That there were you -- waivers of                21 It looks like there's a typo there.            Let me
22 privilege and -- and work product.          Generally,          22 reread that.            'First, all of the "evidence"
23 that's what my understanding is.                                23 Drummond has was produced by Plaintiffs in the
24 Q              Okay.    Are you aware that in this              24 Balcero case, and Plaintiffs produced every
25 opinion Judge Proctor found that there had been   25 responsive document they had.'"
                                             Page 41                                                                        Page 43
 1 false representations made by the defendants?                     1                   Did I read that correctly?
 2 A              Probably.    Yeah.     I guess that's --           2 A                 You did.
 3 that's -- yeah.                                                   3 Q                 And then Judge Proctor says, "This
 4 Q              Okay.    And are you aware that those              4 representation to the court was false"; correct?
 5 false representations included                                    5                   MR. PAULK:     Object to the form.
 6 misrepresentations that were in the underlying                    6 A                 That's what it says.
 7 cases that Mr. Collingsworth filed against                        7 Q                 (By Mr. Presley)     All right.    So
 8 Drummond?                                                         8 that response to the motion to compel was filed
 9 A              Probably.    Yeah.                                 9 by you; correct?
10 Q              And then there were also                         10 A                  That's correct.
11 misrepresentations made in filings and discovery                11 Q                  Okay.     Now, there were also
12 responses and in open court in the defamation                   12 statements made to Judge Proctor if you flip to
13 case by the defendants; correct?                                13 page 14, Mr. Smith.
14 A              Correct.                                         14 A                  (Witness complies.)
15 Q              Okay.    Now, those misrepresentations           15 Q                  And I may have said statements by
16 were made in the defamation case in not only                    16 Judge Proctor.            Let me rephrase that.    He also
17 pleadings but also discovery responses; correct?                17 recounted in this opinion statements that were
18 A              That Judge Proctor found?                        18 made to him in open court.            And on the top of
19 Q              Correct.                                         19 page 14, I'll let you read that.            You tell me
20 A              I don't -- I don't know enough about             20 when you're ready for me to ask my question.
21 it to be -- really to testify on that.                          21 A                  Which -- what do you want me to
22 Q              You understand there were                        22 read?
23 misrepresentations made about the number of                     23 Q                  The first paragraph on -- the
24 witnesses who had been paid for example?                        24 double-spaced paragraph on the top of page 14.
25 A              Yes.                                             25 A                  (Witness complies.)     Yes.
                                                        Page 42                                                             Page 44

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                      Bradley J. Smith
                                                                                                                       11/21/2023
 1 Q              Okay.   So when you made that                     1 get those documents from?
 2 representation to Judge Proctor that all                         2 A                 From -- from Terry.
 3 responsive documents had been produced --                        3 Q                 And did you actually perform the
 4 A              Correct.                                          4 searches for those documents?
 5 Q              -- what were you relying on -- who                5 A                 No.
 6 were you relying on for the factual information                  6 Q                 Do you know what material was
 7 in order to make that representation?                            7 searched in order to find those documents?
 8 A              Mr. Collingsworth.                                8 A                 I probably did at the time or had an
 9 Q              And who else?                                     9 understanding.          I don't now.
10 A              No one else other than -- that was              10 Q                  Do you know what search criteria was
11 my understanding at the time.                                  11 applied by Terry and Conrad & Scherer?
12 Q              Okay.                                           12 A                  I don't.    Not as I sit here today.
13 A              I don't remember -- recall which                13 Q                  Do you recall having any involvement
14 hearing that was.                                              14 in crafting the search criteria?
15 Q              Okay.   Now, it's -- typically when             15 A                  I don't recall.
16 you're a lawyer in a case and you've got a                     16 Q                  Do you recall having any involvement
17 client and you're making factual representations               17 in determining what data sources or files were
18 about what was produced or what the underlying                 18 supposed to be searched?
19 facts of the case are; you, as the lawyer, are                 19 A                  I -- I -- I assume it probably would
20 relying on your client for that factual                        20 have been everything they had.
21 information; correct?                                          21 Q                  Okay.    You assume that, but my
22 A              They are.    And we had searched                22 question was:           Did you have any involvement?
23 documents also.     But, yeah, that's -- yes.          Yes.    23 A                  I certainly would have not limited
24 Q              And it's no different in this case.             24 it to anything.
25                You're relying on Mr. Collingsworth             25 Q                  Okay.    Let me ask it this way:     Do
                                                       Page 45                                                             Page 47
 1 and Conrad & Scherer, your clients, to provide                   1 you know what data sources Conrad & Scherer and
 2 you accurate information; correct?                               2 Terry Collingsworth searched?
 3                MR. PAULK:    Object to the form.                 3 A                 You mean what specific computers?
 4 A              I would say that.     I don't recall              4 Q                 Custod -- anything?
 5 which hearing that was.       I know that there was a            5 A                 I would think the Conrad & Scherer
 6 developing list of interrogatory questions that                  6 server and then any computers they had.
 7 got more and more specific.        And early on I                7 Q                 Okay.    And where does that
 8 think we -- we felt that, you know, everything                   8 understanding come from?
 9 had been produced at that time.        Obviously, I              9 A                 I don't recall.      It would have been
10 did not know that there was anyone else that,                  10 my intent that that's what you would have done.
11 you know, involved payments.        So I don't -- I            11 Q                  Were you ever told at any point that
12 don't recall when that -- when that statement                  12 there were emails for Mr. Collingsworth that
13 was made.    But, certainly, I believe that's --               13 were missing?
14 we had produced them.                                          14 A                  I don't recall that.
15 Q              (By Mr. Presley)     What did you do            15 Q                  So you could have been told that;
16 outside of relying on Mr. Collingsworth and                    16 could not, or you don't recall that happening?
17 Conrad & Scherer to ensure that the factual                    17 A                  I don't recall that happening.
18 representations that the defendants were making                18 Q                  Okay.    Would that have been
19 in discovery responses and briefs and in open                  19 something that you would like to know as Conrad
20 court were accurate with respect to witness                    20 & Scherer and Terry Collingsworth's lawyer, that
21 payments?                                                      21 his emails -- or some of his emails were
22                MR. PAULK:    Object to the form.               22 missing?
23 A              Reviewed all the documents I could              23 A                  Yes.    But I don't recall if I knew
24 get my hands on.                                               24 that.
25 Q              (By Mr. Presley)     And where did you          25 Q                  Okay.
                                                       Page 46                                                             Page 48

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                    Bradley J. Smith
                                                                                                                     11/21/2023
 1 A              I don't recall it as I sit here                   1 payments, that it was to those three witnesses?
 2 today.                                                           2 A                 Yes.
 3 Q              When was the first time that you                  3 Q                 Okay.    Now, do you recall anything
 4 remember talking to Mr. Collingsworth about the                  4 about any conversations with Mr. Collingsworth
 5 subject of witness payments?                                     5 at this time, verbal conversations that you had
 6 A              I don't recall.     If I would have               6 with him about witness payments?
 7 seen something, probably it would have been a                    7 A                 I don't.    I -- I would assume there
 8 discovery request maybe.       Yeah.                             8 would have been, but I don't -- don't recall.
 9 Q              Okay.                                             9 Q                 Okay.    Do you recall whether
10                MR. PRESLEY:    Let me get tab 6,               10 Mr. Collingsworth made any statements to you
11 please.                                                        11 about whether a witness named El Tigre had been
12 Q              And you can put the crime fraud                 12 paid?
13 opinion off to the side, but keep it handy                     13 A                  He certainly wouldn't have told me
14 because we'll refer back to it.                                14 that there were any payments that went to El
15 A              (Witness complies.)                             15 Tigre.       It would have been these three.
16                       (Plaintiff's Exhibit 7 was               16 Q                  Okay.    And then same question with
17                       marked for identification)               17 respect to a witness who is named Somario:             Did
18 Q              All right.    Mr. Smith, I'm going to           18 you ever have a conversation with
19 hand you what's been marked as Plaintiff's                     19 Mr. Collingsworth about whether Somario had been
20 Exhibit 7.     And this is an email chain dated                20 paid?
21 June 24 and 25, of 2013.                                       21 A                  I don't recall -- you're asking a
22                Does that appear to be correct?                 22 broad question.           I can say there was never a
23 A              Yes.                                            23 conversation where I was told Somario was
24 Q              And it's an email chain between you             24 provided any security payments.
25 and Mr. Collingsworth as well as Ms. Levesque     25 Q                               Okay.    Did you -- do you recall ever
                                             Page 49                                                                     Page 51
 1 and Ms. Lorraine Leete; is that right?                           1 asking Mr. Collingsworth that question?
 2 A              Yes.                                              2 A                 I would say that probably as
 3 Q              And I want to first focus on the                  3 discovery requests continued to broaden or
 4 first email in this chain.       And you're asking               4 become more narrow; there probably would have
 5 Mr. Collingsworth, quote, "What are the                          5 been a conversation where, Are you certain.
 6 documents Drummond refers to as 'reflecting                      6 Q                 Okay.    Let's -- let's make sure
 7 payments and correspondence to witnesses'?"                      7 that's clear.
 8                Did I read that correctly?                        8                   So that that conversation would have
 9 A              You did.                                          9 been between you and Mr. Collingsworth; correct?
10 Q              Okay.    So does this refresh your              10 A                  Correct.
11 recollection on about the time you would have                  11 Q                  Anybody else involved in that
12 had -- first had a conversation with                           12 conversation?
13 Mr. Collingsworth about witness payments?                      13 A                  Maybe someone at my firm.
14 A              It appears to be.                               14 Q                  Okay.    Now -- and you said a second
15 Q              Okay.    And in the next email                  15 ago "Are you certain?"            So I take it you would
16 Mr. Collingsworth says, quote, "Susana can you                 16 have been asking Mr. Collingsworth Are you
17 please send to Brad our discovery responses                    17 certain these are the only witnesses that
18 about legitimate security funds provided to the                18 received payments?
19 families of Halcon, Charris and Duarte?                        19                    Is that -- am I understanding your
20 Thanks."                                                       20 testimony correctly?
21                Did I read that correctly?                      21 A                  I don't remember the specific
22 A              You did.                                        22 conversation, but I think at some point the
23 Q              And is that consistent with your                23 conversation probably was had.
24 recollection of what Mr. Collingsworth was                     24 Q                  Okay.    What did Terry say in
25 telling you about the scope of the witness                     25 response?
                                                       Page 50                                                           Page 52

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                      Bradley J. Smith
                                                                                                                       11/21/2023
 1 A              I don't recall.     It's something in             1 A                 (Witness complies.)
 2 the negative.     I can -- I can be certain of                   2 Q                 And flip with me, if you would, to
 3 that.                                                            3 page 32.
 4 Q              Okay.   Something in the negative; in             4 A                 (Witness complies.)
 5 other words, yes, I'm certain it was three                       5                   MR. PRESLEY:     It's tab 98 for the
 6 witnesses, and none of these other witnesses                     6 exhibit coordinator.
 7 were paid?                                                       7 Q                 Now, one of the things that Judge
 8                MR. PAULK:    Object to the form.                 8 Proctor found in his crime fraud opinion was
 9 A              I can recall he got up in a hearing               9 that Drummond was entitled to explore who was
10 on one of these, against my advice probably -- I               10 drafting the pleadings and other papers that
11 certainly would not have asked him to stand up.                11 included misrepresentations about witness
12 But it's on the record what he said to Judge                   12 payments.
13 Proctor, and that was my understanding.                        13                    Do you see that on the center of
14 Q              And that's what he was telling you              14 page 32?
15 too?                                                           15 A                  I do.
16 A              Correct.   Correct.                             16 Q                  Okay.    All right.    Let's look at tab
17 Q              Okay.   In those conversations with             17 number 1, please.           And this will be Plaintiff's
18 Mr. Collingsworth, did he ever tell you that he                18 Exhibit 8.
19 had memory issues and had trouble recalling                    19                           (Plaintiff's Exhibit 8 was
20 facts?                                                         20                           marked for identification)
21 A              I don't recall.     I don't recall.             21 Q                  And I -- I just want to first talk
22 Q              You don't recall one way or the                 22 about that bottom email, which is an email from
23 other?                                                         23 Mr. Collingsworth to you copying Christian
24 A              I don't recall one way or the other.            24 Levesque dated March 14, of 2013; is that right?
25 Q              Did it ever appear to you when you              25 A                  Yes.
                                                       Page 53                                                               Page 55
 1 were asking Mr. Collingsworth questions about                    1 Q                 And Mr. Collingsworth is attaching
 2 this case and about witness payments that he had                 2 to this email draft responses to Drummond's
 3 memory issues?                                                   3 discovery requests; is that right?
 4 A              I don't -- I don't remember anything              4 A                 Yes.
 5 specific about that.      I -- I really don't.                   5 Q                 And then he says in the second
 6 Q              Okay.                                             6 paragraph that he will have draft responses to
 7 A              It was a lot of information.         It was       7 Drummond's document requests to you by the close
 8 thousands and thousands of documents, so I don't                 8 of business tomorrow.
 9 know what he remembered and what he didn't.                      9                   Do you see that?
10 Q              But he was telling you the same                 10 A                  I don't see that.      Where is that?
11 thing he was telling Judge Proctor?                            11 Q                  In the -- the second paragraph in
12 A              That's correct.                                 12 the bottom email?
13 Q              Which was there were exactly three              13 A                  Yeah.    Yeah.   Yeah.   I see it.    Yes.
14 witnesses?                                                     14 Yes.
15 A              That's correct.                                 15 Q                  Okay.    Now, is this consistent with
16 Q              And you had that conversation with              16 your recollection that Mr. Collingsworth and his
17 him one on one; perhaps with another lawyer from               17 associates were the ones who were primarily
18 your firm, but you asked that question to him                  18 responsible for drafting responses to Drummond's
19 during your representation?                                    19 discovery requests?
20 A              I -- I feel certain I did.        I know        20                    MR. PAULK:    Object to the form.
21 there were declarations that said the same thing               21 A                  They were heavily involved in it.
22 and other sworn --                                             22 Q                  (By Mr. Presley)      Okay.   Generally
23 Q              Okay.   So get back out, if you                 23 speaking, would they take -- would they draft
24 would, please, Mr. Smith, the crime fraud                      24 them initially and send them to you for review?
25 opinion, which is Plaintiff's Exhibit 6.                       25 A                  Interrogatories in particular, yes.
                                                       Page 54                                                               Page 56

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                    Bradley J. Smith
                                                                                                                     11/21/2023
 1 Q              Okay.    And then in the second                   1 being a whole lot of pleadings other than
 2 paragraph -- well, I guess it's technically the                  2 discover -- well, I guess this was a response to
 3 third paragraph, but it -- it starts with "FYI.                  3 the motion to compel.
 4 I've copied Christian, my colleague in the                       4 Q                 (By Mr. Presley)    Right.    And just
 5 Drummond litigation and our discover maven."                     5 to be technically accurate, let's say filings
 6                Do you see that?                                  6 rather than pleadings.
 7 A              Yes.                                              7 A                 Okay.    Yeah.
 8 Q              Okay.    What did Mr. Collingsworth               8 Q                 Fair?
 9 mean by "our discovery maven"?                                   9 A                 Yes.
10 A              I -- I have no idea.                            10 Q                  Okay.    Now, with respect to the
11 Q              Well, what --                                   11 factual representations that are being made in
12 A              I would assume it was she was a                 12 draft filings, and ultimately the final filings,
13 pretty good discovery lawyer.                                  13 that are being submitted in this case by the
14 Q              Okay.    Was it your understanding              14 defendants; are you relying on Mr. Collingsworth
15 that Ms. Levesque had a deep knowledge of the                  15 and Conrad & Scherer for the accuracy of those
16 facts like Mr. Collingsworth as it related to                  16 factual representations as it relates to witness
17 the Drummond litigation?                                       17 payments?
18 A              I don't recall.     I think she was             18                    MR. PAULK:    Object to the form.
19 involved in it.                                                19 A                  Yes.
20 Q              Okay.    Let's look at tab 10.                  20 Q                  (By Mr. Presley)    Okay.    All right.
21                       (Plaintiff's Exhibit 9 was               21 Let's go to tab 13, which will be Plaintiff's
22                       marked for identification)               22 Exhibit 10.
23 Q              And this is another email to you,               23
24 Mr. Smith, from Terry Collingsworth.          Also on          24                           (Plaintiff's Exhibit 10 was
25 the email are Ms. Levesque again and Susana       25                                        marked for identification)
                                             Page 57                                                                      Page 59
 1 Tellez, and this is dated July 17th, of 2013;                    1 Q                 And this is an email from Christian
 2 correct?                                                         2 Levesque to you on September 6th, of 2013;
 3 A              Correct.                                          3 correct?
 4 Q              And this will be Plaintiff's                      4 A                 Correct.
 5 Exhibit --                                                       5 Q                 And do you recall in 2013 that
 6                MR. PRESLEY:    Is this --                        6 Drummond issued several third-party subpoenas
 7                MR. WELLS:    That's 9.                           7 for documents in this case?
 8 Q              (By Mr. Presley)     -- 9.    So we               8 A                 I do.
 9 looked a second ago at -- at an example of                       9 Q                 Okay.    And Ms. Levesque is telling
10 Mr. Collingsworth sending you draft discovery                  10 you in this email that Drummond has tried to
11 responses, and here we have Mr. Collingsworth                  11 serve Charity Ryerson, a Conrad & Scherer
12 sending you what he describes as Christian's                   12 attorney on our legal team, with a subpoena.
13 draft with my track changes.                                   13                    Do you see that in the first
14                And is this a draft of the                      14 sentence?
15 defendant's response to Drummond's motion to                   15 A                  I do see that.
16 compel?                                                        16 Q                  Okay.    And then a little bit further
17 A              Appears to be.                                  17 down in her email she is saying that "we can
18 Q              And is that also consistent with                18 file the motion to quash, which will" almost --
19 your recollection that typically                               19 which will "be almost identical to the others.
20 Mr. Collingsworth and others at Conrad & Scherer               20 We'll circulate a draft to you on Monday for
21 would be the ones who would initially draft                    21 your review."
22 pleadings in the case for your review?                         22                    Did I read that correctly?
23                MR. PAULK:    Object to the form.               23 A                  I believe so.
24 A              They were heavily involved.         As far      24 Q                  Okay.    And so we've been through an
25 as pleadings, I don't -- I don't recall there     25 example of discovery responses, been through an
                                             Page 58                                              Page 60

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                      Bradley J. Smith
                                                                                                                       11/21/2023
 1 example of a brief filed in the defamation case,                 1 were you relying on to make sure that those
 2 and now this is an example of the defendants                     2 representations were accurate?
 3 drafting either motions to quash or objections                   3 A                 Regarding witness payments?       Yeah.
 4 related to third-party subpoenas?                                4 Terry.
 5 A              Correct.                                          5 Q                 Okay.    What about with respect to
 6 Q              Okay.    And is that also consistent              6 what documents had been searched and/or logged?
 7 with your recollection that they were drafting                   7                   What were you relying on to make
 8 those filings for your review?                                   8 sure that those representations were accurate?
 9 A              I would think we -- we certainly                  9 A                 Terry.    But I think that our -- our
10 would have reviewed them, but it -- I -- if I                  10 document pro -- I never felt by the time I got
11 recall, the -- the -- the motions to quash and                 11 that it was complete, that it was still an
12 those briefs were very similar in all the                      12 ongoing process is what I feel like; including
13 jurisdictions that they went out.                              13 the privilege log.           If I remember, one of the
14 Q              And similar question as to the                  14 last things I did was negotiating what was going
15 briefs:    With respect to the factual                         15 on the privilege log.
16 representations in those motions to quash that                 16 Q                  Well, you do know there were
17 related to witness payments, who were you                      17 representations made that all documents had been
18 relying on for the accuracy of those factual                   18 produced relating to witness payments; right?
19 representations?                                               19                    MR. PAULK:    Object to the form.
20 A              Well, I -- if I recall, almost                  20 A                  I think so.    Yes.
21 everything -- there was usually -- Terry would                 21 Q                  (By Mr. Presley)      And you do know
22 do a declaration that went with it, a sworn                    22 there were representations made about all
23 declaration.     So, yeah, I would rely upon that.             23 documents relating to witness payments that we
24 Yes.                                                           24 believe are privileged have been logged; right?
25 Q              Okay.    Let's go to tab 22 please,             25 A                  I don't recall that specifically.         I
                                                       Page 61                                                             Page 63
 1 which will be Exhibit 11.                                        1 recall that we were still working on privilege
 2                       (Plaintiff's Exhibit 11 was                2 logs; and at some point there was, you know,
 3                       marked for identification)                 3 still some work to do.
 4 Q              And this is an email from                         4 Q                 Okay.    All right.    Let's look at tab
 5 Mr. Collingsworth to you copying Susana Tellez                   5 26, which will be Plaintiff's Exhibit --
 6 dated October 2nd, 2013; is that right?                          6                   MR. PRESLEY:    What are we on here?
 7 A              Yes.                                              7                   THE COURT REPORTER:      12.
 8 Q              And it attaches a draft letter with               8 Q                 -- 12.
 9 some comments from Ms. Levesque; is that right?                  9                        (Plaintiff's Exhibit 12 was
10 A              Yes.                                            10                         marked for identification)
11 Q              Okay.    And so with respect to                 11 Q                  All right.    Mr. Smith, this is a
12 letters that were sent to Drummond that made                   12 transcript of a hearing with Judge Proctor on
13 representations about witness payments, is it                  13 October 10th, of 2013, in the defamation case.
14 also true that those letters were drafted by the               14 A                  Okay.
15 defendants for your review?                                    15 Q                  Does that appear to be correct to
16                MR. PAULK:    Object to the form.               16 you?
17 A              I don't think so.     I think we                17 A                  It does.
18 probably would have drafted this, and they would               18 Q                  All right.    I want to direct your
19 have given us some input on it if I -- I don't                 19 attention to page 26 starting on line nine of
20 recall this specific letter, but I would think                 20 the transcript.
21 we probably would have done a draft, and then                  21 A                  (Witness complies.)
22 they would have provided comments.                             22 Q                  And it reads, quote, "MR. SMITH:
23 Q              (By Mr. Presley)     Okay.    For the           23 The question is are the security payments
24 items that you drafted that were making factual                24 information discoverable?"           Judge Proctor says,
25 representations about witness payments, what      25 "Yeah, discoverable in the defamation action."
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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                     Bradley J. Smith
                                                                                                                      11/21/2023
 1 Your response:     "Your Honor, we think they are,               1 Q                 Do you -- you recall the testimony
 2 and we have produced responsive documents.             With      2 earlier you gave about searching for documents;
 3 the exception of one that is on our Privilege                    3 who was responsible for that, the searches that
 4 Log, we have produced all responsive documents."                 4 were applied, the criteria --
 5                Did I read that correctly?                        5 A                 Yes.
 6 A              You did.                                          6 Q                 -- the sources?
 7 Q              Okay.    Now, we're not going to have             7                   Okay.    My -- my question here is --
 8 a dispute, are we, that that representation is                   8 is very narrow.          So if you see in the second
 9 intended to make Drummond and the Court believe                  9 paragraph of this email -- and this email is a
10 that all security payment documents have been                  10 September 9th, 2013, email from Christian
11 produced or logged, are we?                                    11 Levesque to Mr. Smith copying Ms. Collingsworth
12                MR. PAULK:    Object to the form.               12 and Ms. Tellez.           The second to last sentence
13 A              I think that -- this is the first               13 says, "the privilege log Trey receives from"
14 motion to compel hearing?                                      14 Conrad & Scherer "will be the same as any
15 Q              (By Mr. Presley)     Correct.                   15 privilege log IRAdvocates would ever produce."
16 A              I would think based upon the                    16                    Did I read that correctly?
17 discovery that was out there and my                            17 A                  Yes.
18 understanding -- obviously, I wouldn't have made               18 Q                  Okay.    And do you recall that
19 that statement if that wasn't my understanding.                19 Drummond in 2013 when it started issuing
20 I'll say that.                                                 20 subpoenas, one of those subpoenas went to
21 Q              Right.                                          21 IRAdvocates?
22 A              Based upon -- I -- I don't think                22 A                  Yes.
23 it's just as simple as, you know, I don't know                 23 Q                  Okay.    And was it your understanding
24 what all was subsequently asked or -- but, yeah,               24 that you were -- were you being told by the
25 that was certainly my understanding at that time 25 defendants that IRAdvocates' file and Conrad &
                                             Page 65                                             Page 67
 1 or I would never made that statement.                            1 Scherer's file is one and the same for purposes
 2 Q              And that understanding came from                  2 of discovery?
 3 who?                                                             3                   MR. PAULK:    Object to the form.
 4 A              Terry.    Terry.                                  4 A                 I don't recall if there's -- there's
 5 Q              Okay.    Why don't we take a quick                5 probably something that says that, but I don't
 6 break.                                                           6 recall that specifically.
 7 A              All right.                                        7 Q                 Okay.    All right.   What -- you said
 8                THE VIDEOGRAPHER:     The time is                 8 you never spoke with Ivan Otero; correct?
 9 10:15 a.m.     We are off the record.                            9 A                 Not that I recall.
10                 (Short recess taken.)                          10 Q                  Do you speak Spanish?
11                THE VIDEOGRAPHER:     The time is               11 A                  I do not.
12 10:23 a.m.     We are back on the record.                      12 Q                  Okay.    What was your understanding
13 Q              (By Mr. Presley)     All right.                 13 about what Ivan Otero's role was as a member of
14 Mr. Smith, I'm going to show you --                            14 Mr. Collingsworth's litigation team?
15                MR. PRESLEY:    This is tab 15 for the          15 A                  Local counsel.
16 exhibit coordinator.                                           16 Q                  Local counsel where?
17 Q              -- Plaintiff's Exhibit 13.                      17 A                  Colombia.
18                     (Plaintiff's Exhibit 13 was                18 Q                  Okay.    What kind of work did you
19                     marked for identification)                 19 understand that Mr. Otero did in Colombia?
20 Q              And, Mr. Smith, we had talked                   20 A                  I don't know the -- just local
21 earlier about searches for documents in response               21 counsel, whatever he was doing.
22 to Drummond's discovery requests, right, and who               22 Q                  Local counsel in what cases?
23 performed those searches and reviewed those                    23 A                  I don't recall.    I don't -- I don't
24 documents?                                                     24 know when he came on board, and I don't know
25 A              What's the question?                            25 what was pending.           The civil cases, I think, the
                                                       Page 66                                                            Page 68

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                     Bradley J. Smith
                                                                                                                      11/21/2023
 1 human rights cases that -- that Terry had                        1 Q                 Okay.   In any event, the subject is
 2 pending against Drummond.                                        2 "Response to Second Request for Production";
 3 Q              Okay.                                             3 correct?
 4 A              -- in Colombia.     Or, no, they were             4 A                 Yes.
 5 in Judge Proctor's court; but, yes, those cases.                 5 Q                 Okay.   And the body of the email is
 6 Q              All right.    So you cleaned that up              6 discussing Mr. Otero and request for production
 7 for me.                                                          7 number 8.
 8                My point is he was not local counsel              8                   Do you see that?
 9 in the defamation case?                                          9 A                 Yes.
10 A              No.                                             10 Q                  And Mr. Collingsworth tells you in
11 Q              Okay.    He was local -- your                   11 the first sentence, quote, "Brad, The only
12 understanding is he was local counsel for                      12 absolute change we need to make is for number 8
13 Mr. Collingsworth and Conrad & Scherer in the                  13 dealing with Ivan Otero, to make it consistent
14 underlying ATS cases against Drummond?                         14 with what we have been saying in Balcero."
15 A              Correct.                                        15                    Do you see that?
16 Q              Okay.    Do you have an understanding           16 A                  I see that.
17 as to whether Mr. Otero had a financial interest               17 Q                  All right.    And then below that he
18 in the cases against Drummond?                                 18 gives you a response with objections to that
19 A              I know that at some point that there            19 discovery request; correct?
20 was an agreement that was produced in discovery                20 A                  Correct.
21 I think that I probably would have seen.            What       21 Q                  And he says in the middle of that
22 it was, I don't have any recollection of that;                 22 response, quote, "Mr. Otero represents former
23 but, yes, there was -- that was something that                 23 paramilitaries who are providing testimony
24 was an issue in discovery I believe.                           24 against Drummond in this case, he cooperates
25 Q              Okay.    What was your understanding            25 with Plaintiffs' counsel, and such
                                                       Page 69                                                               Page 71
 1 with respect to whether Mr. Otero was the                        1 communications concern Plaintiffs' counsel's
 2 criminal attorney for Colombian paramilitaries?                  2 case strategies and are not discoverable."
 3 A              I don't recall.                                   3                   Did I read that correctly?
 4 Q              Okay.    Let's look at tab 3, please;             4 A                 You did.
 5 and this will be Plaintiff's Exhibit 14.                         5 Q                 Okay.   So Mr. Collingsworth is
 6                       (Plaintiff's Exhibit 14 was                6 telling you in this email that Mr. Otero
 7                       marked for identification)                 7 represents former paramilitaries who are
 8 Q              And this is a June 20th, 2013, email              8 witnesses; correct?
 9 from Mr. Collingsworth to Ali Van Tassell with a                 9 A                 Correct.
10 copy to you, Ms. Levesque, and Ms. Tellez; is                  10 Q                  And is that -- does that refresh
11 that right?                                                    11 your recollection as to what your understanding
12 A              Yes.                                            12 was at the time of Mr. Otero's role?
13 Q              And who is Ali Van Tassell?                     13 A                  Not really.    I mean, he -- I may
14 A              She would have been an assistant in             14 have known he was a criminal attorney; but I --
15 my office back then?                                           15 other than that, I don't really -- I don't have
16 Q              All right.    I noticed on some of              16 any independent recollection of really what his
17 your emails it has this -- or some of the emails               17 role was.
18 that were produced from your file in response to               18 Q                  Do you have any --
19 Drummond's subpoena that it has a categories,                  19 A                  I remember the name; certainly
20 and it says "Purple Category."                                 20 remember the name.
21 A              I have no idea what that is.                    21 Q                  Do you have any reason to dispute
22 Q              All right.    I don't either; just              22 what Mr. Collingsworth is saying here?
23 thought I'd ask.                                               23 A                  No, I don't.    No.   No.
24 A              That maybe something Terry did.          I      24 Q                  Okay.   All right.    Let's go to tab
25 don't know.                                                    25 17, which will be Plaintiff's Exhibit 15.
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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                     Bradley J. Smith
                                                                                                                      11/21/2023
 1                       (Plaintiff's Exhibit 15 was                1 compel?
 2                       marked for identification)                 2 A                 Yes.
 3 Q              And this is a September 23rd, 2013,               3 Q                 Okay.    And that was Plaintiff's
 4 email from Ms. Levesque to Mr. Collingsworth;                    4 Exhibit 12 --
 5 correct?                                                         5 A                 Yes.
 6 A              Yes.                                              6 Q                 -- I believe?
 7 Q              And you are not on this email, are                7 A                 Yes.
 8 you?                                                             8 Q                 Okay.    Do you recall meeting with
 9 A              I am not.                                         9 Mr. Collingsworth in advance of that hearing to
10 Q              Okay.    The subject though says,               10 discuss the issues and the positions that the
11 "Agenda of meeting with Brad and Agreement                     11 defendants were going to take in that hearing?
12 Attached."                                                     12 A                  Yes.
13 A              I see that.                                     13 Q                  Okay.    In that -- who else was
14 Q              All right.    And then there's an               14 present at that meeting other than you and
15 attachment here which is an attorney cooperation               15 Mr. Collingsworth?
16 agreement.     The first two pages are the Spanish             16 A                  I don't recall.
17 version; the last page is the English version --               17 Q                  Was that meeting here in Birmingham?
18 A              Yes.                                            18 A                  Was he present at the hearing?
19 Q              -- of that agreement; okay?                     19 Q                  The meeting with Mr. Collingsworth?
20 A              Yes.                                            20 A                  No.    I -- I guess -- I don't recall
21 Q              And it's between Mr. Otero and                  21 if he was present at the hearing.           I think he
22 Mr. Collingsworth of Conrad & Scherer; correct?                22 was; maybe he wasn't.
23 A              Correct.                                        23 Q                  Well, he speaks on the record at the
24 Q              And it provides for in paragraph one            24 hearing.
25 an $80,000 payment to Ivan Otero's bank account. 25 A                                Okay.    Then he was.
                                             Page 73                                                                       Page 75
 1                Do you see that?                                  1 Q                 Yeah.
 2 A              That's what it says.     Yes.                     2 A                 He was there.    Eric Bonner at my
 3 Q              And then in paragraph two, a 25                   3 firm was there.          I would say we would have had
 4 percent contingency fee in the cases against                     4 more than one discussion about that hearing I
 5 Drummond.                                                        5 would think.
 6                Do you see that?                                  6 Q                 Okay.
 7 A              I do.                                             7 A                 And also had emailed back and forth,
 8 Q              All right.    Now, flipping back to               8 I would assume, too.
 9 the -- the email here, says the subject, again,                  9 Q                 Okay.    During your meetings with
10 is "Agenda of meeting with Brad."                              10 Mr. Collingsworth in preparation for that
11                Did you have a meeting with                     11 October 10th, 2013, hearing; did he tell you
12 Mr. Collingsworth regarding Ivan Otero and                     12 that his biggest concerns were payments and Ivan
13 witness payments in September of 2013?                         13 Otero communications?
14 A              I don't recall.                                 14 A                  I don't recall.    In my mind, I don't
15 Q              Okay.                                           15 remember thinking Ivan Otero was a big issue at
16 A              I can't -- I remember these                     16 that time.         But that -- again, that's been ten
17 documents were requested in discovery, I think;                17 years ago.
18 and we ultimately produced it but were objecting               18 Q                  And why -- what gave you that
19 to it originally maybe.       I don't -- I don't               19 impression that he was not a big issue?
20 recall.    I remember there was a -- a fee                     20 A                  I just thought he was local counsel
21 agreement that was, I think, on what we                        21 to be honest with you.
22 produced.                                                      22 Q                  And your understanding that he was
23 Q              Let me ask it this way:       You recall        23 local counsel and the nature of whatever role he
24 earlier we looked at a hearing transcript from                 24 was playing was based on information that was
25 October 10th, of 2013, on Drummond's motion to    25 provided to you by who?
                                             Page 74                                                                       Page 76

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                     Bradley J. Smith
                                                                                                                      11/21/2023
 1 A              Terry.                                            1 Q                 I'm looking at the -- there's a
 2 Q              Anybody else?                                     2 paragraph number two that is titled
 3 A              Not that I recall.                                3 "Relationship with Ivan Otero"; correct?
 4 Q              Did Terry tell you at the meeting to              4 A                 Okay.
 5 prepare for the October 10, 2013, hearing that                   5 Q                 Yes.    Correct.
 6 Ivan Otero had a 25 percent contingency fee in                   6 A                 Okay.    What's the question?
 7 litigation against Drummond?                                     7 Q                 So in that paragraph it's safe to
 8 A              I don't recall.                                   8 say that Mr. Collingsworth is telling you what
 9 Q              Did he tell you that Ivan Otero had               9 Ivan Otero's role was?
10 received $80,000 from Conrad & Scherer?                        10 A                  Yes.
11 A              It says it in that document.         So I       11 Q                  Just take a second and read it.
12 guess if I would have read that document, I                    12                    Okay.    You agree with that?
13 would have known whenever I received that                      13 A                  Yes.
14 document; which would have been, I assume,                     14 Q                  Okay.    And he says in the second to
15 around the time it was produced.                               15 last sentence "We did not have a written
16 Q              Okay.                                           16 agreement, although he hounded me for it."
17 A              I'm assuming it was produced.         I         17                    Do you see that?
18 don't recall every document that was produced,                 18 A                  Yes.
19 but I think it was.                                            19 Q                  So we just looked at an email
20 Q              Do you recall the first time you saw            20 between Ms. Levesque and Mr. Collingsworth from
21 this document?                                                 21 about ten days earlier attaching the written
22 A              I don't.     I don't.                           22 agreement with Ivan Otero.
23 Q              Do you recall whether you saw this              23                    Do you remember that?
24 document prior to the October 10th hearing?                    24 A                  I do.
25 A              I don't recall.                                 25 Q                  Okay.    And here he's telling you
                                                       Page 77                                                            Page 79
 1 Q              Okay.    Let's go to tab 24, please;              1 that they did not have a written agreement with
 2 which will be Plaintiff's Exhibit 16.                            2 Ivan Otero; right?
 3                       (Plaintiff's Exhibit 16 was                3 A                 That's what this says.
 4                       marked for identification)                 4 Q                 Okay.
 5 Q              And this is an October 2nd, 2013,                 5 A                 So maybe I mistook that I had ever
 6 email from Mr. Collingsworth to you; is that                     6 seen that.        I don't recall specifically.      I
 7 right?                                                           7 remember it being an issue; but, again, we're
 8 A              Yes.                                              8 going back ten years.          I don't remember a lot of
 9 Q              And he is attaching a document that               9 this stuff.
10 is titled "TC Argument Notes."                                 10 Q                  Okay.    What did -- let me ask it
11                Do you see that?                                11 this way:        What is your understanding of who
12 A              Yes.                                            12 Albert Van Bilderbeek is?
13 Q              And in the body of the email, he's              13 A                  My understanding was that the Van --
14 talking about the upcoming October 10th hearing                14 Van Bilderbeek brothers owned Llanos Oil, which
15 and saying it's crucial; right?                                15 was a Dutch energy company that had a concession
16 A              Yes.                                            16 in Colombia that was -- that they claimed was
17 Q              All right.     So flip with me if you           17 maybe stolen by Drummond.
18 would to the third page of the attachment, which               18 Q                  Okay.    And did you understand that
19 is Bates labeled CS_TC196161.                                  19 Mr. Collingsworth had a relationship with Llanos
20 A              The underlined?     Is that what you're         20 Oil and Albert Van Bilderbeek?
21 asking me?                                                     21 A                  I don't know what the extent of the
22 Q              No.    No.   Next page, that -- the             22 relationship was, but I think that they did know
23 highlighting on the second page was as it was                  23 each other.         I was told they had -- they did
24 produced to us.                                                24 know each other.
25 A              (Witness complies.)                             25 Q                  Okay.    Let's go to tab 2, please.
                                                       Page 78                                                            Page 80

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                      Bradley J. Smith
                                                                                                                       11/21/2023
 1 And this will be Plaintiff's Exhibit 17.                          1 Q                 All right.   On page seven, the first
 2                       (Plaintiff's Exhibit 17 was                 2 paragraph starts with "The fifth category of
 3                        marked for identification)                 3 information relates to the relationship with
 4 A              Okay.                                              4 Llanos Oil."
 5 Q              And this appears to be a letter                    5                   Do you see that?
 6 written by you, Mr. Smith, to Terry                               6 A                 Yes.
 7 Collingsworth dated May 14, of 2013.                              7 Q                 And you tell Mr. Collingsworth that
 8                Is that right?                                     8 Judge Acker and Judge Proctor have asked you
 9 A              Yes.                                               9 questions about what the relationship is between
10 Q              Okay.    And, generally, what you're             10 Mr. Collingsworth and Llanos Oil.
11 doing is you are informing Mr. Collingsworth                    11                    Do you see that?
12 about discovery issues that Drummond has raised                 12 A                  Yes.
13 in the defamation case.                                         13 Q                  And -- and that you've responded
14                Is that a fair characterization?                 14 that you're not aware of what that relationship
15 A              Well, it looks like the general                  15 is?
16 issues; I'm kind of talking about ways to, you                  16 A                  Correct.
17 know, successfully defend the defamation case --                17 Q                  All right.   And then you say, quote,
18 Q              Well --                                          18 "Terry has previously stated that there is no
19 A              -- I guess.                                      19 finance arrangement," end quote.
20 Q              Okay.                                            20                    Do you see that?
21 A              Kind of breaking down the specific               21 A                  Yes.
22 statements trying to find defenses to it.                       22 Q                  All right.   So that leads me to
23 Q              All right.                                       23 believe that you had asked Terry Collingsworth
24 A              Because that's what was important to             24 what the relationship was between Llanos Oil and
25 understand is I was always focused on the                       25 him.
                                                        Page 81                                                               Page 83
 1 defamation case; right?                                           1 A                 I would -- I would think so.         I
 2 Q              Right.                                             2 don't have any independent recollection.
 3 A              Okay.                                              3 Q                 All right.   And that may answer my
 4 Q              I understand that.                                 4 next question.
 5 A              All right.    So go ahead.      I'm sorry.         5                   But outside of what's written in
 6 Ask your question.                                                6 this letter, which is Terry told me there is no
 7 Q              That's all right.     Let's go to page             7 financial arrangement; do you remember anything
 8 seven of the letter.                                              8 specific about what Mr. Collingsworth told you
 9 A              Who made the redactions on these?                  9 the relationship was between Llanos Oil and him?
10 Q              I'll represent to you that this is               10 A                  I don't recall.
11 how the document was produced to Drummond                       11 Q                  All right.   Let's go to tab 36.
12 pursuant to the crime fraud exception, and the                  12                    MR. WELLS:   Which is Exhibit 1.
13 redactions were made by Conrad & Scherer's                      13 Q                  (By Mr. Presley)     -- which is
14 counsel.                                                        14 Exhibit 1.         That's the very first document that
15                MR. PRESLEY:    William, jump in if I            15 we looked at.
16 am incorrect.                                                   16                    MR. PRESLEY:   And then we'll need
17                MR. PAULK:    That's correct.        I mean,     17 tab 99.
18 I don't -- I can't personally testify to these                  18                    MR. WELLS:   Okay.
19 redactions.                                                     19 A                  Go back to the first document you
20                MR. PRESLEY:    Right.                           20 asked me about?
21                MR. PAULK:    But under our guidance             21 Q                  (By Mr. Presley)     Yes.     Plaintiff's
22 they were provided.                                             22 Exhibit 1.
23 Q              (By Mr. Presley)     Okay.     This is how       23 A                  Okay. (Witness complies.)
24 the document was produced to us in discovery.                   24 Q                  All right.   So this is the email
25 A              Okay.                                            25 from Ms. Tellez to you with a cc to
                                                        Page 82                                                               Page 84

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                      Bradley J. Smith
                                                                                                                       11/21/2023
 1 Mr. Collingsworth and, I guess, Ms. Duke; is                     1 point.
 2 that right, A -- A. Duke?                                        2 Q                 And, again, when you say the case --
 3 A              That's my assistant.                              3 "the human rights cases," you're referring to
 4 Q              Okay.    And the body of the email                4 the underlying litigation that Terry and Conrad
 5 says, quote, "You can tell Drummond that any                     5 & Scherer filed against Drummond --
 6 responsive documents for agreements with 'Llanos                 6 A                 Well, I think --
 7 Oil and/or Albert Van Bilderbeek and/or Hendrik                  7 Q                 -- and/or --
 8 Van Bilderbeek' were already produced at                         8 A                 Well --
 9 CS000891-893."                                                   9 Q                 -- and other companies --
10                Did I read that correctly?                      10 A                  I think so.    Yes.
11 A              You did.                                        11 Q                  -- right?
12 Q              All right.    Let me show you this is           12 A                  Yes.
13 tab 99, which will be Plaintiff's Exhibit 18.                  13 Q                  Now, in response to that subpoena
14                       (Plaintiff's Exhibit 18 was              14 that Drummond served on Parker Waichman, do you
15                        marked for identification)              15 recall that Parker Waichman produced a privilege
16 Q              And do the Bates numbers on that                16 log and then ultimately produced documents?
17 document correspond to the Bates numbers that                  17 A                  Yes.
18 Ms. Tellez put in her email of January 21st,                   18 Q                  Okay.    Let's look at tab 38, which
19 2014?                                                          19 is Plaintiff's Exhibit 19.
20 A              They do.                                        20                           (Plaintiff's Exhibit 19 was
21 Q              Okay.    And that document is a -- an           21                            marked for identification)
22 agreement between Mr. Collingsworth and Llanos                 22 Q                  And what we have done here,
23 Oil; correct?                                                  23 Mr. Smith, is -- there were a lot of attachments
24 A              Yes.                                            24 to this email as you can see from the attachment
25 Q              And she's telling you this is the               25 list.
                                                       Page 85                                                             Page 87
 1 only agreement that exists between -- or --                      1 A                 Okay.
 2 yeah.                                                            2 Q                 They included documents from Western
 3                This is the only agreement that                   3 Union and MoneyGram; which, as you may recall,
 4 exists involving Llanos Oil, Albert Van                          4 Drummond also subpoenaed.
 5 Bilderbeek or Hendrik Van Bilderbeek; correct?                   5 A                 Right.
 6 A              She says it's the only responsive                 6 Q                 It also includes documents -- I'm
 7 document for agreements.       Yes.                              7 sorry -- Parker Waichman's privilege logs.
 8 Q              Okay.    Now, in 2013, again, in                  8                   Do you see that?
 9 parallel with a motion to compel and the party                   9 A                 Yes.
10 discovery issues that we've talked about in the                10 Q                  Okay.    And you're sending this
11 defamation case; Drummond issued subpoenas,                    11 document to Mr. Collingsworth on February 28th,
12 right, to a bunch of third parties?                            12 of 2014; right?
13 A              Correct.                                        13 A                  Looks like I'm sending it to my
14 Q              You recall that one of those                    14 assistant to print.           But yes.    Yes.   Terry is
15 subpoenas went to Parker Waichman?                             15 cc'd on it.
16 A              Yes.                                            16 Q                  Okay.    Now, at the time that you
17 Q              Okay.    And please tell the jury who           17 received this privilege log and then sent it to
18 Parker Waichman is to your understanding.                      18 Mr. Collingsworth; do you recall any discussions
19 A              It is a plaintiff's personal injury             19 that you had with Mr. Collingsworth about the
20 firm in New York that was cocounsel.                           20 Parker Waichman subpoena and the privilege log
21 Q              Cocounsel with who?                             21 that they produced?
22 A              Terry, in some of the human rights              22 A                  Well, at some point the decision was
23 cases.    Or they -- there was discussions of it.              23 made to attempt to claw back some of the
24 I don't know what the ultimate relationship was,               24 documents.         I remember that.      But other than
25 but they were involved in the cases at some       25 that -- that -- yes.                        It was the understanding
                                             Page 86                                                                       Page 88

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                   Bradley J. Smith
                                                                                                                    11/21/2023
 1 that some privileged documents had been                          1 Q                 Okay.   And Mr. Collingsworth
 2 produced.                                                        2 responds to you that "There was a discussion of
 3 Q              Okay.    What about as it relates to              3 whether to help with his attorneys fees related
 4 the privilege log here --                                        4 to his preparation for and assessment of
 5 A              I don't --                                        5 consequences of his testimony.         The fees were
 6 Q              -- what --                                        6 not paid after much discussion.         I had research
 7 A              I don't recall.     I don't recall this           7 done as to whether we could ethically pay fees
 8 privilege log.                                                   8 associated with his testimony, and the
 9 Q              Okay.                                             9 conclusion was we could, but we didn't.           So if
10 A              Obviously, I would have seen it; but            10 Mike Hugo is deposed and Drummond overcomes the
11 I don't -- as I sit here today, I don't recall                 11 privilege, if asked if we paid the fees the
12 it.                                                            12 answer is no."
13 Q              All right.    Let's look at tab 37,             13                    Did I read that correctly?
14 which will be Plaintiff's Exhibit 20.                          14 A                  You did.
15                       (Plaintiff's Exhibit 20 was              15 Q                  All right.   Now, do you know who
16                        marked for identification)              16 Mike Hugo is?
17 A              Okay.                                           17 A                  I do.
18 Q              And this is later that afternoon of             18 Q                  Who is Mike Hugo?
19 February 28th, 2014, an email chain between                    19 A                  Well, I recall it from reviewing
20 you --                                                         20 some documents yesterday that he was an attorney
21 A              Yeah.    Okay.                                  21 at Parker Waichman that worked with Terry.            I
22 Q              -- and Mr. Collingsworth.                       22 guess he was the parker Waichman attorney that
23                All right.    And you see you asked             23 worked with Terry on these cases.
24 Mr. Collingsworth at 5:01 "Have you had a chance               24 Q                  Okay.
25 to look at PW's privilege log?        There are                25 A                  And I think I maybe even called him
                                                       Page 89                                                           Page 91
 1 several documents identified as 'money for JBM.'                 1 at some point.
 2 I assume that is Jaime Blanco and Drummond                       2 Q                 Okay.   When did you call Mike Hugo?
 3 thinks they have found something.         Do you recall          3 A                 I don't recall, but there is a
 4 the memos and can you provide some insight?"                     4 document that I reviewed yesterday that
 5                Did I read that correctly?                        5 refreshes my -- refreshed my recollection on the
 6 A              You did read it correctly.                        6 matter.
 7 Q              Okay.    Is it your understanding that            7 Q                 Do you recall anything about your
 8 Jaime Blanco was one of the defendants'                          8 conversation with Mr. Hugo, what was said?
 9 Colombian witnesses in the litigation against                    9 A                 Only thing I probably recall is that
10 Drummond?                                                      10 he did not like Terry.
11 A              I don't remember the extent of what             11 Q                  Okay.   Did he tell you why he didn't
12 he was -- whether he was a witness.          I remember        12 like Terry?
13 he was the alleged owner of, I guess, the                      13 A                  I don't -- I don't recall.
14 cafeteria that was alleged to have hired some --               14 Q                  What was the reason for the call?
15 participated in the murders of the labor union                 15 A                  Had he -- maybe there was something
16 leaders I think.       That's what I remember about            16 from Paul Wolfe or there was an affidavit --
17 him.                                                           17 there was something -- I don't -- I don't
18 Q              Okay.    And you're directing                   18 recall.       There was something -- there was a
19 Mr. Collingsworth's attention to documents on                  19 reason, but I don't recall what it was.
20 the log --                                                     20 Q                  Okay.   Did you speak with him more
21 A              Yes.                                            21 than once or just that one time?
22 Q              -- as "money for JBM" --                        22 A                  Just one time.
23 A              Yes.                                            23 Q                  Okay.   And that was by telephone?
24 Q              -- right?                                       24 A                  I believe so.
25 A              Yes.                                            25 Q                  Did you speak with anybody else at
                                                       Page 90                                                           Page 92

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                       Bradley J. Smith
                                                                                                                        11/21/2023
 1 Parker Waichman?                                                 1 Q                 All right.    So, again, this is
 2 A              They had an attorney that I dealt                 2 consistent with what Mr. Collingsworth is
 3 with.                                                            3 otherwise representing to you, which is Jaime
 4 Q              David Cohen?                                      4 Blanco was not paid.          He was not one of the
 5 A              Yes.    Yes.                                      5 three witnesses who received a payment?
 6 Q              Okay.    Set him aside for the moment.            6 A                 That's correct.
 7                Anyone else at Parker Waichman you                7 Q                 All right.    Now, did
 8 spoke with other than Mike Hugo?                                 8 Mr. Collingsworth at any time -- when he's
 9 A              Not that I recall.                                9 talking about payments to Jaime Blanco, did he
10 Q              Okay.    Mr. Collingsworth references           10 ever say to you Jaime Blanco was paid, but those
11 in his email to you that they had research done                11 payments were made by Albert Van Bilderbeek?
12 as to whether they could ethically pay the fees.               12 A                  I don't -- I don't recall that.          No.
13                Did you ever see that research?                 13 Q                  Did Mr. Collingsworth ever tell you
14 A              I don't recall.                                 14 that Jaime Blanco was paid, but I'm making a
15 Q              In any event, Mr. Collingsworth says            15 distinction in my head as to why those payments
16 we've researched it, but we didn't make the                    16 are different than the other three witnesses who
17 payment; right?                                                17 were paid?
18 A              Correct.                                        18 A                  Only thing I recall is that he
19 Q              And is that consistent with what he             19 wasn't paid.
20 was telling you verbally at this time as well,                 20 Q                  Okay.    Now let's go to tab --
21 that Blanco was not paid; we considered it, but                21                    MR. PRESLEY:    Let's go to 50, Trey.
22 we didn't pay him?                                             22                    MR. WELLS:    Hold on.    I've lost my
23 A              I was told there were only three                23 sticker.        Is what was the last exhibit?
24 that were paid.       Yes.                                     24                    MR. PRESLEY:    21, I believe, was the
25 Q              That --                                         25 last exhibit.
                                                       Page 93                                                                Page 95
 1 A              That was my only understanding.                   1                   THE COURT REPORTER:      Yes.   21.
 2 Q              And Blanco was not one of them?                   2 Q                 (By Mr. Presley)    All right.
 3 A              He was not one of them.                           3 Mr. Smith, I'm showing you what's been marked as
 4 Q              All right.     Let's -- let's look at             4 Plaintiff's Exhibit 22, which is an April 1,
 5 tab 40, which is Plaintiff's Exhibit 21.                         5 2014, email from Mr. Collingsworth to you with a
 6                       (Plaintiff's Exhibit 21 was                6 subject:       "urgent drummond."
 7                        marked for identification)                7                        (Plaintiff's Exhibit 22 was
 8 Q              So this is a couple of weeks after                8                           marked for identification)
 9 that February 28th email we just looked at.                      9 Q                 Do you see that?
10                This is a March 14, 2014, chain                 10 A                  I do.
11 between you and Mr. Collingsworth; is that                     11 Q                  All right.    And we've just gone
12 right?                                                         12 through several emails where you're having
13 A              Yes.                                            13 discussions with Mr. Collingsworth about
14 Q              Okay.    And you say at the bottom              14 documents that Parker Waichman has produced and
15 that Parker Waichman "has produced documents";                 15 a privilege log that they've produced and
16 correct?                                                       16 whether or not Jaime Blanco was paid; right?
17 A              Yes.                                            17 A                  (No response.)
18 Q              All right.     And then at the top,             18 Q                  We just went through those
19 very top email, Mr. Collingsworth again tells                  19 documents; right?
20 you, quote, "I think there are docs in which we                20 A                  Let's see.    I -- yes.
21 discussed WHETHER WE COULD assist Jaime's                      21 Q                  Okay.
22 lawyers, and I wanted to, but ultimately we did                22 A                  I -- I think the -- seems like there
23 not."                                                          23 was more than just Jaime Blanco documents that
24                Did I read that correctly?                      24 we were trying to claw back.           I can't recall.
25 A              Yes.                                            25 Q                  Right.
                                                       Page 94                                                                Page 96

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                     Bradley J. Smith
                                                                                                                      11/21/2023
 1                But my question is just:       You had            1 A                 Correct.
 2 just been discussing payments to Jaime Blanco                    2 Q                 All right.   And you recall -- or do
 3 with Mr. Collingsworth.         And he's telling you we          3 you recall that a few weeks before this hearing
 4 considered it, but we didn't make those                          4 Drummond filed an emergency motion for sanctions
 5 payments; right?                                                 5 against the defendants?
 6 A              Yes.    Back on March 14th.                       6                   Looks like you might?
 7 Q              All right.    So in the first two                 7 A                 I -- I remember you filing that
 8 sentences of those paragraphs, Mr. Collingsworth                 8 motion.      I don't recall where it was in time to
 9 tells you that, quote, "I'm in Bogota and am on                  9 this hearing.
10 same time zone as you.       Going to prison to visit          10 Q                  Okay.
11 Jaime Blanco for all of the morning and won't                  11 A                  Is this the hearing on that motion?
12 have contact info."                                            12 Q                  Yes.
13                Why was Mr. Collingsworth going to              13 A                  Okay.
14 Bogota to see Jaime Blanco?                                    14 Q                  All right.
15 A              I don't know.                                   15 A                  Okay.
16 Q              Do you recall other times when you              16 Q                  And do you generally recall that
17 were representing the defendants in the                        17 Drummond's motion for -- emergency motion for
18 defamation case when Mr. Collingsworth would go                18 sanctions was asserting that the defendants had
19 to Colombia to see imprisoned witnesses?                       19 not produced all documents relating to witness
20 A              Yes.                                            20 payments and pointing to the Parker Waichman
21 Q              Okay.    What about Jaime Blanco in             21 production as additional documents that had not
22 particular?                                                    22 been logged or produced by the defendants?
23                Do you recall?                                  23 A                  I don't remember all that, but I do
24 A              I don't recall other than what I                24 remember there being a motion for sanctions that
25 described earlier as what I recalled his role to 25 gave me a lot of heartburn.
                                             Page 97                                                                      Page 99
 1 be.    I think he thought that he played a factor                1 Q                 Okay.   Now let's look at page 21 of
 2 in his cases against Drummond.         Yes.                      2 that transcript in your Plaintiff's Exhibit 23
 3 Q              Did Mr. Collingsworth tell you that               3 page 21.
 4 his visit to Jaime Blanco had anything to do                     4 A                 (Witness complies.)   Okay.
 5 with the fact that there had just been documents                 5 Q                 All right.   Now, there's a
 6 produced discussing payments to Blanco or the                    6 discussion about Jaime Blanco's legal fees.
 7 possibility of making payments?                                  7                   Do you see that?
 8 A              I didn't -- I did not connect it.                 8 A                 Correct.
 9 That's -- I didn't.       No.                                    9 Q                 All right.   And Judge Proctor says,
10 Q              He didn't -- he didn't say that to              10 quote, "The $100,000 criminal defense fee.             What
11 you?                                                           11 is the basis -- that was troubling to me.             Let
12 A              No, he did --                                   12 me hear from the defendant about the basis, the
13 Q              Okay.                                           13 legal basis, proper basis, for that."
14 A              -- not.                                         14                    And you respond "Well, Your Honor,
15 Q              Did he give you any reason for going            15 there was no payment made"; right?
16 to see Jaime Blanco in Bogota at this time?                    16 A                  That's what -- that's what I said.
17 A              No.    But he wouldn't have -- I don't          17 Q                  All right.   And that's consistent
18 -- I don't --                                                  18 with what you were being told by
19 Q              All right.    Let's go to tab 60,               19 Mr. Collingsworth; correct?
20 which will be Plaintiff's Exhibit 23.                          20 A                  Yes.
21                       (Plaintiff's Exhibit 23 was              21 Q                  All right.   And Mr. Collingsworth
22                        marked for identification)              22 was not telling you that Albert Van Bilderbeek
23 Q              All right.    Mr. Smith, this is a              23 made that -- may have made a payment, so I made
24 hearing transcript from April 21, of 2014, with                24 a distinction in my head.
25 Judge Proctor in the defamation case; correct?    25                                 He was just telling you there was no
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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                      Bradley J. Smith
                                                                                                                       11/21/2023
 1 payment made; right?                                               1 Q                 Did Mr. Collingsworth ever tell you
 2 A              I think what he told me is                          2 that he gave half the proceeds of that loan to
 3 memorialized in one of the emails we just looked                   3 Albert Van Bilderbeek?
 4 at.                                                                4 A                 No.    Now to be fair, I do recall him
 5 Q              Okay.    Did Mr. Collingsworth ever                 5 attempting to get some additional financing and
 6 give you a reason as to why they decided to                        6 being in Europe doing that.          I remember --
 7 purportedly not make payments to Jaime Blanco?                     7 vaguely remember that.          My understanding would
 8 A              I don't recall.     I just -- you know,             8 have been that the Van Bilderbeeks would have
 9 I don't recall.                                                    9 been pocketed and not be some -- would have been
10 Q              Okay.    When was the first time you              10 giving instead of receiving I guess.
11 learned that Jaime Blanco had -- did receive                     11 Q                  Did you ever see any written
12 payments?                                                        12 agreements between Mr. Collingsworth and Nicox
13 A              I don't know that I ever did other                13 B.V.?
14 than your -- it was my understanding without                     14 A                  Never heard of them, so no.
15 specifics that there were some additional                        15 Q                  Okay.
16 payments made.       I don't know any specifics about            16 A                  I say that.    I don't recall, you
17 who or what or when or where.                                    17 know.      If that were something I produced, I
18 Q              And do you -- right.       Fair enough.           18 don't recall.
19                But do you recall when you first                  19 Q                  All right.    Let's look at -- back at
20 learned that information?                                        20 the hearing transcript, which is Plaintiff's
21 A              I believe maybe I met with some                   21 Exhibit 23.
22 attorneys with William's firm on the eve of that                 22 A                  Yes.    (Witness complies.)
23 -- one of those hearings.                                        23 Q                  And if you look on pages 30 and 31
24 Q              Well, it -- all right.        There --            24 of that hearing transcript, I think you alluded
25 there's been several hearings.                                   25 to this earlier in your deposition.
                                                        Page 101                                                           Page 103
 1                Would it have been on the eve of the                1                   This is when Mr. Collingsworth stood
 2 crime fraud hearing?                                               2 up and answered Judge Proctor's question about
 3 A              Yes.    I believe so.     Yes.                      3 what witnesses have been paid?
 4 Q              Okay.    Have you ever heard of a                   4 A                 Correct.
 5 company called Nicox B.V.?                                         5 Q                 Okay.    And we don't have to go
 6 A              No.                                                 6 through this quote, but it goes from page 30
 7 Q              Have you ever heard of a company                    7 line 19 to 31 line 19.          And he says -- he being
 8 called HP Metals B.V.?                                             8 Mr. Collingsworth -- that "There were exactly in
 9 A              No.                                                 9 this case three witnesses" who received
10 Q              Have you ever heard of a person                   10 payments.
11 named Herman de Leeuw?                                           11                    And that's consistent with what he
12 A              No.                                               12 was telling you; right?
13 Q              Paul Akermohns?                                   13 A                  That's correct.
14 A              No.                                               14 Q                  Okay.    Are you aware that
15 Q              James Elwood?                                     15 Mr. Collingsworth has represented to Drummond
16 A              No.                                               16 and to the Court in this case that he forgot
17 Q              None of those names --                            17 that El Tigre and Somario had been paid?
18 A              Do not --                                         18 A                  I think I may have heard that
19 Q              -- ring a bell at all?                            19 somewhere.
20 A              -- ring a bell.     No.                           20 Q                  Did he ever tell you that he forgot
21 Q              Okay.    Did Mr. Collingsworth ever               21 that they were paid?
22 tell you that he had received a one and a half                   22 A                  No.    Because I never had the
23 million dollar loan from a company called Nicox                  23 conversation with him that anyone other than the
24 B.V.?                                                            24 three that we've already discussed were paid.
25 A              No.                                               25 Q                  All right.    And you've been a lawyer
                                                        Page 102                                                           Page 104

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                                                                                                                      11/21/2023
 1 for how long?                                                    1                            marked for identification)
 2 A              Now?                                              2 Q                 So we're going back in time for a
 3 Q              Yes.                                              3 second here, Mr. Smith.
 4 A              23 years.                                         4                   Do you recall -- and I'll direct
 5 Q              And in your 23-year career, have you              5 your attention to the very first part of this
 6 ever made tens of thousands of dollars in                        6 email chain.           And it is a copy of a text order
 7 payments to fact witnesses?                                      7 entered by Judge Proctor on August 28th of
 8 A              No.                                               8 2013 --
 9 Q              Is that something you would remember              9 A                 Yes.
10 if you had?                                                    10 Q                  -- about privilege logs?
11 A              Well, I wouldn't do it.        But I            11 A                  Yes.
12 didn't have cases that were involving a civil                  12 Q                  All right.     And he's ordering the
13 war and all the other things that were going on.               13 defendants to produce privilege logs in the
14 So whether there's an excuse for it, I don't                   14 defamation case; right?
15 know.    But I absolutely have never had a case                15 A                  That's what it looks like.
16 where I have considered or -- to pay any type of               16 Q                  Okay.     Who -- who was responsible
17 witness.                                                       17 for searching for and logging documents on a
18 Q              Right.                                          18 privilege log in the defamation case in August
19                The question was:      Is that something        19 and September of 2013?
20 you would forget?                                              20 A                  Well, Terry's team was doing the
21                MR. PAULK:    Object to the form.               21 majority of it.            They were doing the searches,
22 Q              (By Mr. Presley)      I mean, it's              22 you know.        Yes.
23 unusual --                                                     23 Q                  And they were reviewing the
24 A              I -- I --                                       24 documents to make the privilege calls on those
25 Q              -- at the least?                                25 documents?
                                                      Page 105                                                           Page 107
 1 A              Yeah.    Yeah.    I don't think I would           1 A                 I think they were -- yes.      I think
 2 forget it, but who --                                            2 so.
 3 Q              Okay.                                             3 Q                 Okay.     Do you know as part of that
 4 A              But, you know, I don't --                         4 search what -- what document -- what sources of
 5                MR. PRESLEY:      All right.    What time         5 documents they were -- whose emails they were
 6 is it, Trey?                                                     6 looking at or what files they were looking at to
 7                MR. WELLS:    11:08.                              7 create that privilege log?
 8                MR. PRESLEY:      All right.     I'm about        8 A                 As I sit here today, I do not.       I
 9 to shift to a new topic, so do you -- do we --                   9 know at some point I thought y'all sent maybe
10 where are we on lunch?                                         10 something specific asking that we were making
11                MR. WELLS:    Menus have been sent              11 these searches.
12 out, but I haven't got an ETA.                                 12 Q                  Okay.     And we'll get to that --
13                MR. PRESLEY:      All right.                    13 A                  Yeah.
14                MR. DAVIS:    Let's keep going.                 14 Q                  -- in a minute.
15 Q              (By Mr. Presley)      Let's keep going.         15                    Let's look at tab 19.     And this will
16 A              Yeah.    Let's can if we -- yeah,               16 be Plaintiff's Exhibit 25.
17 because I've got to get some stuff down.                       17                            (Plaintiff's Exhibit 25 was
18 Q              No.    I understand.                            18                             marked for identification)
19                All right.                                      19 Q                  So this is almost a month after that
20                MR PRESLEY:      Let's go to tab 12 for         20 order we just looked at, which was in late
21 the exhibit coordinator.                                       21 August.
22 Q              And this will be Plaintiff's Exhibit            22                    And it's an email chain with you and
23 24.                                                            23 Mr. Collingsworth as well as Christian Levesque
24 A              Okay.                                           24 and Susana Tellez; right?
25                       (Plaintiff's Exhibit 24 was              25 A                  Yes.
                                                      Page 106                                                           Page 108

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                                                                                                                         11/21/2023
 1 Q              All right.    And I want to direct                 1 A                 (Witness complies.)       Okay.
 2 your attention to the bottom email where                          2 Q                 Second entry from the bottom with
 3 Mr. Collingsworth tells you "There is no draft                    3 the number 27 beside it.
 4 log yet.    Won't really have a meaningful draft                  4 A                 Okay.
 5 until Sunday night or Monday morning."                            5 Q                 And in the notes it quotes that
 6                Do you see where I've read that last               6 document in saying, quote, "I can transfer funds
 7 sentence?                                                         7 as soon as the two declarations we discussed are
 8 A              Yes.                                               8 ready."
 9 Q              Okay.    And the date of this email is             9                   Did I read that correctly?
10 September 26th; right?                                          10 A                  Yes.
11 A              Yes.                                             11 Q                  And that's a -- that's logged as a
12 Q              All right.    Let's look at tab 18.              12 December 15th, 2008, email from Ivan Otero to
13                       (Plaintiff's Exhibit 26 was               13 Rebecca Pendleton; right?
14                        marked for identification)               14 A                  Yes.
15 Q              And, Mr. Smith, this is an email                 15 Q                  What declarations are they talking
16 from the day before, right, September 25th,                     16 about there?
17 2013?                                                           17                    Do you know?
18 A              Okay.                                            18 A                  I don't.
19 Q              And it's an email from Ms. Tellez to             19 Q                  All right.     Let's flip to 165502.
20 Ms. Levesque; right?                                            20 A                  (Witness complies.)
21 A              Correct.                                         21 Q                  Entry 45.     It's a February 8th, 2011
22 Q              You are not on this email, are you?              22 email from Lorraine Leete to Ivan Otero.
23 A              No.                                              23                    Do you see that?
24 Q              Okay.    And Ms. Tellez is attaching             24 A                  I do.
25 to this email a document that is titled                         25 Q                  And in the notes column it says
                                                       Page 109                                                             Page 111
 1 September 25th, 2013, "MASTER INTERNAL Privilege                  1 that -- that email says, "In order to send money
 2 log-CL NOTES"; right?                                             2 to your bank account we need the following info:
 3 A              Yes.                                               3 (then asks for banking details)," quote, "'which
 4 Q              Do you know why Mr. Collingsworth                  4 is where he said money for his, ET and Sam's
 5 would tell you the next day that there was no                     5 security should be deposited.'"
 6 draft log if, in fact, this draft log had                         6                   Did I read that correctly?
 7 already been created?                                             7 A                 You did.
 8 A              Yeah.    I don't know.                             8 Q                 Any reason to dispute that ET and
 9 Q              Okay.    I want you to flip to Bates               9 Sam are El Tigre and Somario?
10 number -- and this -- we're on Plaintiff's                      10 A                  Yeah.    I don't know.
11 Exhibit 26 right now -- Bates number                            11 Q                  Any reason to dispute that?
12 CS_TC165494.                                                    12 A                  No.    No.
13 A              (Witness complies.)       Say that again.        13 Q                  Okay.    Now let's look at the next
14 Q              165494.                                          14 page, 165503, entry 52, top entry.
15 A              Okay.                                            15 A                  Okay.
16 Q              All right.    And you see the numbered           16 Q                  This is an April 15th, 2011, email
17 entries 82 and 83 in the center of that page?                   17 from Ivan Otero to Lorraine Leete.              And in the
18 A              Yes.                                             18 right-hand column it says, quote, "To S and T
19 Q              And you see in the far right-hand                19 1800 each was given.            From this 800 was for the
20 column they're describing a $35,000 payment to                  20 transfer of their nuclear families and 1000 to
21 Ivan Otero in June -- I'm sorry -- July of 2012                 21 sustain them for one month."
22 as well as a $60,000 payment in September of                    22                    Any reason to dispute that S and T
23 2011?                                                           23 are Somario and El Tigre?
24 A              I see that.    Yes.                              24 A                  No.
25 Q              Okay.    Flip with me now to 165499.             25 Q                  All right.     Now, let's go to tab 20.
                                                       Page 110                                                             Page 112

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                                                                                                                      11/21/2023
 1 A              (Witness complies.)                               1 documents in a case, there's two ways that your
 2 Q              And keep that one handy.                          2 adversary can know a document exists; right?
 3                       (Plaintiff's Exhibit 27 was                3                   You can either produce it to them;
 4                        marked for identification)                4 or, if you say it's privileged, it can be a log;
 5 Q              So, Mr. Smith, this is an email from              5 right?
 6 Mr. Collingsworth to you copying Susana Tellez                   6 A                 Correct.    Correct.
 7 on September 30th, of 2013; right?                               7 Q                 All right.    So let's go to tab 21.
 8 A              Yes.                                              8                        (Plaintiff's Exhibit 28 was
 9 Q              Five days after the draft privilege               9                           marked for identification)
10 log that we just looked at; right?                             10 Q                  Before we get there, does that
11 A              Yes.                                            11 concern you that there's documents being pulled
12 Q              And four days after he had told you             12 off a draft privilege log that you never saw and
13 that there was no draft privilege log; right?                  13 you were never told about?
14 A              Yes.                                            14 A                  I certainly wouldn't have done it.
15 Q              And Mr. Collingsworth says, quote,              15 Yeah.      I mean, that's -- I don't know what the
16 "Hey Brad, Attached please find the DRAFT                      16 context of all that was.           But, yeah, no, I don't
17 privilege log"; right?                                         17 -- yeah.        I guess it would concern me.       Yeah.
18 A              Yes.                                            18 Q                  All right.    Let me show you what is
19 Q              And then that log, which is attached            19 Plaintiff's Exhibit 28.           It's -- well, I'm
20 to this email, has 175 entries on it.                          20 sorry.       Before we get to that document,
21                Do you see that?                                21 Mr. Smith, if you could go back to 27.
22 A              Okay.    Yes, I see that.                       22 A                  (Witness complies.)
23 Q              The draft log that we had looked at             23 Q                  I had a couple more questions on
24 just a minute ago that you did not see had 210                 24 that email.
25 entries on it; right?                                          25 A                  All right.
                                                      Page 113                                                           Page 115
 1 A              Yes.                                              1 Q                 In the second sentence -- I'm
 2 Q              Did anybody ever tell you that they               2 sorry -- the second paragraph first sentence,
 3 were pulling documents off of draft privilege                    3 Mr. Collingsworth tells you, quote, "Please note
 4 logs?                                                            4 that all or virtually all of the 'security
 5 A              No.                                               5 payment' docs are going to be produced because
 6 Q              Did anybody ever tell you that they               6 they are not privileged."
 7 had logged documents that would reflect that El                  7                   Did I read that correctly?
 8 Tigre, Somario, and Blanco had been paid but                     8 A                 You did.
 9 then decided to pull them off that log?                          9 Q                 And that was consistent with what
10 A              Did somebody tell me what you just              10 your understanding was at the time, which is
11 said?                                                          11 Judge Proctor has ordered the production of
12 Q              Yes.                                            12 witness payment information.           It's not
13 A              No.                                             13 privileged; right?
14 Q              Did you have any idea that was going            14 A                  Correct.
15 on?                                                            15 Q                  All right.    Now we can go to the --
16 A              No.                                             16 the other email.           That's tab 21, Plaintiff's
17 Q              Learning it for the first time                  17 Exhibit 28.
18 today?                                                         18                    And I want to direct your attention
19 A              I -- I see what you're showing me.              19 to the email between you and Mr. Collingsworth
20 Yes.    I don't --                                             20 third from the top on the first page of this
21 Q              Okay.                                           21 email chain.
22 A              Again, my testimony was pretty                  22 A                  Okay.
23 clear:    I was not aware of any payments to the               23 Q                  Mr. Collingsworth tells you, quote,
24 two people you've just mentioned.                              24 "Brad, there are thousands of pages" of
25 Q              Okay.    And when you're producing              25 documents "and no they are not translated.
                                                      Page 114                                                Page 116

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                                                                                                                      11/21/2023
 1 Susana created the notes so that you could                       1 A                 Correct.
 2 understand why we asserted the privilege with                    2 Q                 All right.    Lets go to tab 33, and
 3 the understanding that if you had a question                     3 this is Plaintiff's Exhibit 29.
 4 about any rationale she could explain the                        4                          (Plaintiff's Exhibit 29 was
 5 documents to you.      Judge Proctor won't have the"             5                           marked for identification)
 6 documents "at the hearing so you just need to be                 6 A                 Okay.
 7 comfortable that you understand the basis for                    7 Q                 And it is a December 19th, 2013,
 8 each entry.     We are very conservative."                       8 email chain involving you, Terry Collingsworth,
 9                Did I read that correctly?                        9 and Susana Tellez; right?
10 A              You did.                                        10 A                  Yes.
11 Q              So was it your understanding that               11 Q                  All right.    And Mr. Collingsworth
12 Mr. Collingsworth was involved in the                          12 and Ms. Tellez are emailing you about the
13 preparation of the draft log and the privilege                 13 preparation of a supplemental privilege log;
14 calls that were made with respect to that log?                 14 correct?
15 A              Yes.                                            15 A                  Correct.
16 Q              And he's telling you that they were             16 Q                  And consistent with the previous
17 very conservative in those calls; right?                       17 draft logs that we looked at, is it your
18 A              That's it he says.      Yes.                    18 understanding that the defendants were
19 Q              All right.    Flip back to -- this is           19 responsible for putting together those draft
20 tab 26; and it's going to be the October 10th,                 20 privilege logs for your review?
21 2016, hearing -- 12 --                                         21                    MR. PAULK:    Object to the form.
22                MR. WELLS:    Uh-huh.                           22 A                  Ask that question again.
23 Q              (By Mr. Presley)     Okay.     Exhibit 12.      23 Q                  (By Mr. Presley)    Yeah.   That was a
24 A              Okay.   (Witness complies.)                     24 -- that was a poor question.
25 Q              And on page 21 -- I'm sorry -- 26,              25                    Same -- we looked at the emails
                                                      Page 117                                                            Page 119
 1 not 21, of this transcript, middle of the page;                  1 earlier which showed that they were create --
 2 this is the quote we had talked about earlier                    2 the defendants were creating the draft privilege
 3 where Judge Proctor asked you if payment                         3 logs; right?
 4 information is discoverable and the response is,                 4                   MR. PAULK:    Object to the form.
 5 They are.    We think it is, "and we have produced               5 A                 Correct.
 6 responsive documents.       With exception of one                6 Q                 All right.    And is that same thing
 7 that is on our Privilege Log, we have produced                   7 happening here, they're creating the draft
 8 all responsive documents."                                       8 supplemental privilege logs?
 9 A              Correct.                                          9                   MR. PAULK:    Object to the form.
10 Q              Now, at the time you made that                  10 A                  Yeah.    I think they created this
11 representation to Judge Proctor; did you know                  11 document.        Yes.
12 that the defendants had pulled documents off of                12 Q                  (By Mr. Presley)    Okay.   And
13 a draft privilege log that reflected payments to               13 Ms. Tellez tells you in the top email that
14 El Tigre and Somario?                                          14 basically the exact same privilege log we
15                MR. PAULK:    Object to the form.               15 previously produced on October 2nd is attached,
16 A              I did not.                                      16 and then they have a supplemental log with it;
17 Q              (By Mr. Presley)     Did you know they          17 right?
18 had pulled documents off of a privilege log that               18 A                  That's what it says.
19 had reflected payments to Jaime Blanco?                        19 Q                  All right.    And do you know whether
20                MR. PAULK:    Object to the form.               20 on that supplemental log those documents that we
21 A              I didn't believe there were any                 21 had just looked at which were pulled off of the
22 documents that would have reflected payments to                22 draft log, do you know those -- whether those
23 anybody but the three.                                         23 were added to the supplemental log?
24 Q              (By Mr. Presley)     Because that's             24 A                  Are you asking me are the entries
25 what you were told by the defendants?                       25 that -- on the log that I -- the log that I did
                                                      Page 118                                             Page 120

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                                                                                                                      11/21/2023
 1 not see, are these on this one?                                  1 payment information was relevant, discoverable,
 2 Q              Right.    Let's do it this way:       I'll        2 and not privileged.          I mean, Judge Proctor had
 3 represent to you that they are not on that                       3 entered an order --
 4 supplemental privilege log.                                      4 A                 I think that's right.
 5 A              Okay.                                             5 Q                 -- about that.
 6 Q              Do you know why that is?                          6 A                 I think that's right.
 7 A              I don't.                                          7 Q                 All right.    Let's go to tab 28, and
 8 Q              All right.    Let's go to tab 34,                 8 this will be Plaintiff's Exhibit 31.
 9 which will be Plaintiff's Exhibit 30.                            9                          (Plaintiff's Exhibit 31 was
10                       (Plaintiff's Exhibit 30 was              10                            marked for identification)
11                        marked for identification)              11 Q                  And this is an email from
12 Q              And, Mr. Smith, this is a December              12 Mr. Collingsworth to Bill Scherer, Billy
13 20th, letter from you to Drummond's counsel in                 13 Scherer, Richard Drath, Lou Zehil, and Pauline
14 this case enclosing the supplemental privilege                 14 Koper.
15 log that we had just looked at in Plaintiff's                  15                    Do you see that?
16 Exhibit 29; right?                                             16 A                  Okay.
17 A              Is this the same one we just looked             17 Q                  And it's dated November 8th, 2013.
18 at?                                                            18                    You were -- you were not on this
19                Is that what you're asking?                     19 email; right?
20 Q              Right.    It's being produced to                20 A                  No.
21 Drummond the next day.                                         21 Q                  All right.    Now, do you know who Lou
22 A              It's the privilege log being                    22 Zehil is?
23 produced to Drummond.       Yes.   Everything that's           23 A                  No.
24 on it, I don't recall.                                         24 Q                  Do you know who Pauline Koper is?
25 Q              Okay.    Focusing just on the letter            25 A                  No.
                                                      Page 121                                                          Page 123
 1 for the moment, the second sentence of that                      1 Q                 In any event, Mr. Collingsworth is
 2 letter says, "These logs list privileged                         2 attaching Drummond's supplemental brief -- I'm
 3 documents, if any, responsive to Plaintiffs'                     3 sorry -- defendant's supplemental brief in
 4 requests for production," and then it lists off                  4 opposition to Drummond's motion to compel;
 5 of a bunch of them; right?                                       5 right?
 6 A              Yes.                                              6 A                 Okay.
 7 Q              And I'll represent to you that                    7 Q                 And this is a little over a month
 8 plaintiffs' second request for production number                 8 after the draft privilege log documents that we
 9 eight sought all communications with Ivan Otero.                 9 had looked at earlier in late September of 2013
10 A              Okay.                                           10 and the pulling of those documents off the draft
11 Q              All right.    Who are you relying on            11 log that you ultimately saw; right?
12 to make that factual representation to Drummond                12 A                  Yes.
13 that all communications with Otero have been                   13 Q                  Okay.    And Mr. Collingsworth is
14 logged?                                                        14 telling everyone on this email that Drummond is
15 A              I would say Terry.     But I would also         15 making wild and false accusations and that the
16 say that at some point there were still a lot of               16 Court's not going to be happy with Drummond;
17 discussions, disputes, negotiations regarding                  17 right?
18 what was discoverable, what was to be logged.                  18 A                  Correct.
19 And, ultimately, at the time I was getting out,                19 Q                  And then in the second paragraph he
20 the parameters of logging and production were                  20 kind of unloads on you.
21 negotiated, I think.       And Chris Niewoehner                21 A                  I see that.
22 probably played a bigger role in that than I                   22 Q                  And he says that you are, quote,
23 did, but I was involved in that.                               23 "extremely incompetent, which has caused our
24 Q              But -- but there was no dispute in              24 office to do 99.99% of the work in" our -- in
25 December of 2013 that the fact of witness                      25 this "case."
                                                      Page 122                                                          Page 124

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                                                                                                                       11/21/2023
 1 A              Okay.                                               1 hand in writing everything for sure.
 2 Q              Now, do you feel that's a fair                      2 Q                 Did you ever talk with a lawyer at
 3 characterization by Mr. Collingsworth?                             3 Conrad & Scherer named Jim Carroll?
 4 A              I don't think he thought that; but,                 4 A                 No.   Never heard of him.
 5 no, I don't think that's a fair                                    5 Q                 Did you ever hear about a memo that
 6 characterization.                                                  6 Jim Carroll had written in May of 2012 that
 7 Q              Did you get the --                                  7 related to the Drummond case?
 8 A              He certainly never expressed that to                8 A                 I remember some memo -- a memo, but
 9 me.                                                                9 I don't remember that name.
10 Q              That was my next question:          He never      10 Q                  What do you remember about the memo?
11 expressed that thought to you, did he?                           11 A                  I remember there being a couple of
12 A              No.                                               12 memos about the propriety of paying witnesses.
13 Q              Did you get the impression when you               13 Who wrote them I can't recall.
14 were working with Mr. Collingsworth that he                      14 Q                  Do you recall whether those memos
15 tended to blame others?                                          15 identified which witnesses had been paid?
16 A              I don't know.     I don't know.        That's     16 A                  No.   No.   There were -- I never saw
17 -- I didn't have a personal relationship with                    17 anything that did anything -- that identified
18 him.   He had enemies.                                           18 anyone other than the three that we've already
19 Q              Like who?                                         19 discussed.
20 A              Drummond.                                         20 Q                  Okay.    I think now would be a -- a
21 Q              Other than Drummond, who else?                    21 good time for a break, at least for me.             I could
22 A              Mike Hugo didn't like him.                        22 use a break.
23 Q              Anybody else you can recall?                      23 A                  All right.
24 A              Paul Wolfe.                                       24                    THE VIDEOGRAPHER:    The time is
25 Q              Who else?                                         25 11:36 a.m.         We are off the record.
                                                        Page 125                                                           Page 127
 1 A              You know, I can't remember.                         1                    (Short recess taken.)
 2 Q              Did you like Terry?                                 2                   THE VIDEOGRAPHER:    The time is
 3 A              I did.    Yeah.   Yeah.    I didn't have            3 11:42 a.m.        We are back on the record.
 4 a problem with him.                                                4 Q                 (By Mr. Presley)    Mr. Smith, did
 5 Q              But he never told you you were                      5 you -- in preparation for this deposition, did
 6 extremely incompetent to your face?                                6 you review any of your billing records from the
 7 A              He did not.                                         7 defamation case?
 8 Q              Just behind your back?                              8 A                 I did not.
 9 A              He certainly did not.        And I would            9 Q                 Okay.    Do those still exist?
10 have been happy to have gotten out of it at that                 10 A                  I don't know.    I would assume they
11 point for sure.                                                  11 would.
12 Q              He says in closing there that I                   12 Q                  Okay.    Let me show you what has been
13 wrote 100% of this brief because Brad still does                 13 marked as Plaintiff's Exhibit 32.
14 not have a clue of what is going on with the                     14 A                  Okay.
15 facts or the law.       Cheers, Terry"; right?                   15                          (Plaintiff's Exhibit 32 was
16 A              Right.    I see that.                             16                            marked for identification)
17 Q              Do you think it's fair for him to                 17 Q                  And we had touched on this earlier
18 say that you have no idea what's going on with                   18 in the deposition, but this is Drummond's
19 the facts when they're pulling documents off of                  19 emergency motion for sanctions that was filed on
20 privilege logs that show that witnesses have                     20 April 2nd, of 2014; right?
21 been paid?                                                       21 A                  Okay.
22 A              Well, I don't know all of that.            So     22 Q                  And let me show you -- give us one
23 I would think if he wrote the majority of it,                    23 second here.
24 it's because he wanted to and pretty much                        24                    MR. PRESLEY:    Do you have a clip
25 demanded to.     I know he wanted to have a heavy                25 that I can put on this exhibit to keep it
                                                        Page 126                                                           Page 128

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                                                                                                                     11/21/2023
 1 together?    Okay.     Perfect.   Thank you.                     1                   Do you see that?
 2 Q              (By Mr. Presley)     All right.                   2 A                 Yes.
 3 Mr. Smith, let me show you Exhibit 33 --                         3 Q                 And so was it -- and -- well, let's
 4                MR PRESLEY:    -- which is tab 54 for             4 just confirm:          That's your signature on the page
 5 the exhibit coordinator.                                         5 30 of this brief; right?
 6                       (Plaintiff's Exhibit 33 was                6 A                 Yes.
 7                        marked for identification)                7 Q                 And so that representation that's
 8 Q              This is an April 7, 2014, email from              8 being made on page one of this brief that you
 9 you to Mr. Collingsworth -- or I'm sorry -- from                 9 signed is based on information that you're
10 Mr. Collingsworth to you.                                      10 receiving from the defendants; correct?
11 A              Okay.                                           11                    MR. PAULK:    Object to the form.
12 Q              And --                                          12 A                  Yes.    And our understanding of what
13                MR. PAULK:    If we could just get the          13 the facts were at the time.
14 Bates number.                                                  14 Q                  (By Mr. Presley)    And that
15                MR. PRESLEY:    Yeah.   Give me just a          15 understanding came from the defendants as far as
16 second.    Having to share a copy here.                        16 who was paid; correct?
17 Q              (By Mr. Presley)     So this is -- this         17                    MR. PAULK:    Object to the form.
18 is a few days after Drummond filed its emergency               18 A                  Yes.
19 motion for sanctions; right?                                   19 Q                  (By Mr. Presley)    Okay.   Page nine
20 A              Yes.                                            20 of that brief, there's a header number three in
21 Q              Okay.    And consistent with how we've          21 bold text.
22 seen in other emails that you've looked at                     22 A                  Okay.
23 today, this is Mr. Collingsworth sending you a                 23 Q                  Says, quote, "The Privileged Emails
24 draft opposition to that motion for sanctions;                 24 Between" Parker Waichman "and Mr. Collingsworth
25 correct?                                                       25 Reveal that There Was a Discussion about Whether
                                                      Page 129                                                Page 131
 1 A              Yes.                                              1 They Could Cover Additional Attorney Fees
 2 Q              And consistent with what you                      2 Incurred by Jaime Blanco for Testifying, and
 3 testified to earlier, this was generally how it                  3 Ultimately Did Not Do So."
 4 operated because Mr. Collingsworth insisted on                   4                   Did I read that correctly?
 5 having a heavy hand in drafting these type of                    5 A                 You did.
 6 filings; right?                                                  6 Q                 And that, again, is consistent with
 7 A              Seems like this -- these type                     7 what you're being told by the defendants; which
 8 discovery motions, yes, he was more so than                      8 is we discussed paying Jaime Blanco, but we
 9 others.                                                          9 didn't make those payments?
10 Q              Okay.    And then let me see tab 102,           10                    MR. PAULK:    Object to the form.
11 which is Plaintiff's Exhibit 34.                               11 A                  I think so.    I think there was an
12                       (Plaintiff's Exhibit 34 was              12 email that referenced that that we've already
13                        marked for identification)              13 gone over.
14 A              Okay.                                           14 Q                  Okay.    Now, let's look at tab 62,
15 Q              This is the filed version of the                15 please.
16 Defendants' opposition to Drummond's motion for                16                           (Plaintiff's Exhibit 35 was
17 sanctions; is that right?                                      17                            marked for identification)
18 A              Correct.                                        18 A                  Okay.
19 Q              And this is document 114 in the                 19 Q                  And you'll recall there was an
20 defamation case.                                               20 exhibit we marked earlier that was the hearing
21                On page one at the bottom, second               21 transcript from April 21, 2014, with Judge
22 sentence of the very last paragraph says, quote,               22 Proctor, right, on the motion for sanctions?
23 "There is absolutely no issue of the propriety                 23 A                  Say that again.
24 of the Defendants' searches or the completeness                24 Q                  Sure.
25 of their production."                                          25                    That you recall that there was an
                                                      Page 130                                                          Page 132

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                                                                                                                         11/21/2023
 1 exhibit that we marked earlier --                                1                   Do you recall that?
 2                MR. PRESLEY:    What was that exhibit,            2 A                 I don't recall it, but --
 3 Trey?    Tab 60?                                                 3 Q                 All right.
 4 Q              Exhibit 23 was the hearing                        4 A                 -- I -- I can accept your --
 5 transcript on Drummond's motion for sanctions --                 5 Q                 All right.
 6 A              Okay.                                             6 A                 -- your representation.        Yes.
 7 Q              -- on April 21, 2014?                             7 Q                 Okay.    And he also entered an order
 8 A              Yes.                                              8 that required the defendants to preserve their
 9 Q              So this is three -- a couple of days              9 hard drives and emails and computers.
10 after that, right, this email chain we're                      10                    Do you recall that?
11 looking at?                                                    11 A                  I do.    Yes.
12 A              Yes.                                            12 Q                  Okay.
13 Q              Plaintiff's Exhibit 35.                         13 A                  Yes.
14                And it's an email chain between you             14 Q                  Now, safe to say that following the
15 and Mr. Collingsworth.                                         15 crime -- the sanctions hearing in April of 2014,
16                And email chain starts with you                 16 everyone is laser focused on witness payments at
17 telling Mr. Collingsworth that you don't want to               17 that point; right?
18 deal with another motion for sanctions; right?                 18                    The crime fraud exception is being
19 A              That's correct.     That would be a             19 briefed.        The whole premise of the crime fraud
20 fact.                                                          20 exception is the scope, nature, and extent and
21 Q              And Mr. Collingsworth's response to             21 misrepresentations about witness payments;
22 you is, You're overreacting.                                   22 right?
23                Do you see that?                                23                    MR. PAULK:      Object to the form.
24 A              Yes.                                            24 A                  I don't know if I recall it that
25 Q              And he says, "Brad I need to say                25 way.      I can recall that I was still focused on
                                                      Page 133                                                                Page 135
 1 that your first reaction to Drummond's bullshit                  1 defending a defamation action and getting it to
 2 emergency motion for my hard drives was to give                  2 summary judgment; which, you know, could never
 3 up and produce our hard drives.        We are going to           3 get it on course.          But that's what my focus was.
 4 fight all reasonable positions to protect MY                     4 And I certainly didn't think there were any
 5 interests."                                                      5 other witness payments.
 6                Do you see that?                                  6 Q                 Let's look at -- let's look at tab
 7 A              Yes.                                              7 -- I think this has already been marked.
 8 Q              Did you --                                        8                   MR. PRESLEY:      79, has that been
 9 A              Yes.                                              9 marked yet?
10 Q              And at this time, Mr. Collingsworth             10                    MR. WELLS:      Huh-uh.
11 is still telling you, like he's told Judge                     11                    MR. PRESLEY:      Okay.    Let me get tab
12 Proctor, that three witnesses have been paid;                  12 79.
13 right?                                                         13                           (Plaintiff's Exhibit 36 was
14 A              Yes.                                            14                            marked for identification)
15 Q              And you respond "I hope it was an               15 Q                  (By Mr. Presley)      All right.
16 overreaction" and "We certainly dodged a bullet                16 Mr. Smith, this is document 36.               And what I'm --
17 yesterday."                                                    17 I'm sorry -- Exhibit 36.             Yeah.    Tab 79.
18                Do you see that?                                18 A                  Yes.
19 A              Yes.                                            19 Q                  And this is an email from you to
20 Q              Now, you also recall -- and we can              20 Billy Scherer on June 25th, of 2014; right?
21 look at the transcript if we need to -- but one                21 A                  Yes.
22 of the things that Judge Proctor did at that                   22 Q                  And attached to it is Judge
23 hearing on April 21st is he said, All right.              I    23 Proctor's order from April 21st.               And in
24 want everybody to brief the crime fraud                        24 paragraph two of that order --
25 exception.                                                     25 A                  Yes.
                                                      Page 134                                                                Page 136

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                                                                                                                       11/21/2023
 1 Q              -- is the direction about preserving               1 A                 Yes.
 2 all emails and electronic data; right?                            2 Q                 And under the section that says,
 3 A              Yes.                                               3 "The following email accounts and computers have
 4 Q              Okay.                                              4 been searched," very first one listed is
 5 A              Yes.                                               5 Terrence Collingsworth searched
 6 Q              And then number nine of that same                  6 tc@iradvocates.org, terrypc@gmail.com and his
 7 order, paragraph nine, Judge Proctor's ordering                   7 work desktop and laptop."
 8 everybody to brief the crime fraud exception.                     8                   Do you see that?
 9 A              Yeah.    I see that.                               9 A                 I do.
10 Q              All right.    Okay.     So you had               10 Q                  Let's look at tab 86.
11 mentioned earlier in your deposition that you                   11                           (Plaintiff's Exhibit 38 was
12 recalled asking Terry Collingsworth what had                    12                            marked for identification)
13 been searched and that you got a memo or                        13 Q                  All right.    Mr. Smith, this is
14 something to that effect.                                       14 Plaintiff's Exhibit 38 --
15                Do you recall that testimony?                    15 A                  Okay.
16 A              I thought I recall -- well --                    16 Q                  -- tab 86.
17 Q              Let's -- let's get tab 46.                       17                    And I recognize that you are not on
18 A              All right.                                       18 this email chain; correct?
19 Q              This may help --                                 19 A                  I am not.
20 A              Okay.                                            20 Q                  Okay.    But you do see that
21 Q              -- refresh your recollection.                    21 Charity -- a woman named Charity Ryerson is on
22                       (Plaintiff's Exhibit 37 was               22 this email chain?
23                        marked for identification)               23 A                  Yes.
24 Q              All right.    This is Plaintiff's                24 Q                  And you recall we looked at an
25 Exhibit 37.                                                  25 exhibit earlier which reflected that Charity
                                                       Page 137                                             Page 139
 1                MR. PRESLEY:    Tab 46 for the exhibit             1 Ryerson was a member of Collingsworth's
 2 coordinator.                                                      2 litigation team and someone that Drummond had
 3 Q              This is a March 18th, 2014, email                  3 sent a subpoena to?
 4 from Mr. Collingsworth to you copying Susana                      4 A                 Yes.
 5 Tellez; right?                                                    5 Q                 All right.    So she and a couple of
 6 A              Yes.    So this would have been                    6 other people; Matthew Wells and Jenny Xie,
 7 something, yeah, that I think probably Trey                       7 spelled X-i-e; are discuss --          discussing what
 8 would have sent asking what we were searching;                    8 appear to be searches of Mr. Collingsworth's
 9 and this would have been any response --                          9 emails; right?
10 Q              Okay.                                            10 A                  Yes.
11 A              -- is my recollection --                         11 Q                  Okay.    And Mr. Ryer -- Ms. Ryerson
12 Q              Okay.                                            12 says in the very top email, "Well, another
13 A              -- of what this probably was.                    13 exciting twist in this is that there is about an
14 Q              Okay.    So -- right.     And that would         14 18 month period in which Terry's emails are
15 be consistent with the cover email.                             15 lost.      Sometime in 2010 and 2011 as I recall, so
16 Mr. Collingsworth is telling you "Brad, here is                 16 that might" explain -- "explain the problem.             He
17 our draft response" --                                          17 will probably need to explain this in an
18 A              Yeah.                                            18 affidavit at some point."
19 Q              -- "to the questions you agreed to               19                    Did I read that correctly?
20 answer re: IRAdvocates' servers and emails."                    20 A                  You did.
21 A              Yes.                                             21 Q                  Now, did Ms. Ryerson ever come to
22 Q              Okay.    So Mr. Collingsworth then is            22 you and tell you that 18 months of Terry's
23 attaching a document which tells you everything                 23 emails were lost?
24 they searched with respect to IRAdvocates;                      24 A                  I don't recall.
25 right?                                                          25 Q                  Did anyone ever come to you and tell
                                                       Page 138                                                          Page 140

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                                                                                                                      11/21/2023
 1 you that?                                                        1 that was 2011.         I don't know what the state of
 2 A              I don't recall.                                   2 E-discovery was at that time, what the rules
 3 Q              Did -- before today sitting here in               3 said at that time.         But I -- I normally do that.
 4 this conference room, were you aware that there                  4 Q                 Okay.   But, regardless, no one ever
 5 were emails from Mr. Collingsworth that were                     5 came to you and said, There's 18 months of
 6 missing?                                                         6 Terry's emails that are missing?
 7 A              I just don't remember.                            7 A                 I just don't recall.     I don't recall
 8 Q              Okay.    Let me rephrase that question            8 that.
 9 because it was a little unclear.                                 9 Q                 Okay.   All right.    Let's go back to
10 A              If I was aware of it, it would have             10 the crime fraud opinion --
11 been disclosed at some point.                                  11                    MR. PRESLEY:    -- which is tab 98
12 Q              Okay.                                           12 for the exhibit coordinator.
13 A              And if I disclosed it, I'm sure                 13                    MR. WELLS:   Exhibit 6.
14 you're about to show it me.                                    14 Q                  (By Mr. Presley)     Exhibit 6.
15 Q              Okay.    Well, I'll represent to you            15 A                  (Witness complies.)     Okay.
16 that it wasn't disclosed until 2015 --                         16 Q                  All right.   And I direct your
17 A              Okay.                                           17 attention to page 31 of that opinion.
18 Q              -- to Drummond.                                 18 A                  (Witness complies.)     Okay.
19                Did you have any hand in the                    19 Q                  And the heading at the top of page
20 discussions about disclosing that fact to                      20 31, Judge Proctor is telling the parties in this
21 Drummond, any participation in those                           21 order that another topic of discovery is going
22 discussions?                                                   22 to be the redaction and withholding of documents
23 A              I don't recall it being --                      23 produced by defendants in May of 2014 which
24 Q              Okay.                                           24 reflected that payments to El Tigre and Somario
25 A              I -- I -- I just don't recall.                  25 had been made; right?
                                                      Page 141                                                            Page 143
 1 Q              All right.    When this litigation                1 A                 Yes.
 2 started and you first came on board with                         2 Q                 Okay.   Are you familiar with that
 3 Mr. Collingsworth -- as counsel -- as counsel                    3 production and the redaction of those documents?
 4 for Mr. Collingsworth and Conrad & Scherer, did                  4 A                 Yes.
 5 you give any type of verbal instruction to the                   5 Q                 Okay.
 6 defendants that they needed to preserve all                      6 A                 Yes.
 7 emails?                                                          7 Q                 So you recall then that in -- in May
 8 A              I don't recall.     I usually would do            8 of 2014, there were documents that were produced
 9 that, but I don't recall specifically doing it.                  9 to Drummond which were partially redacted --
10 Q              Given --                                        10 A                  Correct.
11 A              I don't recall.                                 11 Q                  -- right?
12 Q              Sorry.    Are you done?                         12                    Okay.   And underneath some of those
13 A              I am.                                           13 redactions were monthly payments to Ivan Otero
14 Q              Given that the defendants are a                 14 in the amount of $2700; right?
15 lawyer and a law firm, would you expect them to                15 A                  I don't recall what was specifically
16 understand the obligation to preserve evidence                 16 redacted.
17 in a lawsuit?                                                  17 Q                  Okay.   Do you recall that they were
18                MR. PAULK:    Object to the form.               18 -- there was information redacted which would
19 A              I would, but I don't think anybody              19 have reflected that those payments -- that there
20 would have ever dreamed that the actual                        20 had been monthly payments to Ivan Otero for El
21 attorneys' emails were going to be discoverable.               21 Tigre and Somario?
22 You know, you don't usually think that's going                 22                    MR. PAULK:   Object to the form.
23 to happen in a case.       Well, I guess they were             23 A                  I recall that those were something
24 defendants.     So I just don't recall any of that.            24 that we referred to as financing documents I
25 I -- I assume there probably was.         You know,            25 think.       And I was getting something from Trey
                                                      Page 142                                                            Page 144

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                                                                                                                     11/21/2023
 1 about every two days about when we were going to                 1 A                 The redactions?
 2 produce the financing documents, and so I was                    2 Q                 Just the documents in general?
 3 doing my best to produce the financing                           3 A                 This (indicating)?
 4 documents.     They had to be -- if I understand --              4 Q                 Yes.
 5 if I recall, they had to be located in a                         5 A                 So he would approve what was
 6 warehouse somewhere maybe.       They were eventually            6 redacted so I could produce them.
 7 provided to us.       We were about to produce them,             7 Q                 Okay.    So the redactions that have
 8 and Terry asked us to redact all that in order                   8 been made on these documents -- and there's a
 9 to produce them or -- to redact them.           And that         9 couple of hand -- what I would call Sharpie
10 was the only way we were going to get them                     10 redactions.
11 produced.    And I think there was an email that I             11 A                  I think they were all.    And if I
12 saw yesterday that refers to that process.                     12 recall, it was over a weekend.           And I think I
13 Q              (By Mr. Presley)     Okay.                      13 had said -- told Trey that we're going to get
14 A              That's what I remember about it.                14 these to you.           And I was pretty adamant that we
15 What specifically was being redacted as I sit                  15 were going to get them to them.
16 here today, I don't recall.                                    16 Q                  Right.
17 Q              Okay.    Let's look at some of those            17                    My question is --
18 emails.    Let's go to tab 65, please.                         18 A                  And I -- we -- we didn't have staff
19 A              All right.                                      19 to do an electronic redaction over the weekend.
20                       (Plaintiff's Exhibit 39 was              20 Q                  Okay.
21                        marked for identification)              21 A                  That's why it was done with a
22 Q              All right.    This is Plaintiff's               22 Sharpie.
23 Exhibit 39.                                                    23 Q                  Okay.    So your office is doing the
24 A              Okay.                                           24 black Sharpie redactions?
25 Q              And this is an April 25th, 2014,                25 A                  Myself and Eric Bonner did all of
                                                      Page 145                                                          Page 147
 1 email from you to Mr. Collingsworth; right?                      1 them.     Yes.
 2 A              Yes.                                              2 Q                 Okay.    And you are, I think you said
 3 Q              Okay.    And it attaches what appears             3 a second ago, sending this to Mr. Collingsworth
 4 to be a scan of several pages of documents; is                   4 so that he can approve the redactions?
 5 that right?                                                      5 A                 That's correct.
 6 A              Yes.                                              6 Q                 All right.    Let's look at tab -- I
 7 Q              All right.    And you'll see the first            7 lost my place here.          Hold on just a second --
 8 page of that scan includes monthly wires to                      8 66.    Yeah.      66, please.
 9 Charris and to Halcon; right?                                    9                   MR. PRESLEY:    Thank you.
10 A              Well, let's see.     Okay.                      10                           (Plaintiff's Exhibit 40 was
11 Q              All right.    And then flip with me to          11                            marked for identification)
12 the very last page of the attachment.                          12 Q                  All right.    This is Plaintiff's
13 A              Okay.    (Witness complies.)      Okay.         13 Exhibit 40, Mr. Smith.
14 Q              And on that email; which is dated               14 A                  Okay.
15 June 19th, of 2012; it relates to several wires,               15 Q                  And this is the next day, April
16 none of which are redacted; right?                             16 26th, email chain, you and Mr. Collingsworth;
17 A              In the email?                                   17 right?
18 Q              Yes.                                            18 A                  Yes.
19 A              I see monthly wire requests, wires              19 Q                  Okay.    And I just want to focus your
20 to -- yes.     Okay.                                           20 attention on the top email from
21 Q              There's a -- there's a wire request             21 Mr. Collingsworth.           He's saying to you "Let me
22 to Ivan Otero for $2700; right?                                22 know if we need further discussion on this and
23 A              Yes.                                            23 whether you are unclear as to how documents
24 Q              Okay.    Why are you sending these              24 needs to be redacted."
25 documents to Terry on April 25th?                              25 A                  That's correct.
                                                      Page 146                                                          Page 148

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                                                                                                                      11/21/2023
 1 Q              All right.    So that's -- that                   1 recall that Mr. Collingsworth give you to redact
 2 reflects what you just said earlier, which is to                 2 these documents?
 3 the extent there are documents being redacted;                   3 A                 Not that I can recall as I sit here
 4 the information that is supposed to be redacted,                 4 today.      I think we had an expectation too that
 5 you are getting that from Mr. Collingsworth?                     5 these were probably going to go en camera in
 6 A              That is correct.                                  6 front of -- I don't know if there was a special
 7 Q              All right.    Let's look at tab 69.               7 master at that time or a magistrate judge.
 8                       (Plaintiff's Exhibit 41 was                8 Q                 Okay.    Let's look at tab 72, please.
 9                        marked for identification)                9                          (Plaintiff's Exhibit 42 was
10 Q              This is Plaintiff's Exhibit 41 --               10                            marked for identification)
11 A              Okay.                                           11 Q                  And this will be Plaintiff's Exhibit
12 Q              -- which is another email between               12 42.
13 you and Mr. Collingsworth a couple of days later               13 A                  Okay.
14 on March -- on April 28th, of 2014; right?                     14 Q                  So we've looked at some emails that
15 A              Yes.                                            15 were redacted, right --
16 Q              And, again, you're attaching a large            16 A                  Yes.
17 PDF attachment of documents that have been                     17 Q                  -- in the past couple of exhibits?
18 redacted; right?                                               18                    You recall there were also bank
19 A              That is correct.                                19 records that were produced in May of 2014 by the
20 Q              And is the purpose the same here:               20 defendants?
21 You're sending these to Mr. Collingsworth so                   21 A                  I don't recall.    I recall everything
22 that he can review the redactions that you've                  22 that was redacted over that long weekend; which,
23 done with the information he's provided and                    23 I think, that's what these are; were related to
24 approve them?                                                  24 the production of financing documents.
25 A              That's correct.                                 25 Q                  Okay.
                                                      Page 149                                                          Page 151
 1 Q              All right.    Let's look to Bates                 1 A                 That's what I recall.
 2 number CS_TC132422 on the attachment.           132422.          2 Q                 All right.    Now, this email
 3 A              Okay.    (Witness complies.)                      3 Collingsworth is sending to Grace Kaissal and
 4 Q              And do you recognize this email to                4 Susana Tellez.
 5 be another copy of that June 19th, 2012, email                   5                   Do you know who grace Kaissal is?
 6 that we had looked at earlier that you had sent                  6 A                 I don't.
 7 Mr. Collingsworth?                                               7 Q                 Okay.    In any event, the subject is
 8 A              Appears to be.                                    8 Brad's docs one of two.
 9 Q              And now it's redacted, the Ivan                   9                   Do you see that?
10 Otero payments?                                                10 A                  I do.
11 A              Yes.                                            11 Q                  So are these documents that you also
12 Q              And that would have been done                   12 redacted pursuant to Mr. Collingsworth's
13 pursuant to Mr. Collingsworth's instructions?                  13 instructions?
14 A              Yes.                                            14 A                  It looks like it because they were
15 Q              Did he tell you why that payment                15 done with a Sharpie.
16 needed to be -- that -- that information needed                16 Q                  All right.    So one question I have
17 to be redacted?                                                17 is:     It looks like there's two different kinds
18 A              If I recall, I think he was always              18 of redactions on this document; right?
19 concerned that y'all could trace his                           19                    There are the Sharpie redactions
20 investigation in Colombia.                                     20 that we've been talking about --
21 Q              That payments to Ivan Otero would               21 A                  Right.
22 reflect fact investigation?                                    22 Q                  -- and then there are just complete
23 A              Maybe.    Maybe.   Don't hold me to             23 white-out's of transactions.
24 that.    It was something along those lines.                   24 A                  I don't see that.
25 Q              Any other reasons that you can                  25 Q                  Well, let's just look at the first
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                                                                                                                     11/21/2023
 1 -- the first attachment -- or the first page of                  1 A                 They're --
 2 the attachment.                                                  2 Q                 -- are redactions that your office
 3                I mean, this is a bank statement,                 3 made with information and at the direction of
 4 right, from Conrad & Scherer's operating                         4 Terry Collingsworth?
 5 account?                                                         5 A                 That's correct.
 6 A              Appears to be.                                    6 Q                 All right.    Other than -- you -- you
 7 Q              All right.    And then it has                     7 mentioned a last-second decision to redact the
 8 withdrawals and the activity description and                     8 documents, right, made by Terry?
 9 date columns?                                                    9 A                 Yes.
10 A              Yes.                                            10 Q                  Was there anything other than the
11 Q              So, I mean, does it not appear to               11 payments to Ivan Otero that the decision was
12 you that there are transactions there where                    12 made at the last second We need to redact these.
13 there's white that have been whited out for some               13 A                  I don't recall.    I don't recall.    My
14 reason?                                                        14 guess would be it was a specific, you know,
15 A              I don't know.    I assume that's been           15 formula, I guess, of what was to be redacted.
16 asked some -- I can tell you I didn't white out                16 And there was some discussion about it.            I
17 anything on any documents.                                     17 remember that.          But, specifically, I -- I don't
18 Q              All right.    There you go.                     18 recall.
19                When you got these documents, the               19 Q                  And who were those discussions
20 bank records, from -- well, let's ask that                     20 between?
21 question first:       Did Mr. Collingsworth send you           21 A                  Myself, Terry, and Eric Bonner.
22 all these bank records for redaction?                          22 Q                  And were those on the telephone?
23 A              If I recall --                                  23 A                  I believe so.
24                THE WITNESS:    And, William, you may           24 Q                  All right.    Let's look at tab 73,
25 want to listen to this closely and object. I -- 25 please.                      This is Plaintiff's Exhibit 43,
                                            Page 153                                                                    Page 155
 1 because I don't know where we're getting.                        1 Mr. Smith.
 2 A              If I recall, we were going to                     2                          (Plaintiff's Exhibit 43 was
 3 produce all of them; and we were ready to                        3                           marked for identification)
 4 produce them.     And at the last minute, a                      4 A                 Okay.
 5 decision was made that redactions need to be                     5 Q                 And this is an email from your
 6 made in there.     And I kind of did them all                    6 assistant, Alana Duke -- am I saying that right?
 7 weekend so they can be produced and meet a                       7 Alana?      Alana?
 8 deadline that we had -- had told y'all we were                   8 A                 Alana.
 9 going to meet.                                                   9 Q                 Alana Duke to Mr. Collingsworth and
10 Q              (By Mr. Presley)     Whose --                   10 Susana Tellez with a cc to you; right?
11 A              That's what my recollection was.                11 A                  Yes.
12 Q              Whose last-minute decision was it to            12 Q                  And due to the size of this email
13 redact the documents?                                          13 and the attachments, the only attachment that I
14 A              Terry's.                                        14 have included in this exhibit is the chart which
15 Q              Okay.                                           15 is listed as the first -- first or second
16 A              And I think there's some emails that            16 attachment there.
17 reflect that.                                                  17 A                  Okay.
18 Q              But as far as what I'm going to call            18 Q                  And I'll represent to you that when
19 the white-out redactions on these, you don't                   19 Drummond received the production of these
20 know who performed those?                                      20 documents in May of 2014; in addition to
21 A              I don't.    I don't.                            21 documents being redacted to -- well, in addition
22 Q              Or what the reason was for it?                  22 to Ivan Otero -- payments to Ivan Otero in the
23 A              I don't.    Or if it was even there             23 amount of $2700, which are for El Tigre and
24 when I saw it.                                                 24 Somario, being redacted; the documents that were
25 Q              But the Sharpie redactions --                   25 produced were not in sequential Bates label
                                                      Page 154                                                Page 156

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                                                                                                                      11/21/2023
 1 order.    There were gaps in that production, and                1 to another case that the same information was
 2 those gaps are reflected on this chart here in                   2 being requested.          So the first time I -- I don't
 3 front of you.     So if you look at it, I mean,                  3 know.     He called me one day.       I don't -- when it
 4 just the first four entries; it's apparent that                  4 was, I don't know.
 5 it's not a sequential production.                                5 Q                 And the other case -- Who were Ken
 6                Do you see that?                                  6 McNeil's clients in the other case?
 7 A              Yes.                                              7 A                 Conrad & Scherer.
 8 Q              Why did that happen?                              8 Q                 And you said he called you one day?
 9 A              No idea.    Who -- who did this                   9 A                 I think so.    Yeah.
10 spreadsheet?     Is that something y'all did, or is            10 Q                  Was it out of the blue?
11 that something that Alana attached to the                      11 A                  I don't recall.
12 production?                                                    12 Q                  Do you recall having a -- getting a
13 Q              That was attached to this email?                13 heads up from anybody that Ken McNeil would be
14 A              This was?                                       14 calling you or what he wanted to discuss with
15 Q              That was attached to the email that             15 you?
16 Alana is sending to Mr. Collingsworth.                         16 A                  I don't.    I don't recall.
17 A              Yeah.   I don't have any idea or                17 Q                  Do you have an approximate time
18 recollection of that.                                          18 frame as to when that first call with Mr. Ken
19 Q              Okay.   So if, in fact, there were              19 McNeil was?
20 documents removed from this production; was that               20 A                  I don't.    I don't.
21 a decision that was made by your office or by                  21 Q                  What is your understanding of the
22 Mr. Collingsworth?                                             22 nature of the case that Mr. McNeil represented
23 A              I just don't recall.     I -- I don't           23 Conrad & Scherer in?
24 recall what -- I just don't remember anything                  24 A                  Conrad & Scherer attorney had left
25 about that.                                                 25 the firm and taken a bunch of tobacco cases.
                                                      Page 157                                             Page 159
 1 Q              Okay.   Other than you and                        1 And they had sued him, I believe.           And I think
 2 Mr. Bonner, was anybody else in -- involved in                   2 his defense was that maybe counsel was paying
 3 the hand redaction of these documents?                           3 witnesses maybe, something like that.            I don't
 4 A              I don't think so.                                 4 know.
 5 Q              Other than Mr. Collingsworth, was                 5 Q                 Okay.    So it was your understanding
 6 anybody involved on the defendant's side in                      6 that payments to witnesses was an issue in that
 7 giving you information as to how to redact those                 7 case as well?
 8 documents?                                                       8 A                 At some --
 9 A              I don't think so.                                 9                   MR. PAULK:    Object to --
10 Q              Do you know now sitting here today              10 A                  -- point I realized --
11 that the Ivan Otero payments that were $2700 per               11                    MR. PAULK:    Well, I'm objecting to
12 month which was redacted were, in fact, payments               12 the form; but you can go ahead.
13 that were going to El Tigre and Somario?                       13 A                  Okay.    At some point I realized that
14 A              I don't.    No.                                 14 the attorneys in that case were asking the same
15 Q              But the state of the world at the               15 exact questions that Drummond was asking.
16 time these redactions were made is witness                     16 Q                  (By Mr. Presley)    Okay.    Did you
17 payments are relevant, discoverable, and not                   17 ever talk with a lawyer named Bill Wichmann?
18 privileged; right?                                             18 A                  No.   That was the defendant in that
19                That's your understanding of the                19 case or --
20 case?                                                          20 Q                  Did you ever talk with his lawyer?
21 A              I think so.    Yeah.                            21 A                  Who was it?
22 Q              At what point did you first have                22 Q                  (No response.)
23 communications with Ken McNeil?                                23 A                  I don't know that I would have ever
24 A              Well, you know, he was doing                    24 had a reason to.
25 document production and privilege logs related    25 Q                               Okay.    How often during your
                                            Page 158                                                                     Page 160

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 1 representation of Conrad & Scherer and Terry                     1 and then let me know and you're ready.
 2 Collingsworth would Billy Scherer send you                       2 A                 (Witness complies.)    Okay.
 3 documents?                                                       3 Q                 All right.   This is a June 24, 2014,
 4 A              Not often.                                        4 email from Billy Scherer to you; correct?
 5 Q              How often would -- well, let me ask               5 A                 Yes.
 6 you this:    When people did send you documents                  6 Q                 And it copies Ken McNeil?
 7 from Conrad & Scherer; typically, who was it                     7 A                 Yes.
 8 that was sending those documents?                                8 Q                 Who we talked about earlier; right?
 9 A              Terry.                                            9 A                 Yes.
10 Q              Or one of his assistants?                       10 Q                  He was the lawyer who was
11 A              Yeah.                                           11 representing the firm, Conrad & Scherer, in the
12 Q              Okay.    And what was your                      12 Wichmann case; correct?
13 understanding of Billy Scherer's involvement in                13 A                  Yes.
14 the Wichmann case?                                             14 Q                  All right.   And then the other cc
15 A              I don't -- I don't know.       Don't have       15 people Mr. Stuart Kusin, Jordan Connors, and
16 any idea.                                                      16 Abigail Noebles.
17 Q              Billy Scherer left Conrad & Scherer             17                    Do you know who those people are?
18 for a period of time.                                          18 A                  I do not.
19                Do you have any knowledge as to why             19 Q                  Okay.   In any event, the subject of
20 he did that?                                                   20 Billy Scherer's email to you is called "Drummond
21 A              I don't.                                        21 and Wichmann"; right?
22 Q              Okay.    I think this is a good break           22 A                  Yes.
23 point, and we're about to be -- we're close to                 23 Q                  And I think you testified earlier
24 the end.                                                       24 that it was your understanding that the issue of
25 A              Okay.                                           25 witness payments had come up in the Wichmann
                                                      Page 161                                                Page 163
 1 Q              So if we want to go ahead and eat                 1 case as well?
 2 lunch real quick, and then it -- it won't be                     2 A                 Yes.
 3 very much longer.                                                3 Q                 Now, Billy Scherer is emailing to
 4 A              Okay.                                             4 you several attached documents; right?
 5                THE VIDEOGRAPHER:     The time is                 5 A                 Yes.
 6 12:23 p.m.     We are off the record.                            6 Q                 All right.   Why is he emailing you
 7            (The lunch recess was taken.)                         7 these documents?
 8                THE VIDEOGRAPHER:     The time is 1               8 A                 I don't recall.
 9 o'clock p.m.     We are back on the record.                      9 Q                 In any event, Ken McNeil forwards
10 Q              (By Mr. Presley)     All right.                 10 this email to Bill Scherer; right?
11 Mr. Smith, before we broke for lunch, we had                   11 A                  That's what it looks like.
12 talked about the hearing on Drummond sanctions                 12 Q                  Okay.   This was, I believe, the
13 motion in April of 2014 and Judge Proctor's                    13 first time that I saw that Billy Scherer emailed
14 order about preservation and then briefing the                 14 you documents.
15 crime fraud exception.                                         15                    Do you have a recollection of him
16                Do you recall that?                             16 emailing you documents on any other occasion?
17 A              Yes.                                            17 A                  I don't recall.
18 Q              Okay.    And so let me show you                 18 Q                  Okay.   Was Billy Scherer performing
19 Exhibit 44.                                                    19 his own searches for documents that related to
20                MR. PRESLEY:    This is tab 77 for the          20 witness payments?
21 exhibit coordinator.                                           21                    MR. PAULK:   Object to the form.
22                       (Plaintiff's Exhibit 44 was              22 Q                  (By Mr. Presley)   Do you know?
23                        marked for identification)              23 A                  I don't know.
24 Q              If you would, just read the -- the              24 Q                  His email to you says that he's come
25 email there on the first page of the exhibit;     25 "across two internal memos on researching the
                                            Page 162                                             Page 164

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 1 propriety of witness payments."                                  1 received this email from Billy Scherer?
 2                Do you see that?                                  2 A                 I talked to Terry about it and then
 3 A              Yes.                                              3 thought that it either needed to be logged or
 4 Q              Okay.   And then he also references               4 produced.
 5 Jaime Blanco asking to be paid $150,000 in May                   5 Q                 Okay.    You talked to Terry about all
 6 of '11; right?                                                   6 of the attachments that Billy Scherer has put
 7 A              Yes.                                              7 upon --
 8 Q              And then, quote, "Other                           8 A                 Yes.
 9 miscellaneous payments," end quote, that are                     9 Q                 -- on this email?
10 discussed in the emails, which he attaches;                    10 A                  Yes.
11 right?                                                         11 Q                  As well as the deps in the can email
12 A              Yes.                                            12 that they need to be logged or produced?
13 Q              Okay.   There is an associate that he           13 A                  Yes.
14 references named Jerry Tamayo in the Fort                      14 Q                  Because it reflects payments being
15 Lauderdale office.                                             15 made to El Tigre and Somario?
16                Did you ever have any conversations             16 A                  Yes.
17 with Jerry Tamayo?                                             17 Q                  And we can look back at the exhibits
18 A              I did not.                                      18 that we looked at earlier when we talked about
19 Q              All right.    Let's look at Bates               19 redaction of documents that were produced in May
20 label -- one second -- 95844.                                  20 of 2014, about a month earlier.             But you recall
21 A              (Witness complies.)     Okay.                   21 that these redactions were made to those $2700
22 Q              And I'll represent to you that this             22 monthly payments to Ivan Otero?
23 email from Mr. Collingsworth, which is dated May               23                    Do you recall that?
24 22nd, of 2011, and is to various Parker Waichman               24 A                  I don't recall.
25 lawyers and copies Richard Drath and Bill                      25 Q                  All right.    Let's look at tab 71.
                                                      Page 165                                                             Page 167
 1 Scherer and has the subject Other Developments;                  1                   MR. WELLS:    This is going to be a
 2 this is what we call in this case the deps in                    2 skip.
 3 the can email.                                                   3                   MR. PRESLEY:      That's fine.
 4 A              Okay.                                             4 Q                 (By Mr. Presley)      All right.   Here's
 5 Q              All right.    And you see down in                 5 just an example of what I'm talking about,
 6 number ten of Mr. Collingsworth's email point                    6 Mr. Smith.        This is Plaintiff's Exhibit 49.
 7 ten.                                                             7                          (Plaintiff's Exhibit 49 was
 8                Do you see that?                                  8                           marked for identification)
 9 A              Yes.                                              9                           MR. PRESLEY:    Tab 71 for the
10 Q              And he refers to having given Ivan              10 exhibit coordinator.
11 "$5,400 for security costs for him, ET and                     11 Q                  The -- this is just a comparison
12 Somario."    And then "Need to pay $2,700 per                  12 exhibit that Drummond actually filed with the
13 month to maintain until we get the deps in the                 13 Court which shows how in the first -- first copy
14 can."                                                          14 of this bank statement that the $2700 monthly
15                Do you see that?                                15 payment is redacted; and then in a subsequently
16 A              Yes.                                            16 produced copy, it is not redacted.
17 Q              Okay.   Is this the first time that             17                    Do you see that in that document
18 you saw this email --                                          18 right there (indicating)?
19 A              Yes.                                            19 A                  Okay.    Yeah.
20 Q              -- "this" being June 24, of 2014?               20 Q                  Right.    Okay.
21 A              Yes.                                            21                    What did Mr. Collingsworth tell you
22 Q              Do you recall receiving this email              22 after you told him that this needed to be
23 from Billy Scherer?                                            23 produced or logged?
24 A              Yes.                                            24 A                  He agreed with me.
25 Q              Okay.   And what did you do after you           25 Q                  He agreed with you?
                                                      Page 166                                                             Page 168

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                                                                                                                     11/21/2023
 1 A              Yes.                                              1                   Do you see that?
 2 Q              Okay.    So he agreed that this                   2 A                 Yes.
 3 reflected a witness payment, that it was                         3 Q                 And had you ever seen this
 4 discoverable, and that it needed to be disclosed                 4 memorandum before you received it from Billy
 5 to Drummond?                                                     5 Scherer on June --
 6                MR. PAULK:     Object to the form.                6 A                 No.
 7 A              I think he -- he would have agreed                7 Q                 -- on June 24th, of 2014?
 8 that it was discoverable.                                        8 A                 No.    I don't believe so.
 9 Q              (By Mr. Presley)      Okay.    And should         9 Q                 Okay.    Did you have any discussions
10 be disclosed to Drummond?                                      10 with Billy Scherer after you received this email
11 A              Yes.    Or logged.                              11 from him about the attachments to the email?
12 Q              Okay.    Now, look for a second at --           12 A                  I don't think so.    No.   I would have
13 there's some other documents that are attached                 13 asked Terry about this stuff.
14 to this email from Billy Scherer.         And I want to        14 Q                  Okay.    Did you have any discussions
15 direct your attention to, first, 95832, Bates                  15 with Ken McNeil about this email from Billy
16 label CS_TC95832.                                              16 Scherer or the attachments to the email?
17 A              Okay.                                           17 A                  I don't recall.    I would have had
18 Q              And Mr. Collingsworth is telling                18 conversations with Chris Niewoehner at some
19 Bill Scherer and Richard Drath in the first                    19 point whenever he came on board, which was
20 email; which is dated October 21, 2011; that                   20 pretty soon after this, about these.
21 they need to -- quote, they need -- quote, "We                 21 Q                  Okay.    What was Ken McNeil's role in
22 needed a heavyweight to go over their heads to                 22 the defamation case at this point?
23 the Ministry of Interior.         We have the right            23                    MR. PAULK:    Object to the form.
24 people, but they are expensive." 100,000 "to                   24 A                  If I remember correctly, and don't
25 start," 100,000 "when we get everything we need   25 hold me completely to this, but seems like we
                                            Page 169                                             Page 171
 1 and the depos are done.        They can deliver.       They      1 took some depositions down there at the Conrad &
 2 introduced me to the right people.           Don't want          2 Scherer office.          Trey and Tony were there.    I
 3 to put details here."                                            3 spoke to Billy down there on that time -- at
 4                Did I read that correctly?                        4 that time.        Pretty soon afterwards maybe, this
 5 A              You did.                                          5 happened.       Then we took Paul Wolfe's deposition
 6 Q              Do you know -- have you ever heard                6 pretty soon after that in Colorado.            4th of July
 7 of a person named Andre Lasserre?                                7 holiday everybody was off for a week.            And then
 8 A              I don't recall.                                   8 pretty soon after that, it seems like McNeil and
 9 Q              Okay.    I take it, then, you don't               9 Niewoehner were getting pretty involved.
10 have any knowledge as to whether                               10 Somewhere within a month of that would be my
11 Mr. Collingsworth paid Andre Lasserre $100,000?                11 vague recollection.
12 A              I vaguely remember something like               12 Q                  (By Mr. Presley)    Within a month of
13 that, but I do not remember any details.                       13 -- I think -- within a month of Billy Scherer's
14 Q              Do you have any idea as to what work            14 June 24th --
15 Mr. Lasserre did in exchange for that payment?                 15 A                  I would --
16 A              No.    No.   No.   No idea.                     16 Q                  -- 2014 email?
17 Q              Okay.    When did you come to learn             17 A                  -- think so.
18 that Mr. Lasserre, Andre Lasserre, had received                18 Q                  Okay.    Let's look at tab 78, please.
19 $100,000 from Terry Collingsworth?                             19                           (Plaintiff's Exhibit 45 was
20 A              I don't know that I did.                        20                            marked for identification)
21 Q              Okay.    Let's look at 95847.                   21 Q                  And this is Plaintiff's Exhibit 45.
22 A              (Witness complies.)      Okay.                  22 A                  Okay.
23 Q              And this is a memo on Conrad &                  23 Q                  And this is Alana Duke, your
24 Scherer letterhead from JDT to BS dated May                    24 assistant; right?
25 28th, of 2011.                                                 25 A                  Right.
                                                      Page 170                                                           Page 172

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                                                                                                                      11/21/2023
 1 Q              And she's, it appears to be,                       1                   MR. PRESLEY:    This is tab 82 for the
 2 forwarding Billy Scherer a copy of the email he                   2 exhibit coordinator.
 3 had just sent to you the day before; right?                       3 Q                 And this is a July 7, 2014, email
 4 A              Yeah.    And I have no idea why she                4 from Terry Collingsworth to you; correct?
 5 would do that.                                                    5 A                 Yes.
 6 Q              Okay.    That was my question:        Do you       6 Q                 All right.   And consistent with past
 7 know why?                                                         7 practice, Mr. Collingsworth is sending to you a
 8 A              Yeah.    I have no idea unless it was              8 draft of the crime fraud brief --
 9 a mistake or -- there would be no reason for her                  9 A                 Yeah.
10 to do that.                                                     10 Q                  -- right?
11 Q              Would she -- typically when she's                11 A                  Yes.
12 sending an email to a client like this, is this                 12 Q                  And this is what Judge Proctor had
13 something that she's doing at your instruction?                 13 directed the parties to brief at the conclusion
14 A              Oh, yes.                                         14 of the April 2014 sanctions hearing?
15 Q              Okay.                                            15 A                  Yes.
16 A              Yeah.                                            16 Q                  Okay.   On page three of the draft
17 Q              All right.                                       17 that Mr. Collingsworth has sent you; the end of
18 A              But she would have copied me on it.              18 the first paragraph there, there's some
19 That's why I don't -- yeah.        I don't -- this              19 statements about PAX in a report that they had
20 must have been some sort of mistake.           That's the       20 written.
21 only thing I can think.                                         21                    Do you see that?
22 Q              Okay.                                            22 A                  I do.
23 A              I would forward it to her probably               23 Q                  Did you ever have any conversations
24 and tell her to print it and save it to the file                24 with Mr. Collingsworth about his communications
25 when I received it.                                             25 with PAX?
                                                       Page 173                                                          Page 175
 1 Q              Okay.                                              1 A                 I don't recall having conversations
 2 A              But there would be no reason for her               2 with him about his communications with PAX.            At
 3 to -- to -- to email Billy Scherer.                               3 some point I would have become aware of PAX and
 4 Q              All right.                                         4 that they had done some sort of report, and I
 5                MR. PAULK:    Hey, Ben, before you go              5 probably was provided a copy of it.
 6 on; is that 45 or 46, this one that you just                      6 Q                 Okay.   And do you know whether
 7 showed him?                                                       7 Mr. Collingsworth was in communication with PAX
 8                MR. PRESLEY:    45.                                8 about that report?
 9                MR. PAULK:    45.   All right.                     9 A                 I don't specifically recall.
10 Q              (By Mr. Presley)       Let's go to tab           10 Q                  Okay.   Do you know whether
11 82, please.                                                     11 Mr. Collingsworth or anyone else at Conrad &
12                     (Plaintiff's Exhibit 46 was                 12 Scherer provided information or documents to PAX
13                        marked for identification)               13 to be used in that report?
14 Q              This is Plaintiff's --                           14 A                  I don't know.
15                MR. PAULK:    Did y'all not mark this            15 Q                  Okay.   On the next page, page four,
16 one?                                                            16 in this draft brief that's been prepared by
17                MR. PRESLEY:    Oh, we went out of               17 Mr. Collingsworth, at the bottom of that page
18 order.    You're right.                                         18 there's a paragraph that talks about witness
19                MR. WELLS:    That's 49.                         19 payments; right?
20                MR. PAULK:    49.   All right.                   20 A                  Yep.
21 Q              (By Mr. Presley)       Tell me the               21 Q                  And we see there second to last
22 Exhibit Number that you have in your hand,                      22 sentence, quote, "The three witnesses who
23 please, Mr. Smith.                                              23 received security assistance, Libardo Duarte,
24 A              That's 46.                                       24 Jose Gelvez Albarracin, and Jairo Jesus Charris
25 Q              46 I've just handed to you..                     25 Castro, all provided a written statement to
                                                       Page 174                                                Page 176

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                                                                                                                     11/21/2023
 1 either Plaintiffs' counsel or the Colombian                      1 A                 Yes.
 2 authorities."                                                    2 Q                 Which had attached the deps in the
 3                Did I read that correctly?                        3 can email; correct?
 4 A              You did.                                          4 A                 Yes.
 5 Q              And this is consistent with what                  5 Q                 Okay.   Why are you sending this to
 6 we've seen previously about it was three                         6 Mr. Collingsworth on July 9th?
 7 witnesses, three witnesses, three witnesses?                     7 A                 Well, to -- hopefully, he can
 8 A              That's correct.                                   8 explain to me what's going on here.
 9 Q              All right.    Now, on page six of this            9 Q                 Okay.   Explain to you what's going
10 draft brief in the center, there's a discussion                10 on here in terms of why hasn't this document
11 about Blanco.                                                  11 been produced or logged?
12                Do you see that?                                12 A                  Well, yeah.    In particular I was
13 A              Same page?                                      13 interested in "Gave Ivan $5,400 for security
14 Q              Page six.                                       14 costs for him, ET and Somario."
15 A              Oh, okay.                                       15 Q                  Okay.   Now, let's look at tab 10 --
16 Q              And that paragraph concludes with               16 what -- what did -- what did Collingsworth tell
17 the statement of, "Again, the various emails                   17 you in response to this email?
18 discussing the topic conclusively revealed                     18 A                  In -- specifically in regards to
19 defendants and their co-counsel discussed                      19 that?
20 whether it was ethically permissible to assist a               20 Q                  Sure.
21 witness with his attorneys fees, concluded it                  21 A                  The $5400?
22 was ethical under certain conditions, but then                 22                    That I think Ivan had been provided
23 declined to do so for tactical reasons."                       23 money to send his actual security people to
24                Did I read that correctly?                      24 drive by these people's houses.           And this was
25 A              You did.                                     25 actually paying Ivan this -- the money, that it
                                                      Page 177                                             Page 179
 1 Q              And that, again, is consistent with               1 wasn't going to Somario or El Tigre.          Either
 2 what you've been told by Mr. Collingsworth all                   2 way, this needed to be produced or logged.
 3 the way up to this point --                                      3 Q                 Okay.   So Mr. Collingsworth told you
 4 A              That --                                           4 that this money was not going to El Tigre and
 5 Q              -- which is that we considered it,                5 Somario?
 6 but there was never any payment made to Blanco?                  6 A                 Correct.
 7 A              Yes.                                              7 Q                 In your entire -- in the entire
 8 Q              Did Mr. Collingsworth ever tell you               8 course of your representation of Conrad &
 9 what tactical reasons he had for not paying                      9 Scherer and Terry Collingsworth, did you ever
10 Jaime Blanco?                                                  10 see a single receipt or other document that
11 A              If he did, I don't recall.                      11 would objectively reflect how a payment to a
12 Q              All right.                                      12 witness was spent?
13                MR. PRESLEY:    Let's look at tab 84,           13                    MR. PAULK:    Object to the form.
14 please, Trey.                                                  14 A                  I don't know that I can answer that.
15 Q              This is Plaintiff's Exhibit 47.                 15 I wouldn't -- I mean, they're -- you're talking
16 A              Okay.                                           16 about thousands of documents that were reviewed
17                       (Plaintiff's Exhibit 47 was              17 at some point.          I don't -- I -- I couldn't
18                        marked for identification)              18 answer that.
19 Q              And this is a July 9th, 2014, email             19 Q                  Do you recall one sitting here
20 from you to Mr. Collingsworth; correct?                        20 today?
21 A              Let's see.    Yes.    Forwarding the            21 A                  Ask the question again.
22 documents.     Yes.                                            22 Q                  Sure.
23 Q              Right.                                          23                    During your representation of the
24                Forwarding Billy Scherer's June 24              24 defendants in the defamation case, you
25 email?                                                         25 understand it was their contention this these
                                                      Page 178                                                Page 180

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                                                                                                                        11/21/2023
 1 payments were made for security purposes; right?                  1 there were only three that was being paid.             And
 2 A              Correct.                                           2 I was assured that by Mr. Collingsworth.
 3                MR. PAULK:    Object to the form.                  3 Q                 Okay.    So your belief was based on
 4 Q              (By Mr. Presley)       Okay.   Did you             4 assurances you had been given by
 5 ever see a single invoice or receipt which would                  5 Mr. Collingsworth?
 6 reflect that one of those payments was used for                   6 A                 Yes.
 7 a specific security measure by one of those                       7 Q                 And those assurances were I've seen
 8 witnesses?                                                        8 the deps in the can email, you've sent it to me,
 9 A              I just don't know.                                 9 you called him about.            And he says, Brad, that
10 Q              Okay.    Let's go to tab 103.        So this     10 payment that's discussed in point number ten of
11 is Plaintiff's Exhibit 48.                                      11 the deps in the can email; that payment didn't
12                     (Plaintiff's Exhibit 48 was                 12 actually go to El Tigre and Somario.             It just
13                        marked for identification)               13 went to Ivan Otero.
14 Q              And this is an email where your                  14                    Is that what he told you?
15 assistant is submitting to the special master                   15 A                  Correct.    Correct.    and I assume
16 the defendants' crime fraud brief; correct?                     16 there's probably a declaration with -- that was
17 A              Okay.    All right.                              17 filed with this that has the same lang -- him
18 Q              And it's on the same day about two               18 saying the same thing, isn't there?
19 hours after the email that we just looked at                    19 Q                  He filed a lot of declarations.
20 where you're sending Mr. Collingsworth Billy                    20 A                  Yeah, he did.      He did.
21 Scherer's email which attaches the deps in the                  21 Q                  All right.
22 can email; right?                                               22                    MR. PRESLEY:      Let's look at tab 89,
23 A              It is.    I don't remember these                 23 please, Trey.
24 taking place at the same time; but, obviously,                  24                           (Plaintiff's Exhibit 50 was
25 they're dated the same.       Yes.                              25                            marked for identification)
                                                       Page 181                                                            Page 183
 1 Q              Okay.    Page four of the brief filed              1 Q                 This is Plaintiff's Exhibit 50.
 2 with the special -- special master --                             2 A                 Okay.    50.    Okay.
 3 A              Okay.                                              3 Q                 And this is an email from you to
 4 Q              -- at the bottom there, the same                   4 Mr. Collingsworth.
 5 language regarding there being three witnesses                    5                   Chris Niewoehner is also copied;
 6 that received payments.                                           6 correct?
 7                And those witnesses being Duarte,                  7 A                 Correct.
 8 Gelvez, and Charris; right?                                       8 Q                 Dated August 27th, 2014, so about a
 9 A              Correct.                                           9 month and a half later; right?
10 Q              How does that representation get                 10 A                  Yes.
11 made to the special master when the defendants                  11 Q                  All right.      And first attachment to
12 have located the deps in the can email, and                     12 this email is yet again the deps in the can
13 you've sent it to Mr. Collingsworth saying this                 13 email; right?
14 has to be produced or logged?                                   14 A                  Yes.
15                MR. PAULK:    Object to the form.                15 Q                  And you're telling them -- or you're
16 A              Well, I think, one, the explanation              16 telling Terry, I want to get out the
17 he gave me; two, I think this was, I guess, more                17 supplemental privilege log, and I don't see
18 of a general, you know, memorandum on the law                   18 where the attached email is listed on the log.
19 regarding the crime fraud that had been worked                  19 A                  Yes.    Yes.
20 on well in advance of -- well, I say that.                      20 Q                  All right.      Couple of questions:
21 Billy had sent this to me about two weeks prior                 21 First off; at this point, how long had Chris
22 I believe, right, looking at the dates.             I           22 Niewoehner been involved?
23 certainly still believe that there were only                    23 A                  I don't know.      Be a guess.   He was
24 three that were paid.       I can tell you that.         If     24 involved though.
25 that's the question, yes.       Certainly in my mind,           25 Q                  Involved in the defamation case?
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 1 A              Yes.                                              1 A                 I would have had a discussion with
 2 Q              Okay.   And what did Terry tell you               2 him about the deps in the can; whether this -- I
 3 in response to this email?                                       3 would assume we had already discussed it by this
 4 A              I don't recall.                                   4 time.
 5 Q              Did he tell you anything about why                5 Q                 Okay.    And what -- what was said in
 6 it was not on a log?                                             6 those discussions about the deps in the can
 7 A              Well, I think at that point I think               7 email?
 8 Chris Niewoehner was going to handle any logs                    8 A                 Like I said, from the moment I saw
 9 would be my assumption.       But I certainly -- once            9 that email; I thought it needed to be produced
10 I saw that email -- from the time I saw it until               10 or logged.         And I don't -- I don't think I was
11 the time I left, I was concerned about it and                  11 the one that ever actually did that.           I don't
12 thought it needed to be logged or -- or just --                12 think I was involved in it.           And so anyone who
13 or produced.                                                   13 was asking me, What's going on with the case; I
14 Q              And is it your understanding that               14 would say this just came up, and it needs to be
15 Mr. Niewoehner is a white-collar criminal                      15 handled.
16 defense lawyer?                                                16 Q                  Okay.
17 A              No.                                             17                    MR. PRESLEY:    Trey, I'm going to
18 Q              That's not your understanding?                  18 skip 91 and go to 90 -- tab 96.
19 A              No.                                             19                           (Plaintiff's Exhibit 51 was
20 Q              Did you ever --                                 20                            marked for identification)
21 A              I think he was in the U.S.                      21 Q                  All right.    Mr. Smith, this is
22 attorney's office.      But it was my understanding            22 Plaintiff's Exhibit 51.
23 he was an expert in privileges.        That was my             23                    MR. PRESLEY:    Tab 96 for the exhibit
24 understanding, but I maybe wrong.                              24 coordinator.
25 Q              Okay.   Why --                                  25 A                  Okay.
                                                      Page 185                                                          Page 187
 1 A              I certainly did not think he was                  1 Q                 And this is a November 6, 2014,
 2 brought in because of criminal issues.                           2 email from you to Savannah Marion, Kendall
 3 Q              Okay.   But it's your understanding               3 Enyard, and Ken McNeil; is that right?
 4 that at this point Chris Niewoehner -- well, let                 4 A                 Yes.
 5 me ask this:     Who is Chris Niewoehner                         5 Q                 And, yet again, you are sending --
 6 representing at this point?                                      6 this time not Mr. Niewoehner, but the Susman
 7 A              I believe Terry, and maybe the firm               7 Godfrey lawyers, resending them Billy Scherer's
 8 too.   I can't recall if it was -- yeah.           I don't       8 June 24th emails which attached the deps in the
 9 recall if it was both.                                           9 can email; right?
10 Q              But he's a privilege expert, and                10 A                  And I think Kendall Enyard was --
11 he's being brought in to help make sure what?                  11 maybe Savannah also -- were Steptoe Johnson
12 That everything has been searched for and                      12 lawyers.
13 logged?                                                        13 Q                  Okay.    In any event you say, quote,
14 A              Well, I think so and that, you know,            14 "Attached are the documents we discussed that
15 privileges are maintained to the extent they can               15 were discovered during Ken's search in Florida";
16 be.    I think they were concerned.       I mean, this         16 right?
17 wasn't -- this got beyond my little defamation                 17 A                  Yes.
18 case, which I thought was pretty simple, into                  18 Q                  Ken being Ken McNeil?
19 all these other cases that, you know, Drummond                 19 A                  Yes.
20 had with -- with Terry or that -- yeah.                        20 Q                  What search was Ken McNeil
21 Q              Did you have any discussions with               21 performing in Florida?
22 Mr. Niewoehner about this email; this email                    22 A                  Ken was doing the same thing I -- I
23 being the one you sent on August 27th, 2014?                   23 was doing in relation to the Wic -- Witcher
24 A              This email (indicating)?                        24 case.
25 Q              Yes.                                            25 Q                  Wichmann?
                                                      Page 186                                                          Page 188

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 1 A              Wichmann.      Yes.    Wichmann.                    1 Q                 No.   Crime fraud hearing wasn't
 2 Q              "The same thing" being looking for                  2 until --
 3 documents that reflected payments to witnesses                     3 A                 After this?
 4 and making sure that they were either produced                     4 Q                 -- September of 2015.
 5 or logged?                                                         5 A                 Oh.   Yeah.   I don't know.
 6 A              Yes.    Yes.                                        6 Q                 Okay.   Who -- who made the decision
 7 Q              When did that search that Ken                       7 that you were going to phase out of this case?
 8 performed in Florida, when did that occur?                         8 A                 I don't know.    I know that -- well,
 9 A              I don't know.      I think it was                   9 that's going to get us into some privileged
10 ongoing.                                                         10 things too.         I mean, I don't -- I don't know
11 Q              Okay.    But it's your understanding              11 that --
12 that the documents that are attached to your                     12                    MR. PAULK:    I mean, do you know the
13 email and which were attached originally to                      13 answer to who made the decision?
14 Billy Scherer's June 24th email were documents                   14                    THE WITNESS:    I don't.   I don't.
15 that were discovered by Mr. McNeil during a                      15 Q                  (By Mr. Presley)    Do you know the
16 search in Florida?                                               16 reason why you were phased out?
17 A              I don't know.      I see Billy's email            17 A                  I don't.   I assumed, you know, it
18 saying he came across it, so I don't -- I don't                  18 was a -- this is getting into insurance policy
19 know.    To be honest with you, I put Ken -- I                   19 stuff.       But it was a wasting policy; and there
20 don't know.     I don't know.        I could have been,          20 was, you know, not a lot of money left.
21 you know -- I could have misunderstood it.               I       21 Q                  So it wasn't your decision to phase
22 don't know.                                                      22 out?
23 Q              Did Ken -- did you ever have any                  23 A                  It certainly wasn't, you know,
24 conversation with Ken McNeil about this email                    24 excited about staying in any more.            I mean, this
25 that you sent on November 6th, of 2014?                       25 was -- you know, doing discovery motions every
                                                        Page 189                                             Page 191
 1 A              I'm sure I did.                                     1 week was not, you know, how I envisioned
 2 Q              Why are you sure you did?                           2 spending the rest of my life.          And y'all are
 3 A              Because I would have met with all                   3 still doing it ten years later, so -- but, yeah.
 4 them when I was kind of phasing out and they                       4 No.    I -- I don't know.
 5 were taking over and given them a history of                       5 Q                 In other words, this wasn't a
 6 what had been done in the case.           And I would              6 situation where you stepped back and said, I'm
 7 have said, just like I've told you, This is                        7 out?
 8 something that I think is a problem that needs                     8 A                 No, it wasn't.
 9 to be produced or it needs to be logged.                           9 Q                 Okay.
10 Q              Okay.                                             10 A                  No, it wasn't.
11 A              It's responsive to what the Court                 11 Q                  Okay.
12 had ordered to be produced.                                      12 A                  I think somebody said, Ken or -- or
13 Q              Now, you mentioned just a second ago              13 -- or Niewoehner or somebody said, We're taking
14 that you phased out shortly after this email was                 14 over; and you need to file a motion to withdraw
15 sent; is that right?                                             15 on this date I think.
16 A              I was already out by this time.                   16 Q                  Okay.   And we touched on this a
17 Q              Okay.                                             17 little bit earlier, but -- well, let me ask you
18 A              Yeah.    Yeah.                                    18 this:      Do you recall after this November 6,
19 Q              So this is, at least based on my                  19 2014, email; did you ever have any other
20 review, the last email that was produced                         20 discussions after this email was sent with
21 chronologically from your file in this case;                     21 anybody, whether Terry or somebody else at
22 November 6th, of 2014?                                           22 Conrad & Scherer or their counsel, about the
23 A              Could have been.                                  23 scope, nature, and extent of witness payments
24                Was this after the sanction hearing               24 between then and the crime fraud hearing?
25 or crime fraud hearing?                                          25 A                  Not with Terry, but probably with
                                                        Page 190                                                          Page 192

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                                                                                                                          11/21/2023
 1 McNeil or Niewoehner.                                               1 Q                 (By Mr. Presley)      All right.
 2 Q              Okay.    And what were the nature of                 2 Mr. Smith, I just want to make sure that I'm
 3 those discussions?                                                  3 clear on one thing.
 4                MR. PAULK:      Well, hang on a minute.              4                   Is it true that from the time you
 5 Leading up to the crime fraud hearing?                              5 started your work in the defamation case
 6                MR. PRESLEY:      Let me ask it -- let               6 representing Terry Collingsworth and Conrad &
 7 me ask it slightly differently.                                     7 Scherer all the way up until, I guess, the eve
 8                MR. PAULK:      Okay.                                8 of the crime fraud hearing in September of 2015
 9 Q              (By Mr. Presley)         When you were               9 that Mr. Collingsworth never disclosed to you
10 discussing with Mr. Niewoehner and/or Mr. McNeil                  10 that Jaime Blanco had been paid?
11 witness payments, were you telling them what                      11 A                  I would say -- well, first, I would
12 your understanding was of the scope of the                        12 say I have never had a conversation with Terry
13 witness payments that had been made; who had                      13 Collingsworth where he told me Jaime Blanco was
14 been paid and why?                                                14 paid.
15 A              Probably.      Whatever Terry -- yes.              15 Q                  Okay.
16 Yes.    What Terry had maintained throughout.                     16 A                  Never.    Never had that conversation
17 Yes.    These three were paid, and they were paid                 17 with him.        I never had any conversation with
18 because of this.       Yes.                                       18 Terry from fall, what, 2014 until now.
19 Q              Okay.    Did -- were you ever told by              19 Q                  Well, you haven't had one -- yeah.
20 anyone that Terry had forgotten that he paid El                   20 Okay.      I see what you're saying.
21 Tigre and Somario?                                                21 A                  Yeah.
22 A              Seems like somebody may have told                  22 Q                  All right.
23 me.    So you're saying that hearing was a full                   23                    MR. PRESLEY:    Go ahead, William,
24 year after this?                                                  24 subject to redirect.
25 Q              Little bit less than a year after                  25                    MR. PAULK:    Anil, have you got
                                                         Page 193                                                             Page 195
 1 this.                                                               1 anything?
 2                But to be fair, we don't have your                   2                   MR. MUJUMDAR:    I can go ahead of
 3 whole file.     I'm just talking about what was                     3 you, or I can go after you.           I mean, if you're
 4 produced to us.     This is the last email --                       4 ready, I want you to go.
 5 A              Well --                                              5                   MR. PAULK:    Okay.
 6 Q              -- in that.                                          6                         EXAMINATION
 7 A              -- I think I would have gone over to                 7 BY MR. PAULK:
 8 maybe William's office on the eve of that                           8 Q                 Okay.    Brad, when you were first
 9 hearing; and they would have asked me questions                     9 hired to defend the defamation case, were you
10 again.                                                            10 aware of the law firm Conrad & Scherer?
11 Q              Okay.                                              11 A                  No.
12 A              But I don't remember doing anything                12 Q                  Were you aware of a lawyer named
13 that late in it.       But, you know, I remember                  13 Terry Collingsworth?
14 going to his office at some point.                                14 A                  No.
15 Q              Okay.    Let's take a quick break.                 15 Q                  And Conrad & Scherer is located in
16                MR. PRESLEY:      I may be about done,             16 Fort Lauderdale, Florida; right?
17 William --                                                        17 A                  Correct.
18                MR. PAULK:      Okay.                              18 Q                  They're not in Birmingham?
19                MR. PRESLEY:      -- but let me just               19 A                  Correct.
20 confer real quick.                                                20 Q                  And Terry at the time was based in
21                THE COURT:      The time is 1:41 p.m.              21 Conrad & Scherer's Washington, DC office;
22 We are off the record.                                            22 correct?
23                 (Short recess taken.)                             23 A                  Correct.
24                THE VIDEOGRAPHER:         The time is              24 Q                  Did you do any investigation into
25 1:47 p.m.    We are back on the record.                        25 the relationship between the DC office and the
                                                         Page 194                                             Page 196

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                                                                                                                       11/21/2023
 1 Fort Lauderdale office of Conrad & Scherer?                       1 Q                 All right.   So almost a four-year
 2 A              I'm sure I had a conversation with                 2 period goes by where you never had a
 3 Terry about it at some point.                                     3 conversation with the founder and managing
 4 Q              Do you recall what he told you about               4 partner of one of your clients, Conrad &
 5 that relationship?                                                5 Scherer; right?
 6 A              He had his separate firm.         And at           6 A                 That's correct.
 7 some point he met Bill Scherer, and they                          7 Q                 Okay.   Do you recall testifying
 8 discussed going in together on some cases.              And       8 earlier about a conversation you had with Billy
 9 they, I guess, took Terry in as a partner and                     9 Scherer where he told you that Terry should be
10 made Terry's office a Conrad & Scherer                          10 the point person on the case?
11 Washington office.                                              11 A                  Yes.
12 Q              And did Terry ever tell you, once he             12 Q                  All right.   Did that conversation --
13 joined Conrad & Scherer, about the working                      13 well, let me back up.
14 relationship between the DC office and the Fort                 14                    Do you recall that after the
15 Lauderdale office?                                              15 defamation case was filed; shortly after that,
16 A              I don't remember any specifics of                16 there was a fight over personal jurisdiction?
17 that.                                                           17 A                  Yes.
18 Q              During your representation of Terry              18 Q                  Do you recall that?
19 and Conrad & Scherer, did you develop an opinion                19 A                  Yes.
20 about the relationship between the two offices?                 20 Q                  And there ended up being an appeal
21                MR. WELLS:    Object to the form.                21 relating to personal jurisdiction.
22                MR. PRESLEY:    Object to the form.              22                    Do you recall that?
23 A              I guess I would say Terry was kind               23 A                  Vaguely.   And just remembered today
24 of out on his own doing his own thing.                          24 that Judge Acker had it originally.
25 Q              (By Mr. Paulk)    What -- what leads             25 Q                  That's right.    He did.
                                                        Page 197                                                          Page 199
 1 you to say that?                                                  1 A                 Yes.
 2 A              Because I don't think there was                    2 Q                 And as a result of that, discovery
 3 anyone in Fort Lauderdale that was really                         3 in the case really didn't get going until 2013
 4 involved in the human rights cases.                               4 or so?
 5 Q              When you say "the human rights                     5 A                 That's correct.
 6 cases," are you referring to the underlying                       6 Q                 Is that about right?
 7 cases that Terry had filed against Drummond?                      7 A                 That's correct.
 8 A              Yeah.   I think he had them against a              8 Q                 And this conversation you had with
 9 lot of other companies.       Yes.                                9 Billy; did that occur before the personal
10 Q              Okay.   I thought you testified very             10 jurisdiction appeal, or did that occur after?
11 early in your deposition that you don't recall                  11 A                  That would have been within a couple
12 ever having a conversation with Bill Scherer; is                12 of days of me being retained in the case.             Yes.
13 that right?                                                     13 Q                  So that conversation you had with
14 A              Not until -- I think he was maybe at             14 Billy, then, did not occur contemporaneously
15 the meeting I referred to at your office on the                 15 with discovery starting in the case?
16 eve of the crime fraud.       I think I may have met            16 A                  I don't think so.    No.
17 him there or sometime in that time frame.                       17 Q                  All right.   Did -- did Billy Scherer
18 Q              Okay.   And that would have been                 18 ever tell you that you shouldn't approach
19 2015?                                                           19 anybody at the firm about the defamation case
20 A              After I was actively -- yes.                     20 other than Terry?
21 Q              Correct.                                         21 A                  No.
22                And you were hired to defend the                 22 Q                  Did anybody at Conrad & Scherer say,
23 defamation case in fall of 2011.                                23 Don't talk to us; Handle it with Terry; We don't
24                Does that sound about right??                    24 want to hear about the defamation case?
25 A              I think that's correct.        Yes.              25                    MR. PRESLEY:    Object to the form.
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                                                                                                                      11/21/2023
 1 A              No.                                                1 at least, this -- this type of information was
 2 Q              (By Mr. Paulk)    Okay.     Do you have            2 what you were consistently getting from Terry in
 3 an understanding about why Chris Niewoehner and                   3 writing about the number of witnesses that had
 4 Ken McNeil got involved in the defamation case                    4 received payments; correct?
 5 in summer, fall of 2014?                                          5 A                 That's correct.
 6                MR. PRESLEY:    Object to the form.                6                   MR. PRESLEY:    Object to the form.
 7 A              I think there was concern about the                7 Q                 (By Mr. Paulk)    And the top email is
 8 privilege issues in all the other cases that                      8 one from Billy Scherer to you and Terry.           And he
 9 were going on and thought that this was going to                  9 says, "Were discovery responses served on the
10 -- the defamation effect was going -- case was                  10 behalf of the firm?           I need to see these and be
11 going to affect the other cases.          I think Ken           11 involved in the firm's responses."
12 was doing the other case down in Fort                           12                    Do you see that?
13 Lauderdale.     And at some point it -- it was                  13 A                  Yes.
14 determined, and I think everyone agreed, that                   14 Q                  What did you do to ensure moving
15 everything was going to have to be gone through.                15 forward that Billy was involved in the firm's
16 Q              (By Mr. Paulk)    What do you mean?              16 discovery responses?
17 A              All -- all -- all documents were                 17 A                  I think I remember calling him right
18 going to have to be gone through.          So they led a        18 after that, and we had a discussion.           And I
19 complete, you know, search of everything.                       19 think there may have been some discussion at
20 Q              So it's your testimony that -- that              20 some point whether there was possibly a conflict
21 additional outside counsel got involved to, as                  21 and there needed to be separate counsel for the
22 you say, go through everything?                                 22 firm and Terry.           I know that conversation was
23 A              I think so.    Yes.     Yes.                     23 had at some point.           And the decision was made
24 Q              When Chris Niewoehner became                     24 that there wasn't, and I could continue to
25 involved in the defamation case, were you aware   25 represent them both.
                                            Page 201                                                                     Page 203
 1 of any prior representation he had had of Conrad                  1 Q                 Did Billy's statement here that he
 2 & Scherer or any relationship between those two?                  2 needed to be involved in the firm's responses,
 3 A              I don't think there was.                           3 did that cause you to change your approach about
 4 Q              Okay.   The exhibits that you have in              4 who you were supposed to be reporting to at the
 5 front of you that you were shown, I'm going to                    5 firm?
 6 refer to a couple of them.                                        6 A                 I don't recall.    I know I would have
 7                If you can pull out Plaintiff's                    7 had a conversation with him after this.
 8 Exhibit 2 to start with.                                          8 Q                 With who?
 9 A              (Witness complies.)                                9 A                 With Billy.
10                MR. PAULK:    And I don't have tab               10 Q                  If you will, please pull up
11 numbers of those.                                               11 Plaintiff's Exhibit 7.
12                MR. PRESLEY:    It's tab 7.                      12                    MR. PRESLEY:    That is tab 6 for the
13                MR. PAULK:    All right.                         13 exhibit coordinator.
14 A              Okay.                                            14 A                  Okay.    (Witness complies.)
15 Q              (By Mr. Paulk)    And do you recall              15 Q                  (By Mr. Paulk)    Do you recall seeing
16 this is the email you were asked about regarding                16 this email earlier today?
17 a motion to compel that Drummond filed?                         17 A                  I do.
18 A              Yes.                                             18 Q                  And I believe you testified that
19 Q              And in paragraph two of Terry's                  19 this was the first time that you became aware
20 email to you, he mentions three witnesses who                   20 that Drummond was asking about payments to
21 had received payments, or his family had                        21 witnesses?
22 received payments, Halcon, Charris, and Duarte.                 22                    MR. PRESLEY:    Object to the form.
23 A              Correct.                                         23 A                  I think I testified -- well, I think
24 Q              Do you see that?                                 24 the email under it where I'm asking about that
25                And up until the crime fraud hearing             25 would -- that -- that seems to indicate that.
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                                                                                                                     11/21/2023
 1 Q              (By Mr. Paulk)    Right.                          1 Court, about what information was discoverable
 2 A              Whether do I remember specifically                2 or not?
 3 getting this and seeing that?         I -- I can't tell          3 A                 Yes.
 4 you that.                                                        4 Q                 And that the Court actually issued a
 5 Q              Okay.                                             5 couple of orders purporting to lay out what was
 6 A              But certainly seeing me -- sent him               6 discoverable, what was not discoverable; right?
 7 an email asking him about that.                                  7 A                 Yes.
 8 Q              And --                                            8 Q                 What was privileged, what was not
 9 A              It indicates that or supports that.               9 privileged?
10 yes.                                                           10 A                  Yes.
11 Q              And at the top of the second page,              11 Q                  Do you recall that there were often
12 Terry says, "Susana can you please send Brad our               12 ambiguities in those orders about what was
13 discovery responses about legitimate security                  13 privileged or not privileged?
14 funds provided to the families of Halcon,                      14                    MR. PRESLEY:   Object to the form.
15 Charris and Duarte?      Thanks."                              15 A                  I do.
16 A              I see that.                                     16 Q                  (By Mr. Paulk)    And in light of
17 Q              Do you see that?                                17 that, were those issues that you had to deal
18 A              Yes.                                            18 with with Terry in terms of trying to figure
19 Q              In your 20-plus years of practice,              19 out, what do we produce or what do we log?
20 have you ever been involved in a case in which                 20                    MR. PRESLEY:   Same objection.
21 security payments were made to the families of                 21 A                  That's correct.
22 witnesses?                                                     22 Q                  (By Mr. Paulk)    And in -- we all
23 A              No.                                             23 know this sitting in this room, but the jury may
24 Q              And is that true both your own cases            24 not know this, that in response to discovery
25 -- well, let me strike that.                                   25 requests, parties can object to requests; right?
                                                      Page 205                                                Page 207
 1                When Terry told you that there had                1 A                 That's correct.
 2 been security payments made to the families of                   2 Q                 All right.   And if they have an
 3 these witnesses, did you feel like you needed to                 3 objection, they don't have an obligation to
 4 go to the firm to make sure they were aware of                   4 produce documents based on that objection;
 5 this?                                                            5 right?
 6 A              I think I assumed that the firm was               6                   MR. PRESLEY:   Object to the form.
 7 aware of it.                                                     7 A                 That's correct.
 8 Q              And did you assume that because                   8 Q                 (By Mr. Paulk)    All right.   And
 9 Terry was telling you that?                                      9 during the course of your representation of
10 A              Probably.    But, you know, I -- like           10 Terry and the firm when -- at times you would
11 I said, I -- I don't recall.                                   11 say, We've produced responsive documents.
12 Q              Did you feel as though you should               12                    Were you doing so accounting for any
13 have gone to Conrad & Scherer and said, Hey,                   13 objections that may have been made?
14 just want to make sure you guys are aware this                 14 A                  Yes.
15 security payment issue is coming up with                       15                    MR. PRESLEY:   Object to the form.
16 witnesses who are providing testimony in your                  16 A                  And, in fact, I -- I considered
17 cases; it kind of seems like a big deal?                       17 discovery really to be open still working on
18 A              I didn't have --                                18 trying to accomplish it until the day I was no
19                MR. PRESLEY:    Object to the form.             19 longer on the case and trying to get a privilege
20 A              I didn't have any concerns at that              20 -- final privilege log and trying to get final
21 time that they weren't aware.                                  21 discovery responses.
22 Q              (By Mr. Paulk)    Okay.    Do you recall        22 Q                  (By Mr. Paulk)    One of the
23 during the course of the defamation case after                 23 underlying cases that we've talked about a
24 discovery started that there was a lot of back                 24 little today was a case known as Balcero?
25 and forth with Drummond, and eventually the       25 A                               Yes.
                                            Page 206                                                                     Page 208

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                     Bradley J. Smith
                                                                                                                      11/21/2023
 1 Q              Are you familiar with that case?                  1 but he was heavy involved in it.
 2 A              Yes.                                              2 Q                 Okay.    You made the formal
 3 Q              And do you recall that Drummond had               3 appearance; right?
 4 started asking questions about payments to                       4 A                 Yes.    Yes.
 5 witnesses in that case?                                          5 Q                 And in doing so, you had ethical
 6 A              Yes.                                              6 obligations to Terry?
 7 Q              All right.    Were you aware of                   7 A                 Yes.
 8 distinctions that Terry and his team drew in                     8 Q                 And you had ethical obligations to
 9 that case in interpreting discovery requests                     9 the firm?
10 between payments to witnesses versus payments to               10 A                  Yes.
11 witnesses' families?                                           11 Q                  At any point during your
12 A              Yes.                                            12 representation of Conrad & Scherer, did you
13 Q              Were you aware of distinctions that             13 knowingly make any misrepresentations to
14 Terry and his team drew in Balcero about                       14 Drummond regarding the scope or number of
15 payments to actual witnesses versus payments to                15 witness payments?
16 potential witnesses or witnesses they were no                  16 A                  Absolutely not.
17 longer going to call in trial?                                 17 Q                  At any point during your Conrad --
18                MR. PRESLEY:    Object to the form.             18 your representation of Conrad & Scherer in the
19 A              I don't remember the specifics of               19 defamation case, did you knowingly make any
20 all this.    I remember that there were continuing             20 misrepresentations to the Court or to the
21 evolving questions and continuing evolving                     21 special master about the scope or nature of
22 responses.                                                     22 witness payments?
23 Q              (By Mr. Paulk)    And that continued            23 A                  No.
24 into the defamation case, didn't it?                           24 Q                  We've talked a lot about issues
25 A              Yes.                                         25 relating to witness payments but not a lot about
                                                      Page 209                                             Page 211
 1 Q              And the requests continued changing               1 the merits of the case.
 2 in the defamation case?                                          2                   The defamation case, do you recall,
 3 A              Yes.                                              3 was prompted by a couple of letters that Terry
 4                MR. PRESLEY:    Object to the form.               4 sent to a Japanese corporation in the Dutch
 5 Q              (By Mr. Paulk)    And did certain                 5 government?
 6 definitions about what constitutes a payment to                  6 A                 Correct.
 7 a witness, for example, change in the defamation                 7 Q                 Do you recall that?
 8 case?                                                            8                   And Drummond claims in the
 9                MR. PRESLEY:    Object to the form.               9 defamation case that they have been defamed by
10 A              Yes.                                            10 those letters.
11 Q              (By Mr. Paulk)    From the time you             11                    My -- my question is:    Did you form
12 were hired in fall of 2011 until you withdrew,                 12 an opinion about whether or not Terry believed
13 you were representing Conrad & Scherer and                     13 those statements to be true?
14 Terry; correct?                                                14                    MR. PRESLEY:    Object to the form.
15 A              Correct.                                        15 A                  I believe he believed the statements
16 Q              You had two different clients?                  16 to be true.
17 A              Yes.                                            17 Q                  (By Mr. Paulk)    And why do you think
18 Q              Terry was not representing Conrad &             18 that?
19 Scherer in the defamation case, was he?                        19 A                  Just his actions and his deal and
20                MR. PRESLEY:    Object to the form.             20 everything about him indicated to me he believed
21                As -- as their lawyer?                          21 what he was doing.
22 Q              (By Mr. Paulk)    Terry was not                 22 Q                  And did you ever doubt that?
23 representing Conrad & Scherer as their lawyer in               23 A                  I did not.
24 the defamation case?                                           24 Q                  A couple of times today you were
25 A              He didn't make a formal appearance,          25 asked about information that you received from
                                                      Page 210                                             Page 212

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                     Bradley J. Smith
                                                                                                                      11/21/2023
 1 the defendants or information that you received                  1 and defend the defamation action.
 2 from Terry and his team or Terry and his                         2 Q                 Was the fact that Drummond was
 3 associates.                                                      3 contending that not all documents had been
 4                Did anyone from Conrad & Scherer                  4 produced, did that cause you concern?
 5 other than Terry tell you that only three                        5 A                 I think at that time we were still
 6 witness had received payments?                                   6 working on production.         We were still trying to
 7 A              I don't recall.                                   7 determine what the scope and parameters of
 8 Q              Did anyone other than Terry from                  8 discovery were, so not really at that time.
 9 Conrad & Scherer tell you that no payments had                   9 Yeah.     No.     Just -- just having to continuously
10 been made to Jaime Blanco?                                     10 go in front of Judge Proctor on this because he
11 A              I would have never had that                     11 does not like handling discovery disputes.             We
12 conversation with anyone there because I -- I --               12 had already been in front of him one time and
13 I was not aware of the payments.        No.     No.    I       13 didn't want to -- you know, didn't want to
14 would --                                                       14 continue to have to do that.
15 Q              So the answer is no?                            15 Q                  When Drummond filed its motion for
16 A              The answer is no.                               16 emergency sanctions in April 2014, did you pick
17 Q              And do you have any recollection of             17 up the phone and call someone else at Conrad &
18 anyone other than Terry weighing in at all about               18 Scherer to make sure they were aware of what was
19 the number of witness payments that had been                   19 going on?
20 made?                                                          20 A                  I don't recall.    It would have been
21                MR. PRESLEY:    Object to the form.             21 Billy if I did.
22 Q              (By Mr. Paulk)    About the number --           22 Q                  Do you recall doing so?
23 let me -- let me back up.                                      23 A                  I don't.
24                Do you have any recollection about              24 Q                  You were asked a number of questions
25 anyone other than Terry weighing in on the        25 about privilege logs that were prepared in
                                            Page 213                                             Page 215
 1 number of witnesses that had received payments?                  1 September and October of 2013.
 2                MR. PRESLEY:    Same objection.                   2                   Do you recall talking to anyone in
 3 A              I wouldn't have had those                         3 Conrad & Scherer's Fort Lauderdale office about
 4 conversations because Terry was my -- you know,                  4 the preparation of those privilege logs?
 5 was my main contact; and that had been made to                   5 A                 I don't recall.
 6 clear from the start that that's who I was                       6 Q                 If you will, please pull up
 7 dealing with.                                                    7 Plaintiff's Exhibit 34.
 8 Q              (By Mr. Paulk)    So you didn't have              8                   MR. PRESLEY:   This is tab 102 for
 9 conversations with anyone else at Conrad &                       9 the exhibit coordinator.
10 Scherer about that?                                            10                    What is this, William?
11 A              I did not.    I did not.                        11                    MR. PAULK:   The filed sanctions
12 Q              You testified when the first                    12 brief.
13 motion -- emergency motion for sanctions was                   13                    MR. PRESLEY:   Okay.
14 filed in April 2014, I think you said it gave                  14 A                  30 --
15 you a lot of heartburn?                                        15 Q                  (By Mr. Paulk)    It's this one
16 A              It did.                                         16 (indicating), Brad.
17 Q              Do you remember saying that?                    17                    MR. PRESLEY:   Yeah.
18 A              It did.                                         18 A                  Well, this (indicating) -- yeah.
19 Q              And why was that?                               19 I've got it.
20 A              Well, I mean, I was just ready to               20 Q                  (By Mr. Paulk)    And you see at the
21 get to the merits of the case and quit, you                    21 top, the file stamp on this is April 14, 2014 --
22 know, battling discovery stuff and having to go                22 A                  Uh-huh.
23 before Judge Proctor and, you know, argue                      23 Q                  -- is that correct?
24 discovery.     It just -- it wasn't fun.        I was          24                    And that is before the email you
25 ready to try to get to the merits of the case     25 received from Billy Scherer in June of 2014
                                            Page 214                                             Page 216

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                     Bradley J. Smith
                                                                                                                      11/21/2023
 1 sending you a number of documents including what                 1 did I believe he was telling me -- yes.            Yes.
 2 Drummond has referred to as the deps in the can                  2 Yes.
 3 email; correct?                                                  3 Q                 (By Mr. Paulk)    On the second page
 4 A              Yes.                                              4 of Plaintiff's Exhibit 35 -- and this is
 5 Q              And on the cover page here, you're                5 actually a portion you were asked about earlier
 6 identified as the attorney for defendants                        6 where at the top Terry says, "Brad I need to say
 7 Terrence Collingsworth and Conrad & Scherer;                     7 that your first reaction to Drummond's bullshit
 8 correct?                                                         8 emergency motion for my hard drives was to give
 9 A              Yes.                                              9 up and produce our hard drives.           We are going to
10 Q              And on page 30 you signed this brief            10 fight all reasonable positions to protect MY
11 as attorney for defendants, Terry Collingsworth                11 interests."         And the word "my" is capitalized
12 and Conrad & Scherer; correct?                                 12 there.
13 A              That's correct.                                 13                    Do you see that?
14 Q              Do you recall providing a copy of               14 A                  I do.
15 this brief to anybody at Conrad & Scherer other                15 Q                  Who was protecting Conrad &
16 than Terry before it was filed?                                16 Scherer's interests at this time?
17 A              I don't recall.                                 17 A                  I think I was, or I was trying to.
18 Q              Do you recall if anyone other than              18 Q                  When you got this order for -- this
19 Terry from Conrad & Scherer provided input or                  19 order which came in from Judge Putnam
20 comments on this brief?                                        20 referencing the email below, did you talk to
21 A              I don't.   But I considered, you                21 anybody at Conrad & Scherer about it?
22 know, Terry to be the Conrad & Scherer                         22 A                  I think I did.    And I think I sent
23 representative as well.                                        23 it to Billy Scherer and said, Make sure all of
24 Q              Although he -- he was a separate                24 the computers are maintained; right?            Wasn't
25 defendant though; right?                                       25 that in response to that one?           I don't know.
                                                      Page 217                                                           Page 219
 1 A              He was.                                           1 Q                 I'm -- I'm just asking.
 2 Q              If you'll pull up exhibit --                      2 A                 Yeah.
 3 Plaintiff's Exhibit 35 for me.                                   3 Q                 Do you recall having a conversation
 4                MR. PRESLEY:    I believe this is tab             4 with anyone at Conrad & Scherer about this
 5 62.                                                              5 order?
 6 A              Okay.                                             6 A                 I don't recall.
 7 Q              (By Mr. Paulk)    I'll let these guys             7 Q                 If you'll look at Plaintiff's
 8 get it.                                                          8 Exhibit 38, please, sir.
 9                Let me ask you this while we get                  9                   MR. PRESLEY:   Tab 36 for the exhibit
10 there:    We've talked about a lot today Terry did             10 coordinator.
11 disclose to you that at least three witnesses or               11 A                  All right.   (Witness complies.)
12 their families had received security payments;                 12 Q                  (By Mr. Paulk)    Were you aware
13 correct?                                                       13 during the defamation case that Terry was
14 A              That's correct.                                 14 litigating human rights cases against other
15 Q              Did you ever have any doubt in your             15 companies?
16 mind about whether that's what actually those                  16 A                  I was.
17 payments were for?                                             17 Q                  Were you familiar with a case that
18                MR. PRESLEY:    Object to the form.             18 he had filed against Chiquita?
19 A              You know, I really didn't.        I mean,       19 A                  Chiquita or Dole.    Yeah.   The banana
20 he had -- he testified to it under oath several                20 cases, I guess, is what he referred to them as.
21 times, provided declarations.        And -- yeah.       No,    21 Q                  The banana cases.
22 I didn't -- I -- I thought that's what it --                   22                    In the Dole case in particular, do
23 now, did I think it could affect his case and                  23 you recall that the name of the caption of that
24 they were, you know -- it was going to affect                  24 case was Perez versus Dole?
25 them on cross-examination?       Yeah.    But as far as        25 A                  I don't recall that.
                                                      Page 218                                                           Page 220

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                      Bradley J. Smith
                                                                                                                       11/21/2023
 1 Q              And what is marked as Plaintiff's                 1 Q                 -- with redacted -- excuse me.       Let
 2 Exhibit 38, do you have any understanding or                     2 --
 3 knowledge as to whether this was related to the                  3 A                 I think so.
 4 Dole case or to the Drummond case?                               4 Q                 -- me ask that again.
 5 A              Yeah.    I don't have any idea.                   5                   Do you recall if he gave you a
 6 Q              Were you involved in the Dole case?               6 reason as to why the $2700 payments to Otero
 7 A              Well, it says Perez.     Yeah.                    7 needed to be redacted?
 8 Q              Were you involved in the Dole case?               8 A                 I think that -- and I think I
 9 A              I was not.    I was not.                          9 mentioned this earlier.          If I recall correctly,
10 Q              What about the Chiquita case?                   10 there were some discussions where he had
11 A              I was not.                                      11 concerns about Drummond being able to trace his
12 Q              You were asked a number of questions            12 investigation in Colombia through the expenses.
13 about redactions made to emails and bank                       13 I remember him saying that at some point.
14 statements, some of which would have reflected                 14 Q                  So he viewed them as expenses?
15 payments -- a $2700 payment to Ivan Otero.                     15 A                  I can't remember the distinction on
16                Do you recall those redactions and              16 that.      I can't.      I think that's maybe what he
17 our conversations about them?                                  17 was saying is maybe -- yes.           I don't remember
18 A              I do.                                           18 the specifics of it.          I'm sorry.
19 Q              Do you recall whether -- well, let              19 Q                  In any event, you made the
20 me ask you this:       Did Terry ever instruct you to          20 redactions; right?
21 redact information that you believed should have               21 A                  I did.
22 been produced?                                                 22 Q                  And produced them to Drummond?
23 A              There was an ar -- there was a                  23 A                  I did.
24 discussion about it, and I think they're                       24 Q                  And you wouldn't have done that if
25 referenced in some of my emails.        I don't think       25 you didn't think there was at least an arguable
                                                      Page 221                                             Page 223
 1 we've discussed them more; but I ran cross one                   1 basis for making those redactions; right?
 2 yesterday that, you know, he said we've got to                   2 A                 That's correct.    That's correct.
 3 get past this and -- yes.       Yes.   There was some            3 Q                 You wouldn't just take your client
 4 discussions.                                                     4 -- you wouldn't take your clients direction and
 5 Q              And -- and what do you mean by "some              5 do whatever they said unless there's at lease
 6 discussions?"                                                    6 some basis for doing that?
 7                About what?                                       7                   MR. PRESLEY:    Object to the form.
 8 A              About what needed to be produced,                 8 A                 No.   And I also anticipated that
 9 and my -- my position was those financing                        9 those were probably going to be reviewed en
10 documents needed to be produced.                               10 camera at some point, and -- and -- and the
11 Q              And Terry took the opposite                     11 judge or magistrate or special master was going
12 position?                                                      12 to decide whether they need to be produced.
13                Is that right?                                  13 Q                  (By Mr. Paulk)    And during the time
14 A              Well, at the last minute he stated              14 that you were having these discussions with
15 that there needed to be redactions.                            15 Terry about redacting the $2700 payments to
16 Q              And was it because he viewed those              16 Otero; he never told you that, in fact, some
17 as case expenses?                                              17 portion of those payments were for the benefits
18                MR. PRESLEY:    Object to the form.             18 of El Tigre's and Somario's family; right?
19 A              I can't remember the specific                   19 A                  Absolutely not.
20 reason.    And their probably is an email                      20 Q                  Did you, when you were having these
21 somewhere where we discussed that.                             21 discussions with Terry, ever call Billy Scherer
22 Q              (By Mr. Paulk)    Do you recall if he           22 or anyone else at Conrad & Scherer to say, Hey,
23 gave you a reason as to why they needed to be                  23 just want to make sure y'all know what we're
24 produced --                                                    24 doing here and where we're -- where we're --
25 A              I think so.                                     25 where the dividing line is between what's
                                                      Page 222                                                            Page 224

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                          Bradley J. Smith
                                                                                                                           11/21/2023
 1 getting redacted or not?                                         1 Q                 Did you make an effort to contact
 2 A              I don't remember on that specific                 2 anyone in, let's say, Conrad & Scherer's
 3 instance.                                                        3 accounting department to determine if they had
 4 Q              I'm going to -- let's see.                        4 made an $80,000 payment to Otero?
 5                If we can pull up tab 7, please; and              5 A                 I did not.
 6 I'm going to mark this as Plaintiff's Exhibit --                 6 Q                 If you will, pull up Plaintiff's
 7 excuse me -- Defendants' Exhibit 1.                              7 Exhibit 45.
 8                     (Defendants' Exhibit 1 was                   8 A                 (Witness complies.)
 9                       marked for identification)                 9                   MR. PRESLEY:       Tab 78.
10                MR. PRESLEY:    So this was                     10 A                  Okay.
11 Plaintiff's 2.                                                 11                    MR. PAULK:       Yeah.    I've got 45 as
12                MR. PAULK:    This is our -- I'm                12 being this (indicating).
13 sorry.    This is my tab 7.                                    13                    MR. PRESLEY:       That's what I have.
14                MR. PRESLEY:    Oh, okay.                       14 Yeah.
15                MR. PAULK:    This is my tab 7, and             15                    MR. PAULK:       45?
16 it's going to be Defendants' Exhibit 1.                        16                    MR. PRESLEY:       Yeah.    That was a
17 Q              (By Mr. Paulk)    Just let me know              17 single page.            Yeah.    That was 46 that you had.
18 when you've had a chance to look at that, Brad.                18                    MR. PAULK:       It gets lost in that
19 A              (Witness complies.)     Okay.                   19 stack pretty easy.
20 Q              I want to first ask you about the               20                    MR. PRESLEY:       Yeah.    It may be right
21 email in the middle of this page right below the               21 on the back of that one.              Yeah.
22 first redaction where Terry says, "Yes, there is               22 A                  Okay.
23 a lot of back and forth over whether to pay some               23 Q                  (By Mr. Paulk)         You were asked
24 fees for JBM, but we didn't and nothing says we                24 earlier about why Alana Duke, your assistant,
25 did."                                                          25 would be sending these -- or at least appear to
                                                      Page 225                                                Page 227
 1                Do you understand that JBM is a                   1 be trying to send these documents back to Billy
 2 reference to Jaime Blanco?                                       2 Scherer just a day or two after he had sent them
 3 A              I think so.    Yeah.                              3 to you.
 4 Q              Near the end of that paragraph, he                4                   Do you recall that?
 5 says -- well, let me back up.                                    5 A                 Do I recall him asking me questions
 6                Third full sentence says, "There                  6 on that?
 7 were problems with the fee split because of the                  7 Q                 Right.       Right.
 8 other local lawyer, Francisco Rameriz, and I                     8                   Seeing this email -- I'm going to
 9 don't think CS agreed to pay the" $80,000                        9 mark --
10 "retainer.     I've asked again about our docs and             10 A                  I do.
11 what record we have of making any payment to                   11 Q                  -- Defendants' Exhibit 2, which is
12 Ivan at that time."                                            12 going to be my tab 10.
13                And do you recall some discussion               13                            (Defendants' Exhibit 2 was
14 earlier about an $80,000 potential retainer                    14                             marked for identification)
15 payment being made to Ivan Otero?                              15 A                  Okay.
16 A              I don't recall that specifically.               16 Q                  And my question is whether seeing
17 Q              All right.    In response to that               17 what I've marked as Defendants' Exhibit 2 helps
18 email at the top, you discussed that Otero                     18 you remember if there were problems -- if your
19 agreement and at the end of your paragraph say,                19 firm had problems accessing the documents that
20 "We need to confirm the 80K was not paid to                    20 Billy had sent you?
21 Otero."                                                        21 A                  That's what it looks like.
22                Do you recall whether you were able             22 Q                  All right.       And do you happen to
23 to confirm whether or not the 80K was paid to                  23 know if that's maybe why Alana was trying to
24 Otero?                                                         24 communicate further with Billy Scherer about the
25 A              I don't.                                        25 documents?
                                                      Page 226                                                               Page 228

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Drummond Company, Inc. v. Terrence P. Collingsworth, et al.                                                    Bradley J. Smith
                                                                                                                     11/21/2023
 1 A              Yes.                                              1 A                 Well, I think I already testified
 2 Q              Staying on Defendants' Exhibit 2 for              2 that -- so this would have been a couple of days
 3 a moment.    In Billy's second email -- excuse                   3 after I had met with Billy at their office.
 4 me -- second paragraph of his email to you, he                   4 Then we went and took Paul Wolfe's deposition in
 5 says, "The firm didn't make the payment to my                    5 Colorado.       Then we had 4th of July -- I know I
 6 knowledge."                                                      6 stayed in Colorado for a week.          Then we came
 7                And in the context of that paragraph              7 back.     And soon thereafter, Chris Niewoehner got
 8 and the previous paragraph, you understand he                    8 involved.
 9 was referring to a payment being made to Jaime                   9 Q                 All right.    And in this meeting with
10 Blanco?                                                        10 Billy Scherer at their office, are you talking
11 A              (No response.)                                  11 about the Fort Lauderdale office?
12 Q              Feel free to read it if you need to.            12 A                  Yes.
13 A              (Witness complies.)      Yes.                   13 Q                  Was Terry there?
14 Q              All right.    And that was your --              14 A                  No.
15 consistent with your understanding at the time                 15 Q                  Why did you go to Fort Lauderdale to
16 that no payment had been made to Jaime Blanco;                 16 meet with Billy Scherer?
17 right?                                                         17 A                  To take two depositions.
18 A              That's correct.                                 18 Q                  And Terry did not attend those?
19 Q              And he notes at the end of his email            19 A                  He did not.
20 there on the first page that I'm copying -- he                 20 Q                  And what was the purpose of meeting
21 says, "I am hoping that you already know all of                21 with Billy while you were there for the
22 this and have all of this stuff from the prior                 22 depositions?
23 documents and email searches."                                 23 A                  Just to discuss the status of the
24                Was it your understanding that Billy            24 litigation.
25 Scherer was sending you this information out of   25 Q                               Did you express any concern to Billy
                                            Page 229                                                                    Page 231
 1 an abundance of caution to make sure that you                    1 at the time that, you know, Look, we've had the
 2 had everything?                                                  2 sanctions motion be filed.          We've got this
 3                MR. PRESLEY:    Object to the form.               3 litigation hold order out there.          I'm a little
 4 A              Yes.                                              4 concerned about where things -- what -- what --
 5 Q              (By Mr. Paulk)      And he then says, "I          5 what kind of conversations did you have with
 6 am copying our Wichmann team so" that "they are                  6 Billy --
 7 in the loop."                                                    7 A                 Probably had --
 8                And the Wichmann team, as you've                  8 Q                 -- in regards to this litigation?
 9 testified, included Ken McNeil and other lawyers                 9 A                 Probably discussed all that and also
10 from Susman Godfrey; right?                                    10 probably discussed whether we still felt whether
11 A              Yes.                                            11 there was a conflict and there needed to be
12 Q              When you saw the email from Billy               12 separate counsel.
13 Scherer, the June 24th email with a number of                  13 Q                  Did you actually have that
14 attachments to it; did you become concerned that               14 discussion with Billy?
15 maybe you didn't have everything from prior                    15 A                  I believe so.
16 documents and email searches?                                  16 Q                  At that meeting?
17 A              Possibly.    Yes.                               17 A                  I had that conversation with him at
18 Q              Possibly or probably?                           18 some point.         Whether it was at that specific
19 A              I don't know if it would be                     19 time, I don't know.
20 probably, but certainly knew at that time some                 20 Q                  By the time of this meeting in June
21 additional work needed to be done.         Yes.                21 of 2014, were you concerned that there was a
22 Q              All right.    And what did -- what              22 conflict between the firm and Terry?
23 additional work did you do as counsel for Conrad               23 A                  I didn't know.    What I was concerned
24 & Scherer to make sure that whatever was due to                24 about was trying to finish a privilege log.             I
25 be produced was going to be produced or logged?   25 think we were still negotiating the parameters
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 1 of the privilege -- privilege log.          So I think            1 the attachments?
 2 at that time we didn't even know if every email                   2 Q                 It was.
 3 I have ever sent throughout the litigation --                     3 A                 Yes.
 4 and the same for them -- was going to have to be                  4 Q                 Do you --
 5 on a privilege log.       So there was still a lot of             5 A                 And, ultimately, we got it whether
 6 negotiations going on.       At some point Chris                  6 there was problems with us getting a copy open.
 7 Niewoehner was involved in that.         I think my               7 But yes.       Yes.
 8 thought after this was probably before                            8 Q                 Do you recall reading this email
 9 everything was certified, this is our final last                  9 after you received it?
10 just production.       We're going to have to get a             10 A                  Yes.
11 third party to go through computers with                        11 Q                  How soon after receiving this email
12 everybody.     I think that's ultimately what the               12 did you contact Mr. Collingsworth about the
13 Susman and Godfrey, Steptoe Johnson team did.                   13 statements made in paragraph ten?
14 Q              In order to make sure --                         14 A                  I don't know when I actually first
15 A              So, hopefully, that answers your                 15 read this.         It would have been pretty soon after
16 question.                                                       16 I would have read it.            What's the email?
17 Q              It does.                                         17 There's an email, I think, where I asked him
18                And the go through the computers                 18 about it, isn't there?
19 that you've mentioned; that was to make sure                    19 Q                  Well, in Plaintiff's Exhibit 47 you
20 that, best as humanly possible, everything that                 20 forwarded this email to Terry on July 9th; so
21 was due to be produced should be produced or                    21 two weeks later.
22 logged; right?                                                  22                    And I guess what I'm wondering is:
23 A              That's right.    That's right.                   23 Did you have any conversations with Terry about
24 Q              Do you actually recall seeing the                24 what's -- Drummond has referred to as the deps
25 email that is on -- let's see.                                  25 in the can email and, in particular, the $5400
                                                       Page 233                                                Page 235
 1                Why don't you go to Plaintiff's                    1 references for Otero, ET, and Somario before
 2 Exhibit 44 so we're working from the same                         2 forwarding this email to Terry on July 9th?
 3 document.                                                         3 A                 I don't recall.     I recall that --
 4 A              (Witness complies.)                                4 like I said, we all went to Colorado; took
 5                MR. PRESLEY:    Tab 77.                            5 depositions.           We were out there for, I don't
 6 A              Okay.                                              6 know, a couple of days; and then I stayed out
 7 Q              (By Mr. Paulk)    Let me get my page               7 there for a week.           So I don't remember when I
 8 number here.     Hold on a second.                                8 first.      And I don't know when I first read this.
 9                So it's the email which is on the                  9 Q                 Billy Scherer sent you this on June
10 Bates ending 95844.                                             10 24th.
11                MR. PRESLEY:    Object to the form.              11                    Was that before or after you were in
12 Asked and answered.                                             12 Fort Lauderdale for the deposition and had a
13 A              No.   I thought you said Plaintiff's             13 meeting with him?
14 Exhibit 44?                                                     14 A                  I think you could probably look and
15                What are you looking for?                        15 see what the date of those depositions were.              I
16 Q              (By Mr. Paulk)    Yes.    Plaintiff's            16 think it was pretty close in proximity.
17 Exhibit 44.                                                     17 Q                  But you don't remember sitting here
18 A              Okay.    you want to me to turn to               18 today?
19 page --                                                         19 A                  I don't.
20 Q              The Bates ending 95844.                          20 Q                  Okay.     And Terry's response at some
21 A              (Witness complies.)      Yes.                    21 point to you about this paragraph ten and the
22 Q              And I believe you testified earlier              22 references to ET and Somario's family; I think
23 that you recalled receiving this email from                     23 you testified earlier was that Ivan had been
24 Billy?                                                          24 provided money to drive by those people's
25 A              I believe so.    Wasn't that one of              25 houses.
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 1                Is that --                                         1                            EXAMINATION
 2 A              Maybe not Ivan specifically, but his               2 BY MR. MUJUMDAR:
 3 security personnel or whatever he had.            Yes.            3 Q                 Okay.     Afternoon, Brad.    I'll be
 4 Q              All right.    And did you do anything              4 super quick.
 5 else to verify that what Mr. Collingsworth was                    5 A                 Okay.
 6 telling you was the purpose of that money, that                   6 Q                 Do you know Francisco Rameriz?
 7 that was accurate?                                                7 A                 I don't.       The name sounds familiar.
 8 A              Well, like I -- I think I've already               8 But for me to tell you who he was, I -- I
 9 testified to; around the same time, I discussed                   9 wouldn't be able to tell you right now.
10 it with Niewoehner and McNeil who were taking                   10 Q                  What about the name -- do you know
11 over the case and said -- and I think there was                 11 the name Francisco C-u-e-l-l-a-r?
12 an email -- this needs to be logged or produced.                12                    And I think that's C-u-e-l-l-a-r?
13 Q              But you didn't, for example, go to               13 A                  That name -- I've seen that name on
14 Conrad & Scherer's accounting department and                    14 something today or yesterday in review.
15 say, Hey, Do y'all have any -- anything that                    15                    Is that the same person?
16 would relate to these witnesses, El Tigre and                   16 Q                  Yes.
17 Somario?                                                        17 A                  Okay.
18 A              Well, I think now that we look at                18 Q                  What about the name Rebecca
19 it -- and I didn't look at it that way -- I                     19 Pendleton?
20 think I already had it.                                         20                    Is that a name you recognize?
21 Q              What do you mean?                                21 A                  That was someone that worked for
22 A              Didn't I have the bank records that              22 Terry and maybe ended up marrying who you were
23 we redacted?     I think I probably already had it.             23 talking about.            Yeah.    I think I remember that
24 I didn't put it together; but, yeah, I already                  24 vaguely.        Yes.
25 had it.                                                         25 Q                  Other than just having some
                                                       Page 237                                                             Page 239
 1 Q              Well, those bank records reflected a               1 familiarity with the name, is there anything
 2 $2700 payment to Otero; right?                                    2 specifically or generally that you remember
 3 A              Yes.                                               3 about Francisco Rameriz?
 4 Q              The ones that we've looked at today?               4 A                 No.
 5 A              Yes.                                               5 Q                 Is there anything specifically or
 6 Q              Have you seen any bank records that                6 generally that you remember about Rebecca
 7 reflect a payment to El Tigre and Somario?                        7 Pendleton?
 8                MR. PRESLEY:    Object to the form.                8 A                 No.
 9 A              I don't know.                                      9 Q                 All right.       That's all I've got.
10 Q              (By Mr. Paulk)    In any event; when             10                         FURTHER EXAMINATION
11 you got this email, you did not go to Conrad &                  11 BY MR. PRESLEY:
12 Scherer other than to Terry to try and get an                   12 Q                  Just real quickly, Mr. Smith.
13 explanation for these payments; right?                          13                    You were asked at one point whether
14                MR. PRESLEY:    Object to the form.              14 when Mr. Collingsworth told you that the
15 A              I don't recall.                                  15 payments that he had made to witnesses that he
16 Q              (By Mr. Paulk)    That's all I have              16 actually disclosed to you, three of them were
17 for now, Mr. Smith.      Thank you.                             17 for security, whether you doubted that.
18                MR. PRESLEY:    Just very -- well, I'm           18                    And your answer was that you
19 sorry, Anil.     Go ahead.                                      19 department doubt that at the time when he told
20                MR. MUJUMDAR:    No.     I'm happy for           20 you that; right?
21 you to --                                                       21 A                  Right.
22                MR. PRESLEY:    No.     No.   You go             22 Q                  Does your opinion change if you knew
23 ahead.                                                          23 that Mr. Collingsworth had stood up in open
24                                                                 24 court here in Birmingham and told Judge Proctor
25                                                                 25 a lie to his face?
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 1                Does that cause you to question                    1 Proctor his reason was for not disclosing El
 2 whether Mr. Collingsworth is telling you the                      2 Tigre and Somario?
 3 truth?                                                            3 A                 I do not.
 4 A              I -- about what?                                   4 Q                 And you don't know what he told
 5 Q              About what witnesses have been paid?               5 Judge Proctor his reason was for not disclosing
 6                You understand he made that false                  6 Jaime Blanco had been paid?
 7 representation to Judge Proctor on April 21st,                    7 A                 I do not.
 8 of 2014, in the hearing where you were?                           8 Q                 And you don't know whether those
 9 A              Right.   Yes.     Yes.   Yes.   Yes.               9 reasons that he told Judge Proctor are provably
10 Which led more credence to me, you know, taking                 10 true or provably false?
11 at face value what he was saying.          Yes.                 11 A                  I don't.
12 Q              The fact that he lies to a federal               12 Q                  All right.     No further questions.
13 judge?                                                          13                         FURTHER EXAMINATION
14 A              No.   No.   No.    The fact that he was          14 BY MR. PAULK:
15 only paying three witnesses.         I had no reason to         15 Q                  Couple of real quick follow ups.
16 question it.                                                    16                    During your representation of Conrad
17 Q              Right.                                           17 & Scherer in the defamation case, did you get
18                So you -- you thought surely if he's             18 the feeling that the firm was trying to hide
19 making this representation to a federal judge,                  19 anything from Drummond?
20 then he must be telling the truth?                              20                    MR. WELLS:     Object to the form.
21 A              Absolutely.                                      21                    MR. PRESLEY:     Object to the form.
22 Q              Right.                                           22 A                  No.
23                And we now know that that was not                23 Q                  (By Mr. Paulk)     What about hide
24 the truth?                                                      24 anything from the Court?
25 A              I don't know really what the truth               25 A                  No.
                                                       Page 241                                                             Page 243
 1 was to be honest with you.         All that took place            1                   MR. PRESLEY:     Same objection.
 2 after I was gone, and I don't know what his                       2 A                 No.
 3 explanation was or how -- what was determined or                  3 Q                 (By Mr. Paulk)     And in your
 4 what.    So I don't -- I don't -- I can't comment                 4 interactions with Conrad & Scherer, did you ever
 5 on that.                                                          5 get any guidance or instructions that you felt
 6 Q              All right.    Well, I'll represent to              6 was unethical or impermissible in terms of what
 7 you that that representation was found to be                      7 you should be doing?
 8 false by Judge Proctor in this crime fraud                        8 A                 No.
 9 opinion.                                                          9                   MR. PRESLEY:     Object to the form on
10 A              Okay.                                            10 that.
11 Q              So the fact that Mr. Collingsworth               11 Q                  No further questions.
12 has made false representations to a federal                     12                    MR. WELLS:     All right.    Thank you.
13 judge here in Birmingham, does that cause you to                13                    MR. PAULK:     Thanks, Brad.
14 question things that he told you as fact during                 14                    THE WITNESS:     All right, guys.
15 the representation -- during your representation                15                    MR. PAULK:     Do you want to read and
16 of him in this case?                                            16 sign?      It's up to you.
17 A              Maybe.   But I don't know what his               17                    THE WITNESS:     No.
18 response was once he did -- did -- what his                     18                    MR. PAULK:     Get that on the record?
19 explanation was for why he didn't disclose the                  19                    THE VIDEOGRAPHER:      The time is
20 other ones or -- or -- or really what the                       20 2:39 p.m.        We are off the record.
21 context was that he had done others.                            21      (THE DEPOSITION WAS CONCLUDED AT 2:40 P.M.)
22 Q              So you --                                        22
23 A              I just don't know.                               23
24 Q              Right.                                           24
25                You don't know what he told Judge                25
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 1
 2                C E R T I F I C A T E
 3
 4 STATE OF ALABAMA )
 5 JEFFERSON COUNTY )
 6
 7                I hereby certify that the above
 8 and foregoing deposition was taken down
 9 by me in stenotype, and the questions and
10 answers thereto were reduced to computer
11 print under my supervision, and that the
12 foregoing represents a true and correct
13 transcript of the deposition given by
14 said witness upon said hearing.
15
16                I further certify that I am
17 neither of counsel nor of kin to the
18 parties to the action, nor am I in
19 anywise interested in the result of said
20 cause.
21
22
23
24           /s/Merit Gilley
             Merit Gilley, Commissioner
25           ACCR NO. 67
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